Case 2:19-cv-13497-SM-MBN   Document 1-2   Filed 11/07/19    Page 1 of 136




           2013 Contract No. CS 1039

          Between the U.S. Office of Personnel Management
           and the Blue Cross and Blue Shield Association
             on Behalf of, and as Agent for, Participating
                 Blue Cross and/or Blue Shield Plans




                                                                             2
    Case 2:19-cv-13497-SM-MBN           Document 1-2      Filed 11/07/19     Page 2 of 136




              CONTRACT FOR FEDERAL EMPLOYEES HEALTH BENEFITS

CONTRACT NO:        CS 1039                        FULL CONTRACT
EFFECTIVE:          January 1, 1960                EFFECTIVE: January 1,2013

BETWEEN:            The United States Office of Personnel Management
                    hereinufier culled OP/v! or Ihe CovemJlleni

                    Address:                       1900 E Street. NW
                                                   Washington. DC 2041 ~-361 ()

                    AND

                    CONTRACTOR:                    Blue Cross and Blue Shield Association
                                                   hereinafter olso ('({lied the Corrier

                    Address:                       1310 G. StreeL ~W. Suite 900
                                                   Washington, DC 20005




In consideration of payment by OPM of subscription charges set forth in Appendix B, the Carrier
agrees to perform all of the services set forth in this contract. including Appendix A.

FOR THE CARRIER                                    FOR THE GOVERNMENT


William A. Breskin                                 Sylvia V. Pulley
Name of person authorized to execute contract      Name of Contracting Officer
           (type or print)                                (type or print)



Tit
Vice President, Government Programs                Chief, Health Insurance 1, Federal Employee
                                                   Insurance Operations
                                                   Title


                                                    ~                 rr· !:,/h'/
Signature                                          Signature                =~O


Date signed                                        Date signed




                                                                                    (FFS-2013)
Case 2:19-cv-13497-SM-MBN   Document 1-2   Filed 11/07/19   Page 3 of 136




                 FEDERAL EMPLOYEES

            HEALTH BENEFITS PROGRAM




                  STANDARD CONTRACT



                               FOR




             FEE-FOR-SERVICE CARRIERS




                               2013




                                                                  (FFS-20 13)
       Case 2:19-cv-13497-SM-MBN          Document 1-2        Filed 11/07/19      Page 4 of 136




                                     TABLE or CONTENTS

This is an experience-rated contract for the fee-for-service plan Carrier and consists of the cover
page, the table of contents and the provisions, clauses and appendices as included in PARTS 1
through 6.
                               PART 1- GENERAL PROVISIONS

1.1     DEfINITIONS OF FEHB TERMS
1.2     ENTIRE CONTRACT
1.3     ORDER OF PRECEDENCE
1.4     INCORPORATION OF LA WS AND RE(JULATIONS
1.5     RECORDS AND INFORMATION TO BE FURNISHED BY OPM
1.6     CONFIDENTIALITY OF RECORDS (FEHBAR)
1.7     STATISTICS AND SPECIAL STUDIES
1.8     NOTICE
1.9     PLAN PERFORMANCE-EXPERIEI\CE-RATED rFS CONTRACTS
1.10    NOTICE OF SIGNIFICANT EVENTS (FFIIBAR)
1.11    FEHB INSPECTION (FEHBAR)
1.12    CORRECTION OF DEFICIENCIES
1.13    INFORMATION AND MARKETING MATERIALS
l.14    MISLEADING, DECEPTIVE OR UNFAIR ADVERTISING (FEHBAR)
1.15    RENEWAL AND WIn-IDRA W AL OF APPRO V AL (FEHBAR)
1.16    SUBCONTRACTS (FEHBAR)
l.17    NOVATION AGREEMENT (FEHBAR)
1.18    AGREEMENT TO RECOGNIZE CARRIER'S CHANGE OF NAME (FEI-IBAR)
1.19    UNDERWRITER
l.20    CERTIFICATION UNDER P.L. 104-191 (HEALTH INSURANCE PORTABILITY
        AND ACCOUNTABILITY ACT OF 1996)
l.21    PATIENTS' BILL OF RIGHTS
1.22    ADMINISTRATIVE SIMPLIFICATION - HIPAA
1.23    HIPAA COMPLIANCE
1.24    NOTICE ON TERMINATION OF FEHBP OR PROVIDER CONTRACT
1.25    TRANSITIONAL CARE     .
1.26    STANDARDS FOR PHARMACY BENEFITS MANAGEMENT COMPANY (PBM)
        ARRANGEMENTS
1.27    DISCLOSURE NOTICE UNDER P.L. 108-173
        (MEDICARE MODERNIZATION ACT OF 2003)
1.28     CARRIER DISASTER RECOVERY PLAN
1.29     HEALTH INFORMATION TECHNOLOGY REQUIREMENTS
1.30     HEALTH INFORMATION TECHNOLOGY PRIVACY AND SECURITY
1.31     DEFINITION OF INFORMATION SECURITY
1.32     CARRIER PERSONNEL SECURITY REQUIREMENTS
1.33     INFORMATION TECHNOLOGY SYSTEMS SECURITY
1.34     CARRIER ACCESS TO OPM IT SYSTEMS
1.35     PROCEDURES FOR REPORTING A SECURITY BREACH



                                                                                         (FFS-2013)
 Case 2:19-cv-13497-SM-MBN            Document 1-2        Filed 11/07/19     Page 5 of 136




                                    PART II - BENEFITS

2.1    ENROLLMENT ELIGIBILITY AND EVIDENCE OF ENROLLMENT
2.2    BENEFITS PROVIDED
2.3    PA YMENT OF BENEFITS AND PROVISION OF SERVICES AND SUPPLIES
2.4    TERMINArION OF COVERAGE AND CONVERSION PRIVILEGES
2.5    SUBROGATION
2.6    COORDINATION OF BENEFITS (FEHBAR)
2.7    DEBARMENT AND OTHER SANCTIONS
2.8    FILING HEALTH BENEFIT CLAIMS/COURT REVIEW OF DISPUTED CLAIMS
2.9    CLAIMS PROCESSING
2.10   CALCULATION OF COST SHARING PROVISIONS
2.11   BENEFITS PAYMENTS WHEN MEDICARE IS PRIMARY
2.12   CONTINUING REQUIREMENTS AFTER TERMINATION OF THE CARRIER
2.13   LARGE PROYIDER AGREEMENTS (FEHBAR)
2.14   COORDINATION OF PRESCRIPTION DRUG BENEFITS WITH MEDICARE

                 PART 111- PAYMENTS, CHARGES AND ACCOUNTING

3.1    PA YMENTS-EXPERIENCE-RATED CONTRACTS (FEHBAR)
3.2    ACCOUNTING AND ALLOWABLE COST (FEHBAR)
3.3    SPECIAL RESERVE
3.4    INVESTMENT INCOME (FEHBAR)
3.5    NON-COMMINGLING OF FUNDS (FEHBAR)
3.6    UNCASHED CHECKS
3.7    SERVICE CHARGE
3.8    CONTRACTOR RECORDS RETENTION (FEHBAR)
3.9    APPROVAL FOR ASSIGNMENT OF CLAIMS (FEHBAR)
3.10   AUDIT, FINANCIAL, AND OTHER INFORMATION
3.11   SURVEY CHARGES
3.12   FEHB CLEARINGHOUSE
3.13   TAXPAYER IDENTIFICATION NUMBER (FEHBAR)
3.14    REPORTABLE OVERPAYMENTS
3.15    AUDIT RESOLUTION
3.16   REPORTABLE FINDINGS
                         PART IV - SPECIAL PROYISIONS

4.1    ALTERA TIONS IN CONTRACT (FAR)

                                PART V - STANDARD CLA USES
This contract shall include all of the following standard clauses required by the Federal
Acquisition Regulation (FAR) or Federal Employees Health Benefits Acquisition Regulation
(FEHBAR).



                                                                                   (FFS-20 13)

                                               II
   Case 2:19-cv-13497-SM-MBN            Document 1-2       Filed 11/07/19     Page 6 of 136




This contract shall include all oCthe follc)\ving standard clauses r~quirccl by the Federal
/'\cquisition Regulation (FAR) or Federal rmployccs Ik'llth Benefits i\equisition Regulation
(FEHBAR).

5.1     DEFINITIONS
5.2     [RESERVED]
5.3     GRA TulTlES
5.4    COVENANT AGAINST CONTINGENT FEES
5.5     ANTI-KICKBACK PROCEDURES
5.6     [RESERVED]
5.7     AUDIT AND RECORDS-NEGOTIATIOl\
5.8     PRICE REDUCTION FOR DEFECTIVE CERTIFIED COST OR PRICING DATA
5.9     [RESERVED]
5.10   SUBCONTRACTOR CERTIFIED COST OR PRICING DATA
5.11    [RESERVED]
5.12    [RESERVED]
5.13    [RESERVED]
5.14   UTILIZATION Of SMALL BUSl0iESS CO:\CLR0:S
5.15    [RESERVED]
5.16   [RESERVED]
5.17   CONVICT LABOR
5.18   CONTRACT WORK HOURS AND SAFETY STANDARDS ACT-OVERTIME
       COMPENSA TION
5.19   EQUAL OPPORTUNITY
5.20   [RESERVED]
5.21   NOTIFICATION OF VISA DENIAL
5.22   EQUAL OPPORTUNITY FOR VETERANS
5.23   AFFIRMATIVE ACTION FOR WORKERS WITH DISABILITIES
5.24   [RESERVED]
5.25   DRUG FREE WORKPLACE
5.26   [RESERVED]
5.27   FEDERAL, STATE, AND LOCAL TAXES (STATE AND LOCAL ADJUSTMENTS)
5.28   [RESERVED]
5.29   TAXES--FOREIGN NEGOTIATED BENEFITS CONTRACTS
5.30   [RESERVED]
5.31   [RESERVED]
5.32   [RESERVED]
5.33   DISCOUNTS FOR PROMPT PAYMENT
5.34   INTEREST (FEHBAR MODIFICATION OF FAR)
5.35   ASSIGNMENT OF CLAIMS
5.36   DISPUTES
5.37   NOTICE OF INTENT TO DISALLOW COSTS
5.38   CHANGES--NEGOTIATED BENEFITS CONTRACTS
5.39   COMPETITION IN SUBCONTRACTING
5.40   GOVERNMENT PROPERTY (NEGOTIATED BENEFITS CONTRACTS)
5.41   LIMITATION OF LIABILITY--SERVICES


                                                                                     (FFS-2013)
                                                III
     Case 2:19-cv-13497-SM-MBN   Document 1-2   Filed 11/07/19   Page 7 of 136




5.42   PREFERENCE FOR U.S. FLA.G A.m C/\RRIERS
5.43   GOVERN\1FNI St iPPLY SOURCES
5.44   ALTHORIZED DEVIATIONS IN CLAUSES
5.45   LIMITATION ON PAYMENTS TO INFLUENCE CERTAIN FEDERAL
       TRANSACTIONS
5.46   [RESERVED]
5.47   PROTECTIl\G THE GOVERl\;V1El\rS Il\TEREST WHEl\ SLBCOl\TRACTI0:G
       WITH CONTRACTORS DEBARRED. SUSPENDED OR PROPOSED FOR
       DEBARMENT
5.48   BANKRUPTCY
5.49   FEHBP TERMINATIO~ FOR CONVENIENCE OF THE GOVERNMENT--
       NEGOTI/\TED BENEFITS CONTRACTS
5.50   FEHBP TERMINATION FOR DEFAULT-- NEGOTIATED BENEFITS CONTRACTS
5.51   PENSION ADJUSTMENTS AND ASSET REVERSIONS
       REVERSION OR ADJUST1\1ENT OF PLANS FOR POSTRETTREMEYf BE:\EFTTS
       (PRB) OTHER THAN PENSIONS
5.53   NOTICE TO THE GOVERNMENT OF LABOR DISPUTES
5.54   PE\ALTlES FOR ul\ALLOW ABLE COSTS
5.55   EMPLOYMENT REPORTS ON VETERANS
5.56   AUTHORIZATION AND CONSENT
5.57   NOTICE AND ASSISTANCE REGARDING PATENT AND COPYRIGHT
       INFRINGEMENT
5.58   PA YMENT BY ELECTRONIC FUNDS TRANSFER-CENTRAL CONTRACTOR
       REGISTRA TION
5.59   PROHIBITION OF SEGRFGA TED FACILITIES
5.60   SUBCONTRACTS FOR COMMERCIAL ITEMS
5.61    NOTIFICA TION OF EMPLOYEE RIGHTS UNDER NATIONAL LABOR
        RELATIONS ACT
5.62    APPLICABLE LAW FOR BREACH OF CONTRACT CLAIM
5.63    CENTRAL CONTRACTOR REGISTRATION
5.64    CONTRACTOR CODE OF BUSINESS ETHICS AND CONDUCT
5.65    EMPLOYMENT ELIGIBILITY VERIFICATION
5.66    UPDATES OF PUBLICALL Y AVAILABLE INFORMATION REGARDING
        RESPONSIBILITY MA TTERS (DEVIATION)
5.67    PERSONAL IDENTITY VERIFICATION OF CONTRACTOR PERSONNEL
5.68    PRIVACY OR SECURITY SAFEGUARDS
5.69    ENCOURAGING CONTRACTOR POLICIES TO BAN TEXT MESSAGING WHILE
        DRIVING

                           PART VI -- APPENDICES

A-     FEHBPBROCHURE
B-     SUBSCRIPTION RATES, CHARGES AND LIMITATIONS
C-     FEHBP SUPPLEMENTAL LITERATURE GUIDELINES JANUARY 2000
D-     RULES FOR COORDINATION OF BENEFITS, MODEL REGULATION SERVICE,
       JANUARY 2005, NATIONAL ASSOCIATION OF INSURANCE COMMISSIONERS


                                                                      (FFS-20 13)
                                       IV
     Case 2:19-cv-13497-SM-MBN   Document 1-2   Filed 11/07/19   Page 8 of 136




E-     SMALL BUSINESS SUBCONTRACTI1\CJ PLAN (irappiicoblc)




                                                                       (FFS-20\3)
                                        v
    Case 2:19-cv-13497-SM-MBN            Document 1-2       Filed 11/07/19      Page 9 of 136




                               PART [ - CJENERAL PROVISIONS

SECTION 1.1
DEFINITIONS OF FEHB TERMS (JAN 2012)

For purpose of this contract the following definitions apply:

Act: The Federal Employees Health Benefits Act, as amended; chapter 89 of title 5. United
States Code.

Benefits: Covered services or payment for covered services set forth in Appendix A, to which
Members are entitled to the extent provided by this contract.

Carrier: As defined by chapter 89 of title 5, United States Code, and may be used
interchangeably with the term Contractor.

Enrollee: The Federal employee. Tribal Employee. annuitant former spouse. temporarily-
covered former Federal employee or family member enrolled under this contract.

FEHBP: federal Employees Health Benefits Program.

Letter of Credit: The method by which certain CalTiers, and their underwriters if authorized,
receive recurring premium payments and contingency reserve payments by drawing against a
commitment (certified by a responsible OPM official) which specifies a dollar amount available.
For each Carrier participating in the Letter of Credit arrangement for payment under FEHBAR
J632.170(b). the terms "carrier reserves" and "special reserves" include any balance in the
Carrier's Letter of Credit account.

Member: The Enrollee and/or an eligible family member for benefit purposes, and sometimes
refelTed to as subscriber.

Regulations: (1) The Federal Employees Health Benefits Regulations; part 890, title 5, Code of
Federal Regulations, and (2) Chapters 1 and 16 of title 48, Code of Federal Regulations.

Subcontractor: Any supplier, distributor, vendor, or firm that furnishes supplies or services to
or for a prime contractor, or another subcontractor, except for providers of direct medical
services or supplies pursuant to the Carrier's health benefits plan.

Tribal Employee: A full-time or part-time common law employee of a tribal employer.

Tribal Employer: A tribal employer is an Indian tribe or tribal organization, as those terms are
defined in 25 U.S.c. Chapter 18, carrying out at least one program under the Indian Self-
Determination and Education Assistance Act or an urban Indian organization as that term is
defined in 25 U.S.C. Chapter 18 carrying out at least one program under the title V of the Indian
Health Care Improvement Act provided that OPM accepts the tribe, tribal organization, or urban
Indian organization's agreement to offer FEHB.


                                                                                      (FFS-2013)
                                               1-1
   Case 2:19-cv-13497-SM-MBN             Document 1-2       Filed 11/07/19      Page 10 of 136




SECTION 1.2
ENTIRE CONTRACT (JAN 20(9)

        (a) This document as described in the TobIe olean/ents constitutes the entire contract
between the parties. No oral statement of any person shall modify or otherwise affect the terms,
conditions, or specifications stated in this contract. Requests for modifications of this contract
must be submilled to the authorized Contracting Oflicer. Only the COnlracting Officer acting
within the scope of his or her authority may execute a contract modification on behalf of the
government.
        (b) All statements concerning co\erage 01" benefits made by ()PiV!. the Carrier or by any
individual covered under this contract shall be deemed representations and not walTanties. No
such statement shall conveyor void any coverage. increase or reduce any benefits under this
contract or be used in the prosecution of or defense of a claim under this contract unless it is
contained in writing and a copy of the instrument containing the statement is or has been
furnished to the Member or to the person making the claim.

SECTION 1.3
ORDER OF PRECEDENCE (JA~ 1996)

        Any inconsistency in this contract shall be resolved by giving precedence in the
following descending order: The Act, the regulations in part 890. title 5, Code of Federal
Regulations, the regulations in chapters 1 and 16, title 48, Code of Federal Regulations, and this
contract.

SECTION 1.4
INCORPORA TION OF LA WS AND REGULA TIONS (JAN 20(2)

         (a) The applicable provisions of (l) chapter 89 of title 5, United States Code; (2) OPM's
regulations as contained in part 890 of title 5, Code of Federal Regulations; and (3) chapters 1
and 16 of title 48, Code of Federal Regulations constitute a part of this contract as if fully set
forth herein, and the other provisions of this contract shall be construed so as to comply
therewith.
         (b) If the Regulations are changed in a manner which would increase the Carrier's
liability under this contract, the Contracting Officer will make an equitable adjustment in
accordance with the changes clause, Section 5.38 -- Changes--Negotiated Benefits Contracts.

SECTION 1.5
RECORDS AND INFORMATION TO BE FURNISHED BY OPM (JAN 2012)

        (a) OPM shall maintain or cause to be maintained records from which the Carrier may
determine the names and social security numbers of all Enrollees. OPM, other agencies of the
Federal Government, Tribal Employer, or the FEHB Clearinghouse shall furnish the information
to the Carrier at such times and in such form and detail as will enable the Carrier to maintain a
currently accurate record of all Enrollees.
        (b) The Carrier is entitled to rely on infoll11ation fUll1ished to it under paragraph (a).
OPM agrees that any liabilities incurred under this contract in reliance upon such information



                                            1-2                                             FFS-2013
   Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19      Page 11 of 136




shall be a valid charge against the contract. Errors or delays in keeping or reporting data relating
to co\cragc sh~dl n()t inv,didate C()Ver,lge th(lt would othen\'ise be validl\' in force and sh,lIl not
continue coverage that would otherwise be terminated. OPM shall make an equitable adjustment
of premiums upon discovery of errors or delays under this Section.
         (c) Clerical error (whether by OPM, any other agency, Tribal Employer, the FEHB
Clearinghouse. or the Carrier) in keeping records pertaining to coverage under this contract,
delays in making entries thereon, or l~lilLlre to make or account for any deduction of enrollment
charges, shall not invaJ idatc coverage otherwise validly in force or continue coverage othen,visc
validly terminated. OPM shall make an equitable adjustment of premiums when an error. delay.
or l~lilurc is discovered. I r any person finds relevant facts pertaining to (l person cO\CJ"ed uncleI'
this contract to be misstated. and if the misstatement affects the existence, amount. or extent of
coverage. the actual facts shall determine whether coverage is in force under the terms of this
contract and in what amount or to what extent. Any claim payments the Carrier makes before an
adjustment or determination shall be a valid charge against this contract.
         (cl) The OP\i! shall direct the agencies and Tribal Employers to pn)\icie the Carrier or the
FEHB Clearinghouse. not less often than quarterly, the names of Enrollees enrolled under the
contract by payroll office and the premium paid for those Enrollees for the current pay cycle.
The Carrier shall at least quarterly reconcile its enrollment records with those provided by the
Government, the Tribal Employer, or the FEHB Clearinghouse.
         (e) In instances of erroneous enrollments where benefit payments have been made in
error, the Carrier must inform Enrollees within forty-five days of when the Carrier receives
notification from the agency or the Tribal Employer that the Carrier will collect for these benefit
payments. The Carrier shall provide notice to the Enrollees that they have the right to contest
their enrollment change with their agency, Tribal Employer, or their retirement system.


SECTION 1.6
CONFIDENTIALITY OF RECORDS
(JAN 1991) (FEHBAR 1652.224-70)

         (a) The Carrier shall use the personal data on employees and annuitants that is provided
by agencies and OPM, including social security numbers, for only those routine uses stipulated
for the data and published annually in the Federal Register as part of OPM's notice of systems of
records.
         (b) The Carrier shall also hold all medical records, and information relating thereto, of
Federal subscribers confidential except as follows:
         (1) As may be reasonably necessary for the administration of this contract;
         (2) As authorized by the patient or his or her guardian;
         (3) As disclosure is necessary to pennit Government officials having authority to
investigate and prosecute alleged civil or criminal actions;
         (4) As necessary to audit the contract;
         (5) As necessary to carry out the coordination of benefit provisions of this contract; and
         (6) For bona fide medical research or educational purposes. Release of information for
medical research or educational purposes shall be limited to aggregated information of a
statistical nature that does not identify any individual by name, social security number, or any
other identifier unique to an individual.



                                              J- 3                                             FFS-2013
   Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19      Page 12 of 136




        (c) If the Carrier uses medical records for the aclministrzltion oi'the contract. or for bona
fide research or educational purposes. it shall so S\,1te in the Plan's hrochure.

SECTION 1.7
STATISTICS AND SPECIAL STUDIES (JAN 2009)

        (a) The Carrier shall maintain or cause to be maintained statistical records of its
operations under the contract and shall furnish OrM. in the form prescribed by the Contracting
Officer. the statistical reports reasonably necessary for the OPM to carry out its functions under
Chapter 89 of title 5, United States Code.
        (b) The Carrier shall furnish such other reasonable statistical data and reports of special
studies as the Contracting Officer may from time to time request for the purpose of carrying out
its functions under Chapter 89 of title 5, United States Code.
        (c) The Carrier shall furnish the routine reports in the required number of copies in a
format to be determined by the Contracting Officer as instructed by oprVL
        (d) The Carrier shall notify the OPM Contract Representative immediately upon a change
in the name or address of the Carrier's contract aciministralOr(s).

SECTION 1.8
NOTICE (JAN 2003)

        Where the contract requires that notice be given to the other party, such notice must be
given in writing to the address shown on this contract's signature page. To notify OPM, the
Carrier must write to the Contracting Officer, unless otherwise specified.

SECTION 1.9
PLAN PERFORMANCE--EXPERIENCE-RATED FFS CONTRACTS (JAN 2013)

        (a) Detection of Fraud and Abuse. The Carrier shall conduct a program to assess its
vulnerability to fraud and abuse and shall operate a system designed to detect and eliminate
fraud and abuse internally by Carrier employees and subcontractors, by providers providing
goods or services to FEHB Members, and by individual FEHB Members. The program must
specify provisions in place for cost avoidance not just fraud detection, along with criteria for
follow-up actions. The Carrier must submit to OPM an annual analysis of the costs and
benefits of its fraud and abuse program. The Carrier must submit annual reports to OPM by
March 31 addressing the following:
        1) Cases opened;
        2) Dollars identified as lost and recovered on active cases
        3) Actual savings and prevented loss on active cases;
       4) Active cases referred to law enforcement (other than the OPM-OIG)
        5) Active cases referred to OPM - 01G;
       6) Active cases resolved administratively;
       7) Percentage of active cases where the FEHB Program is the only or primary line of
            business affected
       8) Number ofFEHB providers who are on prepayment review; and
       9) Number of arrests and criminal convictions resulting from active cases



                                             1-4                                               FFS-20 13
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19     Page 13 of 136




  The report \vill also include the industry stzmdarcls checklist.
          (b) rlinicaLLlI~i\1casures. The Carrier shall measure ~mcl!or collect data on the
  quality orthe health care services that are provided to its members as requested by OPM.
  Measurement/data collection efforts may include performance measurement systems such as
  Healthcare Effectiveness Data and Information Set (HEDIS) or similar measures developed by
  accrediting organizations such as the National Committee for Quality Assurance (NCQA), the
 Joint Commission on Accreditation of Healthcare Organizations (JCAHO), or LRAC. Costs
  incurred by the Carrier for collecting or contracting with a vendor to collect quality
 measures/data shall be the Carrier's responsibility and are allowable administrative expenses,
 subject to the administrative cost limitation.
          (c) Patient Safety. The Carrier shall implement a patient safety improvement program.
 At a minimum. the Carrier shall --
          (I) Report to OPM on its current patient safety initiatives;
          (2) Report to OPM on ho\\/ it will strengthen its patient safety program for the future;
          (3) /\ssist OP\!J in providing its members with consumer information and education
 regarding patient safety: and
          (4) Work with its pro\'iders, independent accrediting organizations. and others to
 implement patient safety improvement programs.
          (d) Accreditation. To demonstrate its commitment to providing quality, cost-effective
 health care, the Carrier shall continue to pursue and maintain accreditation according to the
 steps and timeframes outlined in the carrier's current business plan. The carrier shall submit
 accreditation changes and business plan updates to its OPM contract representative.
          (e) Consumer Assessments of Healthcare Providers and Systems (CAHPS). In
 addition to any other means of surveying Plan members that the Carrier may develop, the
 Carrier shall participate in the HEDIS Consumer Assessments of Healthcare Providers and
 Systems (CAHPS) to provide feedback to Enrollees on Enrollee experience with the various
 FEHBP plans. The Carrier shall take into account the published results of the survey, or other
 results as directed by OPM, in identifying areas for improvement as part of the Carrier's
 quality assurance program. Payment of survey charges will be in accordance with Section
 3.11-
         (f) Contract Quality Assurance. The Carrier shall develop and apply a quality
assurance program specifying procedures for assuring contract quality. At a minimum the
carrier shall meet the following standards and submit an annual report to OPM on these
standards by July 1 of the following contract period:
         (1) Claims Processing Accuracy - the number of FEHB claims processed accurately
and the total number of FEHB claims processed for the given time period, expressed as a
percentage.
         REQUIRED STANDARD: An average of95 percent ofFEHB claims must be processed
accurately.
        (2) Claims Coding Accuracy - the number of FEHB claims coded accurately divided by
the total number ofFEHB claims coded for the given time period, expressed as a percentage.
         REQUIRED STANDARD: An average of98 percent ofFEHB claims shall be coded
accurately.
         (3) Recovery of Erroneous Payments - the average number of working days it takes for
the Carrier to begin collection action against an FEHB provider or member following
identification of an erroneous payment, including overpayments.



                                            1-5                                              FFS-20 13
    Case 2:19-cv-13497-SM-MBN            Document 1-2        Filed 11/07/19      Page 14 of 136




          RfQl'lRED ST/\NDl\RD: The Carrier takes an aver~lge or no lllore than ~O working days
 from the date it identifies ,m FEHB erroneous payment to thc (l1tl' it hegins the collection
 action.
          (4) Coordination of Benefits (COB) - the Carrier must demonstrate that a statistically
 valid sampling technique is routinely used to identify FEHB claims prior to or after processing
 that require(d) coordination of benefits (COB) with a third party payer. As an alternative, the
 Carrier may provide evidence that il pursues all claims l'or CUB.
          (5) Claims Timeliness - the average number of working days from the date the Carrier
 receives an FEHB claim to the date it adjudicates it (paid. denied or a request for further
 information is sent out). for the given lime pniod. e\prl'ssed CIS tl cUl1lulati\c percentage.
          REQUIRED STANDARD: The Carrier adjudicates 95 percent of claims within 30 working
 days.
         (6) Processing ID cards on chunge o/p/on or option - the number of calendar days
 from the date the Carrier receives the enrollment from the Enrolke·s agency, Tribal Employer,
 or retirement system to the date it issues the If) cmcl.
          REQUIRED ST ANDARD: The Carrier issues the ID card \vithin fi fleen calendar days after
 receiving the enrollment from the Enrollee·s agency. Tribal Employer. or retirement system
 except that the Carrier will issue ID cards resulting from an open season election within fifteen
 calendar days or by December 15, whichever is later.
         (7) Member Inquiries - the number of working days taken to respond to an FEHB
 member's written inquiry, expressed as a cumulative percentage, for the givcn time period.
          REQUIRED STANDARD: The CaITier responds to 90 percent of inquiries within 15
 working days (including internet inquiries).
         (8) Written Inquiries Accuracy - the number of FEHB written inquiries handled
 accurately divided by the total number ofFEHB \vritten inquiries handled for the given time
period. expressed as a percentage.
         REQUIRED STANDARD: A minimum of97 percent ofFEHB written inquiries shall be
answered accurately.
         (9) Telephone Inquiries Accuracy - the number of FEHB telephone inquiries handled
accurately divided by the total number of FEHB telephone inquiries handled for the given time
period, expressed as a percentage.
         REQUIRED STANDARD: A minimum of 97 percent of FEHB telephone inquiries shall be
answered accurate 1y.
         (10) Internet Inquiries Accuracy - the number of FEHB Internet inquiries handled
accurately divided by the total number of FEHB Internet inquiries handled for the given time
period, expressed as a percentage.
         REQUIRED STANDARD: A minimum of97 percent ofFEHB Internet inquiries shall be
answered accuratel y .
          (11) Telephone Access - the Carrier shall report on the following statistics concerning
telephone access to the member services department (or its equivalent) for the given time
period. Except that, if the Carrier does not have a computerized phone system, report results of
periodic surveys on telephone access.
                 (i) Call Answer Timeliness - the average number of seconds elapsing before the
Carrier connects a member's telephone call to its service representative.
         REQUIRED STANDARD: On average, no more than 30 seconds elapse before the Carrier
connects a member's telephone call to its service representative.



                                            1-6                                             FFS-20 13
    Case 2:19-cv-13497-SM-MBN                 Document 1-2         Filed 11/07/19        Page 15 of 136




                     (ii) Tehpli()17(, 8/()ck({,!!e R{{le - the percentage of time that callers recei\c (\
 busy signal \\hen cdling the C1ITicr.
           RI:::QLJIRU) STf\NDi\RD: No more than 5% of callers receive a busy signal.
                     (iii) Telephone Abandonment Rate - the number of calls attempted but not
 completed (presumably because callers tired of waiting to be connected to a Carrier
 representative) divided by the total number of calls attempted (both completed and not
 completed), expressed as a percemage.
           REQljlRED Slf\ND;-\RD: On average, Enrollees abandon the effort no more than 5 percent
 of the time.
                     (i\') /17iriul (ull Rnolllti(}17 - the percentage oCissues rcsol\l'd dming the inili~li
 call.
           REQUIRED ST.!\!\D.'\RD: On average, caller's issues must be resolved during the initial
 call at least 60% of the time.
          (12) Responsiveness to Fl:JIB Member Requestsf(Jr Reconsideration:
           REC)lIRFD S]:\"j)·\RD: For 100 percent of written FEHB disputed claim requests
 received for the given time period. vvithin 30 days after receipt by the Carrier. the Carrier shall
 affirm the denial in writing 10 the FEHB member. pay the claim, provide or authorize coverage
 of the service, or request additional information reasonably necessary to make a determination.
          (g) Quality Assurance Plan. The Carrier must demonstrate that a statistically valid
 sampling technique is routinely used prior to or after processing to randomly sample FEHB
claims against Carrier quality assurance/fraud and abuse prevention standards.
          (h) Reporting Compliance. The Carrier shall keep complete records of its quality
assurance procedures and fraud prevention program and the results of their implementation and
make them available to the Government as determined by OPM.
          (i) FEHB Clearinghouse (CLER). The Carrier shall not have any CLER records with a
 160 error code and a fail count of four or higher, except for OPM annuitants. A ' 16C), error is
when a Carrier repol1s an enrollment but no agency or Tribal Employer rep0l1s that enrollment.
         (j) Correction of Deficiencies. The Contracting Officer may order the correction of a
deficiency in the Carrier's quality assurance program or fraud prevention program. The Carrier
shall take the necessary action promptly to implement the Contracting Officer's order. If the
Contracting Officer orders a modification of the Carrier's quality assurance program or fraud
prevention program pursuant to this paragraph (j) after the contract year has begun, the costs
incurred to correct the deficiency may be excluded from the administrative expenses -- for the
contract year -- that are subject to the administrative expenses limitation specified at Appendix
B; provided the Carrier demonstrates that the correction of the deficiency significantly
increases the Carrier's liability under this contract.
          (k) In order to allow sufficient implementation time, the Contracting Officer will notify
the Carrier reasonably in advance of any new requirement(s) under paragraphs (a) through (j).

SECTION 1.10
NOTICE OF SIGNIFICANT EVENTS (JUL 2005) (FEHBAR 1652.222-70)

        (a) The Carrier agrees to notify the Contracting Officer of any Significant Event within
ten (10) working days after the Carrier becomes aware of it. As used in this section, a
Significant Event is any occurrence or anticipated occurrence that might reasonably be expected




                                                 1-7                                                  FFS-2013
   Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19      Page 16 of 136




 to hene a material effect upon the Carrier's ability to meet its ohligations uncler this contract.
  including_ but notlimitecl to_ any of the following:
           (1) Disposal of major assets;
           (2) Loss of 15% or more of the Carrier's overall membership;
           (3) Termination or modification of any contract or subcontract if such termination or
 modification might have a material effect on the Carrier's obligations under this contract;
          (4) Addi lion or terminalion of provider agrecl11cl1ls;
           (5) Any changes in underwriters, reinsurers or participating plans;
          (6) The imposition of or notice of the intent to impose_ a receivership, conservatorship,
 or special regulatory monitoring:
          (7) The withdrawal of, or notice of intent to withdraw State licensing, HIlS qualification,
 or any other status under Federal or State lav,.:
          (8) Default on a loan or other financial obligation;
          (9) Any actual or potential labor dispute that delays or threatens to delay timely
 performance or substantially impairs the functioning or thc Carrier's racilities or facilities used
 by the Carrier in the performance of the contract:
          (J 0) Any change in its charter. constitLltion_ or by-Iavvs which affects any provision of
 this contract or the Carrier's participation in the Federal Employees Health Benefits Program;
          (11) Any significant changes in pol icies and procedures or interpretations of the contract
 or brochure which would affect the benefits available under the contract or the costs charged to
 the contract;
          (12) Any fraud, embezzlement or misappropriation of FEHB funds; or
          (13) Any written exceptions, reservations or qualifications expressed by the independent
 accounting firm (which ascribes to the standards of the American Institute of Certified Public
 Accountants) contracted with by the Carrier to provide an opinion on its annual financial
 statements_
          (b) Upon learning of a Significant Event OPM may institute action, in proportion to the
 seriousness of the event, to protect the interest of Members, including, but not limited to--
          (1) Directing the Carrier to take corrective action;
          (2) Suspending new enrollments under this contract;
          (3) Advising Enrollees of the Significant Event and providing them an opportunity to
transfer to another plan;
          (4) Withholding payment of subscription income or restricting access to the Carrier's
Letter of Credit account;
          (5) Terminating the enrollment of those Enrollees who, in the judgment of OPM, would
be adversely affected by the Significant Event; or
          (6) Terminating this contract pursuant to Section 1_15, Renewal and Withdrawal of
ApprovaL
         (c) PriOl- to taking action as described in paragraph (b) of this clause, the OPM will
notify the Carrier and offer an opportunity to respond_
         (d) The carrier will insert this clause in any subcontract or subcontract modification if
the amount of the subcontract or modification charged to the FEHB Program (or in the case of a
community-rated carrier, applicable to the FEHB Program) equals or exceeds $550,000 and is at
least 25 percent of the total subcontract cost. The amount of the dollar charge to the FEHB
Program shall be adjusted by the same amount and at the same time as any change to the
threshold for application of the Truth in Negotiations Act pursuant to 41 nS_c. 254b(a)(7)_



                                             1-8                                              FFS-2013
   Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19      Page 17 of 136




SECTION 1. I I
fEHB INSPECTION (JUL 2005) (fEHBAR 1652.246-70)

         (a) The Contracting Officer, or an authorized representative of the Contracting Officer.
has the right to inspect or evaluate the work performed or being perlormed under the contract.
and the premises where the vvork is being performed, at all reasonable times and in a manner that
will not unreasonably delay the work.
         (b) The Cuntractur shall maintain and the Contracting OlTicer. or an tluthol'ilec!
representative of the Contracting Officer, shall have the right to examine and audit all books and
records relating to the contract for purposes of the Contracting Officer's determination of the
Carrier's subcontractor or Large Provider's compliance with the terms of the contract. including
its payment (including rebate and other financial arrangements) and performance provisions.
The Contractor shtlll make a\ailable at its office at all reasonable times those books (1Ile! records
for examination anc! audit for the record retention period specified in the Federal Employees
Health Benefits Acquisition Regulation (FEHBAR), 48 CFR 1652.204-70. This subsection is
applicable to subcontract and Large Provider Agreements with the exception of thuse that an:
subject to the "Audits and Records -. Negotiation" clause, 48 CFR 52.215-2.
         (c) I l' the Contracting Officer, or an authorized representative of the Contracting 0 fficer,
performs inspection. audit or evaluation on the premises of the Carrier, the subcontractor, or the
Large Provider, the Carrier shall furnish or require the subcontractor or Large Provider to furnish
all reasonable facilities for the safe and convenient performance of these duties.
         (d) The Carrier shall insert this clause, including this subsection (d), in all subcontracts
for underwriting and claim payments and administrative services and in all Large Provider
Agreements and shall substitute "contractor", "Large Provider." or other appropriate reference
for the term ·'carrier."

SECTION 1.12
CORRECTION Of DEFICIENCIES (JAN 1997)

        (a) The Carrier shall maintain sufficient financial resources, facilities, providers, staff
and other necessary resources to meet its obligations under this contract. If the OPM determines
that the Carrier does not demonstrate the ability to meet its obligations under this contract, the
OPM shall notify the Carrier of the asserted deficiencies. The Carrier agrees that, within ten (10)
working days following notification, it shall present detailed plans for correcting the deficiencies.
These plans shall be presented in a form prescribed by the OPM. Pending submission or
implementation of plans required under this Section, the OPM may institute action as it deems
necessary to protect the interests of Members, including, but not limited to:
        (1) Suspending new enrollments under this contract;
        (2) Advising Enrollees of the asserted deficiencies and providing them an opportunity to
transfer to another plan;
        (3) Withholding payment of SUbscription income or restricting access to the Carrier's
Letter of Credit account; or
        (4) Terminating the enrollment of those Enrollees who, in the judgment of OPM, would
be adversely affected by the deficiency.



                                              1-9                                              FFS-2013
   Case 2:19-cv-13497-SM-MBN                 Document 1-2         Filed 11/07/19        Page 18 of 136




        (b) The Carrier agrees th~lt !'(lilure to submit or t() diligently implement plans which are
required uncler this Section shall constitut\:, sllfiicil'nt ~rnllnd" It)1 tlTlllin;ltion of this contract
pursuant to Section 1.15, Renewal und J;Vilhdl"({\\ul ojAppI"(}\'(I1.
        (c) Prior to taking action as described in paragraph (a) the OPM shall notify the Carrier
and offer an opportunity to respond.
       (d) The Carrier shall include the substance of this clause in the contract with its
underwriter ami substitute an appropriate term for "Carrier."

SECTION 1.13
INFOR!VIATION AND \I1ARKE1T\(j \iji\'TERL\LS (.\\'\ :::0 1~)

        (a) OPM and the CaITier shall agree upon language setting forth the benefits. exclusions
and other language of the Plan. The Carrier bears full responsibility for the accuracy of its
FEHB brochure. OPM in its sole discretion. may order the Carrier to produce and distribute the
agreed upon brochure text in a format and quantity ~lppru\ed hy OP\!L including an electronic
508 compliant brochure version. Section 508 of the Rehabilitation Act of 1973, as amended
29 U,S.c. ~ 794d. for OPM's web site, This formaned document is referred to as the FEHB
brochure. The Carrier shall distribute the FEHB brochure 011 a timely basis to new Enrollees and
to other Enrollees upon their request. The Carrier shall also distribute the document(s) to Federal
agencies and Tribal Employers to be made available to such individuals who are eligible to
enroll under this contract. At the direction of OPM, the Carrier shall produce and distribute an
audio cassette version, CD, or other electronic media of the approved language. The CatTier may
print additional FEHB brochures for distribution for its own use, but only in the approved format
and at its own expense.
        (b) Supplemental material. Only marketing materials or other supplemental literature
prepared in accordance with FEHBAR 165:2.2(J.~-70 (Section 1.14 of this contract) may be
distributed or displayed at or through federal facilities.
        (c) The Carrier shall reflect the statement of benefits in the agreed upon brochure text
included at Appendix A of this contract, verbatim, in the FEHB brochure.
        (d) OPM may order the Carrier to prepare an addendum or reissue the FEHB brochure or
any piece(s) of supplemental marketing material at no expense to the Government if it is found to
not conform to the agreed upon brochure text and/or supplemental marketing materials
preparations described in paragraphs (a), (b) and (c) of this section.
        (e) The CatTier shall produce and distribute an FEHB Summary of Benefits and
Coverage (SBC).

SECTION l.14
MISLEADING, DECEPTIVE OR UNFAIR ADVERTISING (JAN 1991) (FEHBAR 1652.203-
70)

        (a) The Carrier agrees that any advertising material, including that labeled promotional
material, marketing material, or supplemental literature, shall be truthful and not misleading.
   (b) Criteria to assess compliance with paragraph (a) of this clause are available in the FEHB
Supplemental Literature Guidelines which are developed by OPM and should be used, along
with the additional guidelines set forth in FEHBAR 1603.7002, as the primary guide in preparing
material; further guidance is provided in the NAIC Advertisements ofAccident and Sickness



                                               1-10                                                 FFS-2013
   Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19       Page 19 of 136




                                The !:,uicklines 3re periodically updated ane! pro\'ided to the Carrier
JI7.\lI!"UI7U,\/()(/C>f Reglilulinn
l1\ OP\'I.
         (e) Failure to conform to paragraph (a) of this clause may result in a reduction in the
service charge, if appropriate, and corrective action to protect the interest of Federal Members.
Corrective action will be appropriate to the circumstances and may include, but is not limited to
the following actions by OPM:
         (1) Directing the Carrier to cease and desist distribution, publication. ur broadcast 01 the
material;
        (2) Directing the Carrier to issue corrections at the Carrier's expense and in the same
manner and media as the original material \\(1S made; and
        (3) Directing the Carrier to provide, at the Carrier's expense, the correction in writing by
certified mail to all Enrollees of the Planes) that had been the subject of the original material.
        (d) Egregious or repeated offenses may result in the following action by OPM:
        (l) Suspending new enrollments in the Carrier's Planes);
        (2) Pro\iding Enrollees an opportunity to transfer to another plan: ane!
        (3) Terminating the contract in accordance with Section 1.15. ReneHu/ ond If'ilhdru1l'ul
ojAplmmt!
        (e) Prior to taking action as described in paragraphs (c) and (d) of this clause, the OPi'vl
will notify the Carrier and offer an opp0l1unity to respond.
        (£) The Carrier shall incorporate this clause in subcontracts with its underwriter, if any,
and other subcontractors directly involved in the preparation or distribution of such advertising
material and shall substitute "Contractor" or other appropriate reference for the term "Carrier."

SECTION 1.15
RENEWAL AND WITHDRA W AL OF APPROVAL (JAN 1991) (FEHBAR 1652,249-70)

         (a) The contract renews automatically for a term of one (1) year each January first,
unless written notice of non-renewal is given either by OPM or the CaITier not less than 60
calendar days before the renewal date, or unless modified by mutual agreement.
         (b) This contract also may be terminated at other times by order of OPM pursuant to 5
U.S.c. 8902(e), After OPM notifies the Carrier of its intent to terminate the contract, OPM may
take action as it deems necessary to protect the interests of Members, including but not limited
to--
       . (l) Suspending new enrollments under the contract;
         (2) Advising Enrollees of the asserted deficiencies; and
         (3) Providing Enrollees an opportunity to transfer to another plan,
         (c) OPM may, after proper notice, terminate the contract at the end of the contract term if
it finds that the CaITier did not have at least 300 Enrollees enrolled in its Plan at any time during
the two preceding contract terms.

SECTION 1.16
SUBCONTRACTS (JUL 2005) (FEHBAR 1652.244-70)

        (a) The Carrier will notify the Contracting Officer in writing at least 30 days in advance
of entering into any subcontract or subcontract modification, or as otherwise specified by this
contract, if the amount of the subcontract or modification charged to the FEHB Program equals or



                                             I-I 1                                              FFS-2013
    Case 2:19-cv-13497-SM-MBN               Document 1-2        Filed 11/07/19       Page 20 of 136




 c'(ceeds $550.000 and is at least 25 percent oCthe toud subcontrzlct cost. The amount of the dollar
 charge to the FTHB Program shall be ~ldiustecl h\ till' ''<tllle amount and at tht' sallle time as an:'
 change to the threshold for application of the Truth in Negotiations Act pursuant to 41 U.S.c.
 254b(a)(7). Failure to provide advance notice may rcsult in a Contracting Officer's disallowance
 of subcontract costs or a penalty in the performance aspect of the Carrier's service charge. In
 determining whether the amount chargeable to the FEHB Program contract for a given
 subcontract or modification equals or exceeds the S550,OUU threshold, the follo\ving rules apply:
           (1) For initial advance notification. the Carrier shall add the total cost/price for the base year
 and all options. including quantity or service options and option periods.
           (2) For contract modifications. optiuns ~tI1d/ur t\.'nc\\db (e.g. c\ergrccn cuntracts) not
 accounted for in paragraph (a)( 1) of this clause, the carricr shall provide advance notification if they
 cause the total price to equal or exceed the threshold. OPM's review will be of the modification(s).
 itself, but documentation for the original subcontract will be required to perform the review. The
 $550,000 threshold will be adjusted by the same amount and at the same time as any change to the
 threshold for application of the Truth in '\<:'gotimions ;\C1. All subcontracts or subcontract
 modifications that equal or exceed the threshold arc subject to audit under FAR 52.215-2 "Audit and
 Records-Negotiations" if based on cost analysis or 4g CFR 1646.301 and 1652.246-70 --rEHB
 Inspection'· if based on price analysis.
           (b) The advance notification required by paragraph (a) of this clause shall include the
 information specified below:
           (1) A description of the supplies or services to be subcontracted;
           (2) Identification of the type of subcontract to be L1sed;
           (3) Identification of the proposed subcontractor and an explanation of why and how the
 proposed subcontractor was selected, including the competition obtained;
          (4) The proposed subcontract price and the Carrier's cost or price analysis;
          (5) The subcontractor's current. complete. and accurate cost or pricing data and
 Certificate of Current Cost or Pricing Data, must be submitted to the Contracting Officer if
required by law, regulation, or other contract provisions.
          (6) (Reserved)
          (7) A negotiation memorandum reflecting--
          (i) The principal elements of the subcontract price negotiations;
          (ii) The most significant consideration controlling establishment of initial or revised
pnces;
          (iii) An explanation of the reason cost or pricing data are not required, if the Can-ier
believes that cost or pricing data are not required.
          (iv) The extent, if any, to which the Can-ier did not rely on the subcontractor's cost or
pricing data in determining the price objective and in negotiating the final price;
          (v) The extent, if any, to which it was recognized in the negotiation that the
subcontractor's cost or pricing data were not accurate, complete, or cun-ent; the action taken by
the Can-ier and the subcontractor; and the effect of any such defective data on the total price
negotiated;
          (vi)The reasons for any significant difference between the Can-ier's price objective and
the price negotiated; and
         (vii) A complete explanation of the incentive fee or profit plan when incentives are used.
The explanation will identify each critical performance element, management decisions used to




                                              1-12                                                FFS-2013
   Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19       Page 21 of 136




quantify c~lch incentivc elemcnt. reasons for the incentives. and a summary oC ([II trade-otT
 possihilitics consider\.'d.
         (c) The Carrier \vill obtain the Contracting Officer's written consent before placing any
subcontract for which advance notification is required under paragraph (a) of this clause.
However. the Contracting Officer may ratify in writing any such subcontract for vvhich written
consent was not obtained. Rati fication will constitute the consent of the Contracting Officer.
         td) The Contracting Onicer may waive the requirement for aclvance notij'ication ancl
consent required by paragraphs (a), (b) and (c) of this clause where the Carrier and subcontractor
submit an application or renewal as a contractor team arrangement as defined in FAR Subpart
9.6 and--
         (I) The Contracting OJTicer evaluated the arrangement during negotiation oj' the contract
or contract renewal: and
         (2) The subcontractor's price and/or costs were included in the Plan's rates that were
reviewed and approved by the Contracting Officer during negotiation of the contract or contract
rene\\;\I.
         (e) I r the carrier follows the notification and consent req uirements of paragraphs (a). (b)
and (c) of this clause and subsequently obtains the Contracting Oilicer"s conscnt or ratification.
then the reasonableness of the subcontract· s costs will be inferred as provided for in 1631.205-
81. However. consent or ratification by the Contracting Officer will not constitute a
determination:
         (1) Of the acceptability of any subcontract terms or conditions;
         (2) Of the allowability of any cost under this contract; or
         (3) That the Carrier should be relieved of any responsibility for performing this contract.
         (f) No subcontract placed under this contract will provide for payment on a cost-plus-a-
percentage-oF·cost basis. Any fee payable under cost reimbursement type subcontracts viill not
exceed the fee limitations in FAR 15.404-4(c)(4)(i). Any profit or fee payable under a
subcontract will be in accordance with the provision of Section 3.7, Service Charge.
         (g) The Carrier will give the Contracting Officer immediate written notice of any action
or suit filed and prompt notice of any claim made against the Carrier by any subcontractor or
vendor that, in the opinion of the Carrier, may result in litigation related in any way to this
contract with respect to which the Carrier may be entitled to reimbursement from the
Government.

SECTION 1.17
NOVATION AGREEMENT (JAN 1996)

       The agreement at FEHBAR 1642.1204 shall be submitted for approval to OPM when the
Canier's assets or the entire portion of the assets pertinent to the performance of this contract, as
determined by the Government, are transferred.

SECTION 1.18
AGREEMENT TO RECOGNIZE CARRIER'S CHANGE OF NAME (JAN 1996)

       The agreement at FEHBAR 1642.1205 shall be submitted for approval to OPM when the
canier changes its name and the Government's and Contractor's rights and obligations remain
unaffected.



                                             1-13                                              FFS-20lJ
   Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19      Page 22 of 136




SECTION 1.1 ()
UNDERWRITER (JAN 2009)

         (a) If this Plan is underwritten. the Carrier shall not modify (except as allowed in Section
2.3. Payment of Benefits and Provision ojServices and Supplies) or terminate the policy issued
by the underwriter of the Plan or give notice of terminutiun or intent not to renevv the policy
without prior express approval of the Contracting Officer. The Carrier shall notify the
Contracting Officer in writing of its decision to change Underwriters as soon as is reasonable
after the decision is made but no later th,1I1 at tIll' time the Clrrier submits its benefit and rate
proposal to OPM for the succeeding contract term.
         (b) In the event of any inconsistency bet\veen the terms of this contract bet\veen OPM
and the Carrier and the terms of the policy issued by the Underwriter to the Carrier, the terms of
this contract shall prevail.
         (c) If this Plan is undcmTitten. the policy isslled to the Carrier by its Undcnvriter is a
part of this contract and is incorporated therein by reference. The Carrier shall include paragraph
(b) in the contract \vith its Undenvriter.

SECTION 1.20
CERTIFICATION UNDER P.L. 104-191 (HEALTH INSURANCE PORTABILITY AND
ACCOUNTABILITY ACT OF 1996) (JAN 1998)

        The Carrier will issue a cel1ification of coverage for members in accordance with the
regulations issued by the Depm1ment of Health and Human Services.

SECTION 1.21
PATIENTS' BILL OF RIGHTS (JAN 1999)

       (a) The Carrier shall implement the recommendations in the Health Care Consumer Bill
of Rights and Responsibilities ("Patients' Bill of Rights") in accordance with OPM guidance.
       (b) During the Carrier's provider contract renewal process, the Carrier shall make any
necessary modifications to such provider contracts to comply with the recommendations of the
Patients' Bill of Rights in accordance with OPM guidance. All new provider contracts with the
CmTier shall comply with the recommendations of the Patients' Bill of Rights in accordance with
OPM guidance.

SECTION 1.22
ADMINISTRATIVE SIMPLIFICATION-HIPAA (JAN 2008)

        (a) The Carrier shall implement and be in compliance with the Department of Health and
Human Services (DHHS) regulations regarding the standards for electronic transactions, code
sets and unique identifiers on the date DHHS specifies. SUbject to paragraph (c) of this section,
the regulations at 45 CFR parts 160 and 162 are incorporated by reference in this contract.
        (b) The Carrier shall implement and be in compliance with the DHHS regulations
regarding the standards for privacy and security of individually identifiable health information on




                                            1-14                                             FFS-2013
   Case 2:19-cv-13497-SM-MBN                Document 1-2         Filed 11/07/19       Page 23 of 136




the elate DIIIIS specifics. Suhject to paragraph (cl of this section. the regulations at 45 CFl~ pZtrts
1()O ~tIlel 16...f ZtlT incorporttted hy rclclTncc in this contract.
           (c) Because OPM has determined that the DHHS administrative simplification
regulations should serve as a uniform nationwide standard for the FEHB Program. and because
of the preemption provision at 5 U.S.c. 8902(m)(1), the provisions of 45 CFR part 160, subpart
B are inapplicable to the Carrier with respect to the Plan.
           (d) [1' the Carrier is an employee organization that retains an underlA-rilcL lhcn these
requirements also apply to the underwriter with respect to the Plan. If the Carrier for the plan
authorized under 5 U.s.c. 8903(1). qualifies for limited application of the HHS Privacy Rule as a
business assuciate. thcn the! IHS Pri\acy Rule requirements apply to the Ltlllkmriting
participating affiliates.

SECTION 1.23
HIPAA COMPLIANCE (JAN 1998)

  (a) The Carrier shall comply with and shall take all steps reasonably necessary to ensure that its
affiliates. subcontractors. and agents comply with the guaranteed availability ]Jro\isions of the
Health Insurance Portability and Accountability Act of 1996 (HIPAA) and implementing
regulations. "Guaranteed availability" means the Carrier, affiliates, subcontractors. and agents
do not engage in practices that: 1) decline to offer health insurance coverage (as defined in
section 2791(b)(1) of the Public Health Service Act "the Act") to, or deny enrollment of an
eligible individual (as defined in section 2741(b) of the Act); or, 2) impose any preexisting
condition exclusion (as defined in section 2701 (b)(1 )(A) of the Act), with respect to such
coverage.
         (b) A State or Federal enforcement action as the result of noncompliance with the
requirements ofJ-IIPAA is a significant event under Section 1. I 0 of this contract. Notice of
Significant Events. If the Carrier, or any affiliate, subcontractor, or agent, is notified of any
enforcement action by any Federal or State authority with regard to HIP AA compliance, the
Carrier must notify OPM within ten working days ofleaming of the action.

SECTION 1.24
NOTICE ON TERMINATION OF FEHBP OR PROVIDER CONTRACT (JAN 2003)

          (a) Members who are undergoing treatment for a clu'onic or disabling condition or who are
in the second or third trimester of pregnancy at the time a carrier terminates (1) its FEHBP contract,
(2) the members' specialty provider contract, or (3) a Preferred Provider Organization (PPO) or
Point of Service (POS) network contract, for reasons other than cause, may be able to continue to
see their specialty provider for up to 90 days or through their postpartum care.
          (b) The Canier shall notify its members in writing of its intent to terminate its FEHBP
contract, the members' specialty provider contract, or a PPO or POS network contract, for reasons
other than cause, in order to allow sufficient time for the members to arrange for continued care
after the 90-day period or their postpartum care, whichever applies. The Carrier shall send the
required notice to the member if the Camer has in its records an address for the member different
£i'om the Enrollee's address; otherwise, the Camer may send the notice to the Enrollee. The Camer
shall send the notice in time to ensure it is received by the members no less than 90 days prior to the
date it tem1inates the contract, unless the Camer demonstrates it was prevented £i'om doing so for



                                               1-15                                                FFS-2013
   Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 24 of 136




reasons beyond its control. The Carrier"s prompt notice will ensure that the notification period and
the transitional care period run concurrently.

SECTION 1.25
TRANSITIONAL CARE (JAN 2003)

         (a) "Transitional care" is specialized care provided for up to 90 days or through the
postpmium period, whichever is later, to a member who is undergoing treatment for a chronic or
disabling condition or who is in the second or third trimester of pregnancy when the Can"ier
terminates (1) its FEIIBP con tract. (2) the mel11 ber" s specialty provider contract, or (3) a
Preferred Provider Organization (PPO) or Point of Service (POS) network contract for reasons
other than cause. The 90-day period begins the earlier of the date the member receives the notice
required under Section 1.24, ]\jOlice on Termination of FEHBP or Provider Contract, or the date
the Carrier's or the provider's contract ends.
        (b) The Carrier shall ensure the follO\ving:
        (1) If it terminates a specialty provider contract or a PPO or POS network contract other
than for cause, it allows members vv"110 are undergoing treatment for a chronic or disabling
condition or who are in the second or third trimester of pregnancy to continue treatment under
the specialty provider for up to 90 days, or through their postpartum period, whichever is later,
under the same terms and conditions that existed at the beginning of the transitional care period;
and
        (2) Ifit enrolls a new member who voluntarily changed carriers because the member's
former can-ier was no longer available in the FEHB Program, it provides transitional care for the
member ifhe or she is undergoing treatment for a chronic or disabling condition or is in the
second or third trimester of pregnancy for up to 90 days, or through the postpartum period,
whichever is later, under the same terms and conditions the member had under the prior carrier.
        (c) In addition, the Carrier shall (1) pay for or provide the transitional care required under
this clause at no additional cost to members;
        (2) require the specialty provider or network to promptly transfer all medical records to
the designated new provider during or upon completion of the transition period, as authorized by
the patient; and,
        (3) require the specialty provider or network to give all necessary infOlmation to the
Can-ier for quality assurance purposes.

SECTION 1.26
STANDARDS FOR PHARMACY BENEFIT MANAGEMENT COMPANY (PBM)
ARRANGEMENTS (JAN 2012)

The Can-ier will ensure and repOli that the following standards are included in new, renewing or
amended contracts with vendors providing a retail pharmacy network and/or a mail order
pharmacy and/or a specialty pharmacy to Enrollees and Family Members (hereafter "PBM")
effective on or after January 1, 2011. Notwithstanding the foregoing, the revisions to Section
L26(a) in the January 2011 clause shall not take effect before the expiration of the Carrier's
cun-ent contract (including the exercise of an existing option to extend the term by not more than
one year at a time) but not later than January 2013. The PBM includes all entities that have a




                                              1-16                                                FFS-20 13
    Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 25 of 136




majority ownership interest in or majority control over the PBM. The PB1\1 also includes any
other subsidiary of the entity that has maiority ownership or control over the PB'v1.

This section does not apply to carrier-owned PBMs, which are already expected to adhere to the
FAR and FEHBAR standards and requirements, and the remaining provisions of this contract.

 (a) Transparency Standards
           (1) The PBM is not majority-owned or majority-controlled by a pharmaceutical
 manufacturing company. The PBM must disclose to the Carrier and OrM the name of any entity
 that has a majority ownership interest in or majority control over the PI)\t
           (2) The rBM agrees to provide pass-through transparent pricing based on the PBM's cost
 for drugs (as described below) in which the Carrier receives the value of the PBM's negotiated
 discounts, rebates, credits or other financial benefits.
               (i) The PBM shall charge the Carrier no more than the amount it pays the
                    pharmacies in its retail network for brand and generic drugs plus a dispensing fee.
               (ii) The rBM shall charge the Carrier the cost of drugs at mai I order pharmacies
               based on the actual cost plus a dispensing fee. Costs shall not be based on industry
               benchmarks; for example, Average Acquisition Cost (AAC) or Wholesale
               Acquisition Cost (WAC).
               (iii) The PBM, or any other entity that negotiates and collects Manufacturer Payments
               allocable to the Carrier, agrees to credit to the Carrier either as a price reduction or by
               cash refund the value of all Manufacturer Payments properly allocated to the Carrier.
               Manufacturer Payments are any and all compensation, financial benefits, or
               remuneration the PBM receives from a pharmaceutical manufacturer, including but
               not limited to, discounts; credits; rebates, regardless of how categorized: market share
               incentives. chargebacks, commissions. and administrative or management fees.
               Manufacturer payments also include any fees received for sales of utilization data to a
               pharmaceutical manufacturer.
         (3) The PBM must identify sources of profit to the Carrier and OPM as it relates to the
FEHB contract.
         (4) The PBM's administrative fees, such as dispensing fees, must be clearly identified to
retail claims, mail claims and clinical programs, if applicable. The PBM must agree to disclose
sources of each administrative fee to the Carrier and OPM.
          (5) The PBM, or any other entity that negotiates and collects Manufacturer Payments
allocable to the Plan, will provide the Carrier with quarterly and annual Manufacturer Payment
Reports identifying the following information. This information shall be presented for both the
total of all prescription drugs dispensed through the PBM, acting as a mail order pharmacy, and
its retail network and in the aggregate for the 25 brand name drugs that represent the greatest
cost to the Carrier or such number of brand name drugs that together represent 75% of the total
cost to the Carrier, whichever is the greater number:
          (i) the dollar amount of Total Product Revenue for the reporting period, with
          respect to the PBM's entire client base. Total Product Revenue is the PBM's
          net revenue which consists of sales of prescription drugs to clients, either
         through retail networks or PBM-owned or controlled mail order pharmacies.
         Net revenue is recognized at the prescription price negotiated with clients and
          associated administrative fees;



                                              1-17                                                FFS-20 13
    Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 26 of 136




          (ii) the dollar aJ110Ulll or total drug expenditures for the Plan:
          (iii)the dollar ~1Jl10unt oj' all i'vl,lIlunlcturer Payments earned hy the PBM for the reporting
                period;
         (iv) the Manufacturer Payments that have been (1) earned but not billed (2)
                billed and (3) paid to the PBM based on the drugs dispensed to the Plan members
                during the past year.
         (v) the percentage or all ~Ianuj~1ClUrer Payments earned by the PBM for the
         reporting period that were Manufacturer formulary Payments, which are
         payments the PBM receives from a manufacturer in return for formulary
         placement and/or access. or payments that are characterized as "formulary" or
         "base" rebates or payments pursuant to the PBM's agreements with
         pharmaceutical manufacturers:
         (vi)the percentage of all Manufacturer Payments received by the PBM during the
         repOliing period that were Manufacturer Additional Payments, which are all
         Manufacturer Payments other them Manufacturer Formulary Payments.
     (6) The PBM agrees to provide the Carrier, at least annually, with all financial and utilization
information requested hy the Carrier relating to the provision of benefits to eligible Enrollees
through the PBM and all financial and utilization information relating to services provided to the
Carrier.
     (7) The Carrier shall provide any information it receives from the PBM, including a copy of
its contract with the PBM to OPM. A PBM providing information to a CatTier under this
subsection may designate that information as confidential commercial information. The Carrier
in its contract with the PBM shall effectuate the PBM's consent to the disclosure of this
information to OPM, OPM shall treat such designated information as confidential under 5
C.F.R. § 294.112.
     (8) If the Carrier's rBM arrangement is with an Underwriter rather than with the Carrier.
then all references to the Carrier and Plan appearing in this Section 1.26 shall be deemed to be
references to the Underwriter.
     (9) The Carrier will require that its PBM contractors:
         (i)        Provide information to physicians, pharmacists, other health care professionals,
                    consumers, and payers about the factors that affect formulary system decisions,
                    including: cost containment measures; the procedures for obtaining non-formulary
                    dlUgs; and the impOliance of formulary compliance to improving quality of care
                    and restraining health care costs;
         (ii)       Provide consumer education that explains how formulary decisions are made and
                    the roles and responsibilities of the consumer; and
         (iii)      Disclose the existence of formularies and have copies of the current formulary
                    readily available and publicly accessible.
     (10) In accordance with FEHBAR 1652.204-74, FAR 52.215-2 and FEHBAR 1652.246-70,
all contracts and other documentation that support amounts charged to the Carrier contract are
fully disclosed to and auditable by the OPM Office ofInspector General (OPM OIG). The PBM
must provide the OPM OIG upon request all PBM records including, but not limited to:
               (i) All PBM contracts with Participating Pharmacies;
               (ii) All PBM contracts with Pharmaceutical Manufacturers;
               (iii)All PBM contracts with third parties purchasing or using claims data;
               (iv) All PBM transmittals in connection with sales of claims data to third parties; and



                                              1-18                                                FFS-2013
   Case 2:19-cv-13497-SM-MBN               Document 1-2        Filed 11/07/19     Page 27 of 136




               (v) All PB\1 \1a:ximum Allowable Cost (MAC) price lists.

(b) Integrity Standard
The Carrier will require that its PBM contractors agree to adopt and adhere to a code of ethics
promulgated by a national professional association, such as the Code of Ethics of the American
Pharmacists Association (dated October 27,1994), for their employed pharmacists.

(c) Performance Standards
The Carrier will require that its PBM contractors develop and apply a quality assurance program
specifying procedures for ensuring contract quality on the CollO\ving sWlld~\rds at a minimum and
submit reports to the Carrier on their performance. PBMs must meet. at minimum, the member
inquiry. telephone customer service, paper claims processing, and other applicable standards set
for Carriers at Section 1.9(1)(1), (2), (5), (7), and (11). All other standards discussed below will
have specific target goals the PBM is expected to achieve. Carriers may permit PBMs to
measure compliance using statistically valid samples for the PB\1s book oCbusiness. Agreed to
standards shall be provided to OPM for its review and comment. If OPM has concerns about a
pal1icular standard, the Carrier agrees to present OPM's concerns to the PBM zmd either revise
the standard as requested by OPM or revise the standard to the extent feasible and present to
OPM information demonstrating the problems associated with making the requested revisions in
full.

   (1) Retail Pharmacy Standards

      (i)         Point of Service (POS) system response time. The PBM's network electronic
                  transaction system provides rapid response to network pharmacies.
      (ii)        POS system availability. The PBM's network electronic transaction system
                  generally is available to, and accessible by, network pharmacies.
       (iii)      Licensing - The PBM verifies the appropriate licensing of its
                  network pharmacies.

   (2) Mail Service Pharmacy Standards

       (i)        Dispensing accuracy - The PBM dispenses its prescriptions to the correct patient
                  and for the correct drug, drug strength and dosage in accordance with the
                  physician's prescription not less than 99.9% of the time.
       (ii)       Turnaround time - The PBM promptly dispenses and ships at least 98% on
                  average of all prescriptions not requiring intervention or clarification within 3
                  business days or meets an equivalent measure approved by OPM.

   (3) Prior Approval - if applicable - The PBM promptly reviews and responds to requests for
       prior approval for specific drugs following receipt of all required infOlmation.

   (4) Quality of Drug Therapy - The quality assurance program implemented by a Carrier's
   PBM contractor must include a process to measure the quality of its drug therapy provided to
   Enrollees. Specific areas to be addressed include achievement of quality targets measured by
   both internal and external metrics; identification and appropriate use of best practices; and



                                             1-19                                            FFS-2013
   Case 2:19-cv-13497-SM-MBN                Document 1-2             Filed 11/07/19   Page 28 of 136




    applicati on of cvi dencc-b,lSccl l11ed icine. as appropriate.

    (d) Alternative Druu. Uptions
    The Carrier will require that its PBM contractors, at a minimum, utilize the following
    protocols for PBM initiated drug interchanges (any change from the original prescription)
    other than generic substitutions:

        (i)     The rBM must treat the prescribing physician, and not itself, as the ultimate
                decision-maker. Furthermore. to the extent appropriate under the circumstances.
                the PB!'vll1111st allo\\ the patient input into that decision-making process. At a
                minimum, the PBM must provide the patient with a written notice in the package
                sent to the patient that the drug interchange has occurred with the apDroval of the
                Prescriber.
        (ii)    The PBM will obtain authorization for a drug interchange only with the
                express. \erifiable authorization from the Prescriber as communicated
                directly by the Prescriber. in writing or verbally. or by a licensed medical
                professional or other physician's office statT member as authorized by the
                Prescri ber.
       (iii)    The PBM must memorialize in appropriate detail all conversations with
                patients and physicians in connection with drug interchanging requests,
                including the identity of the contact person at the physician's office and
                the basis for his or her authority.
       (iv)     The PBM will only interchange a patient's drug from a lower priced drug
                to a higher priced drug to patient or Plan when authorized by the Carrier or
                the Plan.
       (v)      The rBM will permit pharmacists to express their professional judgment to both
                the PBM and physicians on the impact of drug interchanges and to answer
                physicians' questions about dosing. PBMs will not require pharmacists to, and
                will not penalize pharmacists for refusing to, initiate calls to physicians for drug
                interchanges that in their professional judgment should not be made.
       (vi)     The PBM will offer to disclose, and if requested, will disclose to
                physicians, the Carrier, and patients (i) the reason(s) why it is suggesting a
                drug interchange and (ii) how the interchange will affect the PBM, the
                Plan, and the patients financially.

(e) Patient Safety Standard - The Carrier will require that its PBM contractors establish drug
utilization management, formulary process and procedures that have distinct systems for
identifying and rectifying consumer safety issues including:
         (i)    A system for identifying and communicating drug and consumer safety issues at
                point -of-service; and
         (ii)   A system of drug utilization management tools, such as prospective and
                concurrent drug utilization management that identifies situations which may
                compromise the safety of the consumer.

(f) Safety and Accessibility for Consumers - The Carrier will require that its PBM contractors
meet the following standards related to pharmacy network management and consumer access to
medications.


                                               ]-20                                            FFS-2013
   Case 2:19-cv-13497-SM-MBN              Document 1-2       Filed 11/07/19        Page 29 of 136




    (1) The Carrier will require that its P8M contractor define the scope   ()r its scnices \vith
respect to:
        (i)       The distribution channels offered (e.g. pharmacy network, mail order pharmacies,
                  or specialty pharmacies);
        (ii)      The types of pharmacy services offered within each distribution channel; and
        ( ii i)   The geographic area served by each distribution channel.

    (2) The Carrier will require that for each distribution channel provided by its PBM
colllractor. the P8\1/ contractor:
        (i)      Establishes criteria and measures actual performance in comparison to those
                 criteria: and
        (ii)     Makes improvements where necessary to maintain the pharmacy network and
                 meet contractual requirements.

(3) The Carrier \lvill require that its PBM contractor establish a quality and safety mechanism for
each distribution channel in order to identify and address concerns related 10:
       (i)      Quality and safety of drug distribution; and
       (ii)     Quality of service

   (g) Contract Terms - The contract between the PBM and the Carrier must not exceed 3 years
without re-competition unless the Contracting Officer approves an exception. The Carrier's
PBM contract must allow for termination based on a material breach of any terms and conditions
stated in the Carrier's PBM contract. The Carrier must provide sufficient written notice of the
material breach to the PBM and the PBM must be given adequate time to respond and cure the
material breach.


SECTION 1.27
DISCLOSURE NOTICE UNDER P.L. 108-173 (MEDICARE MODERNIZATION ACT OF
2003) (JAN 2006)

       The Carrier will issue, as part of its FEHB benefits brochure, a disclosure notice
concerning creditable prescription drug coverage in accordance with the regulation at 42 CFR
§423.56 issued by the Department of Health and Human Services.

SECTION 1.28
CARRIER DISASTER RECOVERY PLAN (JAN 2007)

The Carrier must implement a disaster recovery plan that addresses flexibility for the following:
      (a) Medical and pharmacy procedures and requirements
      (b) Barriers to accessing needed health care;
      (c) Requests for out-of-network medical services;
      (d) Alternatives for medical pre-certification, referrals, medical necessity review and
          notification of hospital admissions;
      (e) Accessing other PCPs or specialists;



                                             1-21                                               FFS-2013
   Case 2:19-cv-13497-SM-MBN             Document 1-2       Filed 11/07/19      Page 30 of 136




        (f) Pharmacy restrictions. refills. additional supplies ofmeclications as backup:
        (g) Mail-order ph(lrl1l~IC\:
        (h) Adhering to recommendations for vaccinations from the Center for Disease Control;
        (i) Claims payments;
        U) Crisis toll free hotline:
        (k) Ability to identify current members;
        (I) Recovery procedures lor critical business functions (i.e., system, network,
            communication, \"ork arca recovery); and
        (m)Secure backup site (hot/cold). A "hot work site" is a designated location to be used in
            the e'ent uf (1 di~(lstlT thm is fully prepared for continuation of work to which the
            employees can go. A "cold work site" is a designated location to use in the event of a
            disaster that is not fully prepared for continuation of work to which the employees
            can go.

The Carrier must prO\ide OP\;1 \\ith the follcming infcmmltion:
      (a) description of its disaster recovery plan;
      (b) the carrier's current state of readiness and the frequency of evaluations;
      (c) the carrier' s work wi 1h its subcontractor on this issue;
      (d) a timeline; and
      (e) any potential problem areas.

The Carrier may implement its own additional measures.

Carriers must submit this information by January 1,2007. Carriers who enter the FEHBP
subsequent to 2007. must submit this information by January 1st of their first FEHBP contract
year. Any material changes to the disaster recovery plan. such as a prime disaster recovery
subcontract change or a hot site change, should be reported to OPM.

SECTION 1.29
HEALTH INFORMATION TECHNOLOGY REQUIREMENTS (JAN 2011)

        (a) The Carrier agrees that as it implements, acquires, or upgrades health information
technology systems, it shall utilize, where available, certified health information technology
systems and products that meet interoperability standards recognized by the Secretary of Health
and Human Services, as existing on the date of the implementation, acquisition, or upgrade of
health information technology systems ("Interoperability Standards"). Interoperability standards
include those standards adopted by the Secretary to promote meaningful use of health
information technology in accordance with Public Law 111-5, The Health Information
Technology for Economic and Clinical Health Act (HITECH Act).
        (b) The Carrier agrees that such health information technology systems will have already
been pilot tested in a variety of live settings and refined, if needed, before the Carrier will
consider them for implementation.
        (c) The Carrier agrees that as its provider agreements are established or renewed, it will
encourage contracted providers to comply with applicable Interoperability Standards and to
demonstrate meaningful use of health information technology in accordance with the HITECH
ACT.



                                           1-22                                            FFS-2013
   Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19      Page 31 of 136




SECTION 1JO
HEALTH INFORMATION TECHNOLOGY PRIV ACY AND SECLRITY (.IAN 2012)

         (a) Any Carrier subcontractor, large provider, or vendor. that administers a personal
health record or quality and cost or price transparency software applications for Members that
collect, create, receivc, store or transmit individually identiliabk prutected health information of
Members that does not qualify as a covered entity or business associate under the Health
Insurance Portability and Accountability Act of 1996 (HIPAA) or regulations will be required by
the Carrier to. at a minimum. comply \\lith equivalent pri\clc) ,tIld ~eL'lIrity pulicies ~IS are
required of a "covered entity" under the HIPAA Privacy and Security regulations.
        (b) The Carrier will provide for consumer transparency including. but not limited to. the
posting of the subcontractor's, large provider's, or vendor's notice of privacy practices
prominently at the point where the Member enters the subcontractor·s. large provider's, vendor's
or other entity's vvcbsitc or web portal.
        (c) Notices of privacy practices disclosures must describe the uses of individually
identifiable protected health information and any potential disclosure to other entities as
described in the HIPAA Privacy Rule.

SECTION 1.31
DEFINITION AND SCOPE OF INFORMATION SECURITY (JAN 20]2)

      (a) As indicated in FAR Subpmi 2.1, information security means protecting OPM
information and information systems from unauthorized access, use, disclosure, disruption,
modification. or destruction in order to provide -
      1. Integrity, which means guarding against improper information modification or
destruction, and includes ensuring infOlmation nonrepudiation and authenticity; or destruction.
      2. Confidentiality, which means preserving authorized restrictions on access and disclosure,
including means for protecting personal privacy and proprietary information; and
      3. Availability, which means ensuring timely and reliable access to, and use of,
infoDnation.
       (b) This Contract grants the Carrier access to OPM's Letter of Credit (LOC) System. The
Carrier recognizes its responsibility to help maintain the information security of OPM's LOC
System. Section 1.31 through 1.35 inclusive and Section 5.67 and 5.68 pertain exclusively to
such limited access to OPM's LOC System.

SECTION 1.32
CARRIER PERSONNEL ACCESS DETERMINATION REQUIREMENTS (JAN 2012)

       (a) Carrier personnel who receive a user identification and password to access OPM's LOC
System shall comply with the U.S. Office of Management and Budget (OMB) Memorandum M-
05-24, referenced in paragraph (a) of FAR 52.204-9, Personal Identity Verification of Contractor
Personnel, which is available on-line at
http://www.whitehouse.gov/omb/memorandalfy2005/m05-24.pdf.
       (b) Homeland Security Presidential Directive (HSPD) 12 requires the Government to
institute standards for secure and reliable identification of employees and contractors accessing



                                            1-23                                             FFS-2013
   Case 2:19-cv-13497-SM-MBN                Document 1-2         Filed 11/07/19       Page 32 of 136




Federal facilities. OP\1 In.; determined that a 1\!ational Agency Check \\ith V/ritten Inquiries
(NACI) is requireci for Cdrrier l'mployecs with access to OPM's JOC System. The Carrier must
obtain these access determinations lor its employees with access to OPM' s LOC System using
the e-QIP system. The NACI will be requested on a Standard Form (SF) 85, "Questionnaire for
Non-Sensitive Positions'-' OPM \"ill not allow Carrier employees who have not completed the
NACI process in any of its facilities, pursuant to applicable security policies.
      (c) Carriers must meet j~lcilit) and access clearance requirements.
      (d) Carriers arc responsible lor the security, integrity and appropriate authorized use of
their systems interfacing with OPM's LOC System. OPM. through its Contracting Officer. may
require the usc or ll1l.ldillcClli(l1l uf sccurit) and/or secure comillunicatiolls technologies relatecllO
Government systems access and use.
      (e) OPM. at its discretion. may suspend or terminate the Carrier's access to and/or use of
OPM's LOC System when a security or other electronic access, use or misuse issue gives cause
for such action. The suspension or termination may last until such time as the Government
determines that the situation has been corrected or no longer exists.

SECTION 1.33
INFORMATION TECH;\OLUG Y S YSTEiVIS SECuRITY (JULY 2011)

            Carriers must comply with OPM IT Security and Privacy, NIST and OMB
requirements for system users. System users are Carrier employees with a user identification and
password to access OPM's LOCS. Based upon the Federal Information Processing Standards
Publication 199 (FIPS PUB 199). the Government has determined that a minimum level, applies
to the sensitivity of the data contained in OPM's LOC System and a minimum level, applies to
the operational criticality of the data processing capabilities of OPM's LOC System. (Note:
FIPS PUB 199 is accessible on line at: http://csrc.njst.~ov/publications/fjps/tips I 99/FIPS-PlJB-
199-final. pdf.)
            In order to access the OPM LOC System, the Carriers must demonstrate that they
comply with the end-user security requirements in the Federal Information Security Management
Act of2002 (FISMA, Public Law 107-347,44 US.c. 3531-3536); Office of Management and
Budget (OMB) Circular A-130, Appendix III, "Security of Federal Automated Information
Systems" and an acknowledgement of their understanding of the security requirements in the
contract. (Note: OMB Circular A-130, Appendix III is accessible on line at:
http://www.whitehouse.gov/omb/circulars/a130/appendix iii.pdf)

SECTION 1.34
CARRIER ACCESS TO OPM IT SYSTEMS (JAN 2011)

      Each Carrier employee is required to utilize individual identification and authorization to
access the OPM LOC System. Using shared accounts to access the OPM LOC System is strictly
prohibited. OPM will disable accounts and access to the OPM LOC System will be revoked and
denied if carriers share accounts. Users of the OPM LOC System will be subject to periodic
auditing to ensure compliance to OPM Security and Privacy Policy. In addition, CatTiers are
required to comply with the following NIST 800-53 security controls to include at a minimum:
Access Control (Ae) - Controls falling under the AC category ensure that proper restrictions are
in place to limit access to authorized users with a need to know.



                                              1-24                                                 FFS-2013
 Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 33 of 136




       (I) PI'o"idc 10 thl' (W:'vl Letter- oeCredit (LOC) System Sccmit) Oniccr li~tcd ill OP\;1"s
"Letter of Credit DraVvdoVvIl System User Manual For Experience Rated Carriers" - Contacts for
Questions and Problem Resolution, an initial and complete list of employees' names that require
access to OPM's LOC System;
             (2) By the fifth day of each month thereafter, send a staffing change report to the
Contracting Officer's Representative, contract administrator and LOC Security Officer. The
report must contain the listing of all staff members with an LOC System user identification and
passv/Ord who left employment or were hired under this contract in the past 60 days, This form
ll1ust be submitted even ifllo separatioll has occurred during this per-iud. FailLiIT tu submit a
-Contractor Staffing Change Report' each month will result in the suspensions of all user IDs
associated with this contract; and
             (3) Anyone who accesses the OPM LOC System must complete OrM's IT Security
and Privacy Awareness Training (ITPSA) annually and upon the initial access. This requirement
applies to all Carriers,

SECTION 1.35
PROCEDURES FOR REPORTINC A LETTER OF CREDIT SYSTEM SECURITY BREACH
(JAN 2013)

            (a) A breach of data, system access, etc. includes loss of control, compromise,
unauthorized disclosure, unauthorized acquisition, or unauthorized access of information
whether physical or electronic, As an agency, OPM is required to immediately report all
potential security and data breaches -- whether they involve paper documents or electronic
information. In order to meet this responsibility, OPM has established a new internal procedure
for repol1ing the loss or possible compromise of any data, and this clause conforms to that
procedure,
            (b) OPM Carriers must report any breach or potential breach to the OPM Situation
Room and the Contracting Officer within 30 minutes of becoming aware of the risk - regardless
of the time or day of the week. Breaches should be reported, even if it is believed the breach is
limited, small, or insignificant. OPM's IT security experts, who will determine when a breach
needs additional focus and attention. The OPM Situation Room is available 24 hours per day,
365 days per year. Report the breach to the OPM Situation Room and the Contracting Officer
either by phone or bye-mail; however, be sure NOT to include PIl in the e-mail.
            (1) OPM Carriers must report a breach or potential security breach to the OPM
Situation Room at: sitroom((Uopm.gov, (202) 418-011/, Fax (202) 606-0624.
            (2) When notifying the Situation Room, please copy the Contracting Officer.
            (3) To get help with WinZip, please contact the OPM Help Desk at:
helpdesk0)opm.gov, (202) 606-4927, TTY (202) 606-1295.
            (4) I f you have questions regarding these procedures, contact the Contracting Officer.




                                           1-25                                             FFS-2013
    Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19      Page 34 of 136




                                        PART If ~ BF"-JFFTTS

SECTION 2.1
ENROLLMENT ELIGIBILITY AND EVIDENCE OF ENROLLMENT (JAN 2012)

         (a) Enrullment.
         (1) Each eligible individual who wishes to be enrolled in the plan offered by this Carrier
shall. as a prerequisite to such enrollment, complete a Health Benefits Election Form. or use an
electronic ur tl'lephunic method approved by OP'vl. within the time unci Linder the conditions
specified in 5 erR Part 890. The personnel oflice having cognizance over the Enrollee shall
promptly furnish notification of such election to the Carrier.
         (2) A person's eligibility for coverage, effective date of enrollment. the level of benefits
(option), the etTective date of termination or cancellation of a person's coverage, the date any
extension 01',1 person's coverage ceases, and any continuance of benefits beyond a period of
enrollment and the date any such continuance ceases. shall all be determined in accordance vvith
regulations or directions of OPM given pursuant to chapter 89. title 5. United States Code.
         (b) Special Limitations With Regard To Employee Organizations.
         (1) A plan sponsored by an employee organization as defined by the Act, is available
only to eligible employees, Tribal Employees, annuitants, f01111er spouses, and former employees
and eligible members of their families who must be or must become members of the sponsoring
organization to enroll in the Plan.
         (2) Employees or Tribal Employees with membership status in an employee organization
at the time they become annuitants may retain their membership in the organization and, if
eligible. continue their enrollment in the Plan. Survivor annuitants of Enrollees in the Plan may
continue their enrollment in the Plan without becoming members of the sponsoring employee
organization.
         (c) The Carrier shall issue evidence of the Enrollee's coverage and furnish to the Enrollee
copies of any f01111S necessary to make claim for benefits.

SECTION 2.2
BENEFITS PROVIDED (JAN 2009)

         (a) The Carrier shall provide the benefits as described in the agreed upon brochure text
found in Appendix A.
         (b) In addition to providing benefits in accordance with (a) above, the Carrier shall be
authorized to modify them as follows:
        (1) To pernlit methods of treatment not expressly provided for, but not prohibited by law,
rule or Federal policy, if otherwise contractually appropriate, and if such treatment is medically
necessary and is as cost effective as providing benefits to which the Member may otherwise be
entitled.
        (2) To pay for or provide a health service or supply in an individual case which does not
come within the specific benefit provisions of the contract, if the Carrier detel111ines the benefit is
within the intent of the contract, and the Carrier detel111ines that the provision of such benefit is
in the best interests of the Federal Employees Health Benefits Program.



                                                                                          (FFS-2013)
                                                  11-1
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19      Page 35 of 136




        (3) To offer in individual cases. ,1lier consultation \\ith and concurrence by the Member
 and provider(s). a benefit altcrnative not ordinarily cmcrcciuncicr this contract \\hich will result
 in equally effective medical treatment at no greater benefit cost. An alternative benefit will be
 made available for a limited time period and is subject to the Carrier's ongoing review.
 Members must cooperate with the Carrier's review process.
         (c)The decision to offer, deny, or withdraw coverage for a modified benefit provided in
 accordance with (b) above is solely within the Carrier's discretion (unless the Carrier ancl
 Member have entered into an alternative benefits agreemcnt that expressly modifies this
 authority). and is not subject to OPM review under the disputed claims process.
            (d) In each case when the Carrier prO\ides d non-cO\cred benefit in accordance with
 the authority of (b) above, the Carrier shall document in writing prior to the provision of such
 benefit the reasons andjustification for its determination. The \\Titing may be in the form of an
 alternative benefit agreement with the Member. Such payment or provision of services or
 supplies while a valid charge under the contract shall not be considered to be a precedent in the
 disposition of similar cases or extensions in the same caSt' beyond the apIJrO\ed period.
         (e) Except as provided for in (b) above. the Carrier shall provide benefits for services or
 supplies in accordance with Appendix A
         (1) The Carrier, subject to (g) below, shall determine whether in its judgment a service or
 supply is medically necessary or payable under this contract.
         (g) The Carrier agrees to pay for or provide a health service or supply in an individual
case if OPM finds that the Mem ber is entitled thereto under the terms of the contract.
         (h) (1) Notwithstanding (b) and (e) above, in accordance with Section 504 of the
Rehabilitation Act of 1973, 29 U.S.c. § 794, and 5 C.F.R. § 723.130(d), in the case ofa
Member who is a qualified individual with a handicap, the Can-ier shall pay for or
provide a covered health service or supply in the most integrated setting appropriate to
the Member's needs, when required hy OPM following OPM consultation with the
Can-ier, pursuant to paragraph 2.2(g), above.
         (2) An OPM requirement under (h)(1) is subject to ongoing review by OPM and
the Carrier. Members must cooperate with the review process. If, in the Carrier's
judgment, the conditions for the OPM requirement are no longer satisfied, the Carrier
may request that OPM modify or terminate the requirement. OPM's decision to modify or
terminate a requirement shall be subject to judicial review.

SECTION 2.3
PAYMENT OF BENEFITS AND PROVISION OF SERVICES AND SUPPLIES (JAN 2013)

        (a) By enrolling or accepting services under this contract, Members are obligated to all
terms, conditions, and provisions of this contract. The Carrier may request Members to complete
reasonable forms or provide information which the Can-ier may reasonably request, provided,
however, that the Carrier shall not require Members to complete any form as a precondition of
receiving benefits unless the form has first been approved for use by OPM. Notwithstanding
Section 2.9, Claims Processing, forms requiring specific approval do not include claim forms
and other forms necessary to receive payment of individual claims.
        (b) All benefits shall be paid (with appropriate documentation of payment) witliin a
reasonable time after receipt of reasonable proof covering the occurrence, character, and extent
of the event for which the claim is made. The claimant shall furnish satisfactory evidence that all


                                                                                         (FFS-2013)
                                                 11-2
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19       Page 36 of 136




  services or supplies ['or which c:\penses are claimed are co\ered sl'rvices or supplies within the
  meaning or till' contract.
          (c) The procedures and time period for filing claims shall be as speciljed in the agreed
 upon brochure text (Appendix A). However, failure to file a claim within the time required shall
 not in itself invalidate or reduce any claim where timely filing was prevented by administrative
 operations of Government or legal incapacitation, provided the claim was submitted as soon as
 reasonably possible.
          (d) The Carrier may request a Member to submit to one or more medical examinations to
 determine whether benefits applied for are for services and supplies necessary for the diagnosis
 or treatment (lj' (tn illness or injury or cO\ered condition oj' the "vlember (lnd Illay \\ithholcl
 payment of such benefits pending completion of the examinations. The examinations shall be
 made at the expense of the Carrier by a physician selected by the Member from a panel of at
 least three physicians whose names are furnished by the Carrier, and the results of the
 examinations shall be made available to the Carrier and the Member.
          (e) As d condition precedent to the pn)\'ision of benefits hereunder. the Carrier. to the
 extent reasonable and necessary and consistent with Federallavv. shall be entitled to obtain from
 any person. Tribal Employer. organization or agency. including the Otlice of Personnel
 Management, all information and records relating to visits or examination 01~ or treatment
 rendered or supplies furnished to, a Member as the CalTier requires in the administration of such
 benefits. The Carrier may obtain from any insurance company or other organization or person
 any information, with respect to any Member, which it has determined is reasonably necessary
 to:
         (1) identify enrollment in a plan,
         (2) verify eligibility for payment of a claim for health benefits, and
         (3) carry out the provisions of the contracL such as subrogation, recovery of payments
 made in error. workers compensation. and coordination of benefits.
         (f) Benefits are payable to the Enrollee in the Plan or his or her assignees. However,
under the following circumstances different payment alTangements are allowed:
         (1) Reimbursement Payments for the Enrollee. If benefits become payable to the estate
of an Enrollee or an Enrollee is a minor, or an Enrollee is physically or mentally not competent
to give a valid release, the CalTier may either pay such benefits directly to a hospital or other
provider of services or pay such benefits to any relative by blood or connection by marriage of
the Enrollee determined by the Carrier to be equitably entitled thereto.
         (2) Reimbursement Payments for a minor child. If a child is covered as a Family
Member under the Enrollee's self and family enrollment and is in the custody of a person other
than the Enrollee, and if that other person celiifies to the CalTier that he or she has custody of and
financial responsibility for the child, then the CalTier may issue an identification card for the
child(ren) to that person and may reimburse that person for any covered medical service or
supply.
         (3) Reimbursement Payments to family members covered under the Enrollee's self and
family enrollment. If a covered child is legally responsible, or if a covered spouse is legally
separated, and if the covered person does not reside with the Enrollee and certifies such
conditions to the CalTier, then the CalTier may issue an identification card to the person and may
reimburse that person for any covered medical service or supply. In the case of a legally
separated spouse, the Carrier may also furnish the explanation of benefits to the spouse when
determined by the CalTier to be required.


                                                                                         (FFS-2013)
                                                 11-3
    Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19      Page 37 of 136




           (4) Reimbursement payments to Government programs. sllch as \kclicaid. I f Federal
  lem provides that reimhursement is payahle to z\ (ic)\'ernnll'nt l")r()gr~jJll lmcler coordination of
  benefits or similar rules, in lieu of being payable to the Enrollee or other covered person, the
  Can-ier may reimburse the other Government program for any covered medical service or supply.
  To the degree that the Carrier is able to identify Medicaid benefieiaries_ the Carrier will process
 claims directly to the provider of service or reimburse the Medicaid agency if the Medicaid
 agency has already paid the provider and is seeking reimbursement. Vv'hen this situation is
  identified, the Carrier \vill update the member's records to ensure proper adjudication of claims.
           (5) Compliance with the HIPAA Privacy Rule. The Carrier may pay benefits to a
 covered person uther than the Enrollee when in the e'-:ercise uf its discretiun the Carrier decides
 that such action is necessary to comply with the HIPAA Privacy Rule, 45 C.F.R. 9164.500 et
 seq.
           (6) Any payments made in good faith in accordance with paragraphs (f)(l) through (£)(5)
 shall fully discharge the Carrier to the extent of such payment.
           (g) E/"ml7(!o/ls Poymel1/s. It is the Clrrier-s responsihility to prnacti\'Cly identify
 overpayments through comprehensive, statistically valid reviev\s and a robust internal control
 program. Irthe Carrier determines that a Member's claim has been paid in error for any reason
 (except in the case of fraud or abuse), the Carrier shall make a prompt and diligent etlon to
 recover the erroneous payment to the member from the member or, if to the provider, from the
 provider. The recovery of any overpayment must be treated as an erroneous benefit payment,
 overpayment, or duplicate payment under 48 C.F.R. ~ 1631.201-70(h) regardless of any time
 period limitations in the written agreement with the provider. The CalTier shall follow general
 business practices and procedures in collecting debts owed under the Federal Employees Health
 Benefits Program. Prompt and diligent eff011 to recover erroneous payments means that upon
 discovering that an erroneous payment exists, the Carrier shall--
          (1) Send a written notice of erroneous payment to the member or provider that provides:
 (A) an explanation of when and how the elToneous payment OCCUlTed, (B) when applicable, cite
the appropriate contractual benefit provision, (C) the exact identifying information (i.e., dollar
 amount paid en-oneously, date paid, check number, date of service and provider name), (D) a
 request for payment of the debt in full, and (E) an explanation of what may occur should the debt
not be paid, including possible offset to future benefits. The notice may also offer an installment
option. In addition, the Can-ier shall provide the debtor with an opportunity to dispute the
existence and amount of the debt before proceeding with collection activities;
          (2) After confirming that the debt does exist and in the appropriate amount, send follow-
up notices to the member or the provider at 30, 60 and 90 day intervals, if the debt remains
unpaid and undisputed;
          (3) The CalTier may off-set future benefits payable to the member or to a provider on
behalf of the member to satisfy a debt due under the FEHBP if the debt remains unpaid and
undisputed for 120 days after the first notice;
          (4) After applying the first three steps, refer cases when it is cost effective to do so
to a collection attorney or a collection agency if the debt is not recovered; provided,
however, that the can-ier may not commence an overpayment recovery lawsuit later than
December 31 of the third year after the year in which the overpayment was discovered by
the carrier (except in cases where the False Claims Act, 31 U.S.C § 3729, or another federal
limitations period applies);
          (5) Make prompt and diligent effort to recover elToneous payments until the debt is paid
in full or detennined to be uncollectible by the Carrier because it is no longer cost effective to

                                                                                          (FFS-2013)
                                                 11-4
 Case 2:19-cv-13497-SM-MBN                  Document 1-2          Filed 11/07/19         Page 38 of 136




  PUI'SUC CUi"lilcr collection crrUi"lS Of" it \\mild be ~lg:linsl cCJuity and good con')cience to continue
 co Ilection eft()i"ls;
            (6) Additional prompt and diligent eff0l1 is required for significant claim overpayments
 that exceed $10,000 per each claim. Examples of such efforts include copies of dated notices,
 offset attempt(s) made. certified letter communication(s). and third party collection efforts to the
 extent req uired under (g)( 4-) above. The Carrier should maintain and provide to OPM upon
 request, documentation of those efforts.
            (7) Suspend recovery efforts for a debt which is based upon a rctroactive disenrollment
 that h,lS been ,lppeilled under ~ c.r'.R. ~ 890.1 O-l 01' a claim that has becn appealed as a disputeci
 claim undcl' Seclion 2.8. until the appeal has bccn resolved;
           (8)(i) The Carrier may charge the contract for benefit payments made erroneously but in
 good faith provided that it can document that it made a prompt and diligent effort to recover
 erroneous payments as described above.
          (ii) Not\\ithstanding (g)(8)(i). the Carrier may not charge the contract for the
 ac!lllinistrati\l~ COSb to COITect erl'Oncous benefit payments (or to correct processes or procedures
 that caused erroneuus benefit payments) when the errors are egregious or repeated. These costs
 are deemecilo he unreasonable ane! unallowable under section 3.2(b)(2)(ii):
           (9) Maintain records that document individual unrecovered erroneous payment collection
 activities for audit or future reference.
           (10) IfOPM determines that a Member's claim has been paid in error for any reason
 (except fraud and abuse), the Carrier shall make a prompt and dil igent effort to recover the
 erroneous payment to the member from the member or, if to the provider, from the provider as
specified in (g)( I) through (9).
           (1 I) At the req uest of OPM, the Carrier shall provide evidence that it has taken the steps
enumerated above in this subsection to promptly recover erroneous payments. including but not
 limited to overpayments related to Medicare coordination of benefits. OPM will review the
Carrier's claims payments and procedures to validate the Carrier's prompt and diligent effort.
The Contracting Officer may require the Carrier to establish and submit to the Contracting
Officer a written corrective action plan.
           (12) In compliance with the provisions of the Contract Disputes Act, the Carrier shall
return to the Program an amount equal to the uncollected erroneous payment where the
Contracting Officer determines that (a) the Carrier's failure to appropriately apply its operating
procedure caused the erroneous payment and (b) that the Carrier failed to make a prompt and
diligent effort to recover an erroneous payment.
          (h) Erroneous payment recoveries may be reduced by any legal or collection agency fees
expended to obtain the recoveries and which are not otherwise payable under this experience-rated
contract. The amount credited to the contract shall be the net amount remaining after deducting the
related legal or collection agency fees.
          (i) All health benefit refunds and recoveries, including erroneous payment recoveries, must be
deposited into the working capital or investment account within 30 days and returned to or accounted
for in the FEHBP letter of credit account within 60 days after receipt by the Carrier.
          0) Notwithstanding subsection (f), the Carrier reserves the right to pay the Member
directly for all covered services described in the agreed upon brochure text attached as Appendix
A.


                                                                                              (FFS-2013)
                                                   Il-5
    Case 2:19-cv-13497-SM-MBN            Document 1-2        Filed 11/07/19      Page 39 of 136




        (~1)i\ \1cmher's cmerage is terminated as spl'cilicd in regulations issued by the OP\~.
BeneJits after termination of coverage are as specified in the regulations.
        (b) A Member is entitled to a temporary continuation of coverage or an extension of
coverage under the conditions and to the extent specified in the regulations.
        (c) A Member whose coverage hereunder has terminated is entitled, upon application
within the times and under the conditions specified in regulations, to a non-group contract
regularly offered for the purpose of conversion from the contract or similar contracts. The
conversion contract shall be in compliance \vith 5 U .S.C .. chapter 89, and regulations issued
thereunder.
        (d) Costs associated with writing or providing benefits under conversion contracts shall
not be an allowable cost of this contract.
        (e) The Carrier shall maintain on file with OPM copies of the conversion policies offered
to persons whose coverage under this contract terminates and advise OPM promptly of any
changes in the policies. The Contracting Omcer m~1y waive this requirement v,here bccause of
the large number of different conversion policies offered by the Carrier it would be impractical
to maintain a complete up-to-date file of all policies. In this case the Carrier shall submit a
representative sample of the general types of policies orkred and provide copies of speciJic
policies on demand.

SECTION 2.5
SUBROGATION (JAN 2006)

        (a) The Carrier's subrogation rights, procedures and policies, including recovery rights,
for payments with respect to benefits shall be in accordance with the provisions of the agreed
upon brochure text. \vhich is incorporated in this Contract in Appendix A. As the member is
obligated by Section 2.3(a) to comply with the terms of this Contract, the Carrier, in its
discretion, shall have the right to file suit in federal court in order to enforce those rights.
        (b) Subrogation recoveries may be reduced by any legal fees expended to obtain the
recoveries and which are not otherwise payable under this experience-rated contract. The
amount credited to the contract shall be the net amount remaining after deducting the related
legal fees.

SECTION 2.6
COORDINATION OF BENEFITS (JAN 2001) (FEHBAR 1652.204-71)

          (a) The CalTier shall coordinate the payment of benefits under this contract with the
payment of benefits under Medicare, other group health benefits coverages, and the payment of
medical and hospital costs under no-fault or other automobile insurance that pays benefits
without regard to fault.
         (b) The Carrier shall not pay benefits under this contract until it has determined whether
it is the primary carrier or unless permitted to do so by the Contracting Officer.
         (c) In coordinating benefits between plans, the CalTier shall follow the order of
precedence established by the NAIC Group Coordination of Benefits Model Regulation, Rules
for Coordination of Benefits, as specified by OPM.
         (d) Where (1) the Carrier makes payments under this contract which are subject to COB
provisions; (2) the payments are erroneous, not in accordance with the terms of the contract, or in

                                                                                       (FFS-2013)
                                                11-6
    Case 2:19-cv-13497-SM-MBN                Document 1-2          Filed 11/07/19        Page 40 of 136




excess of the limiUltions applicable under this contr~lCl: and (~) the Carrier is unahle to r('cO\'('I'
such con O\LTjxtymcnts from the Mcmber or the prO\iclcrs 01' scniccs or supplics, the
Contracting Officer may allow such amounts to be charged to the contract; the Carrier must be
prepared to demonstrate that it has made a diligent effort to recover such COB overpayments.
         (e) COB savings shall be reported by experience-rated carriers each year along with the
Carrier's annual accounting statement in a form specified by OPM.
         (1) Changes in the order of precedence established b) the j\AIC Group Coordination or
Benefits Model Regulation, Rules for Coordination of Benefits, implemented after January 1 of
any given year shall be required no earlier than the beginning of the following contract term.
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   insurance. rhe no~lmd{ automobile insurer sha!! be Ihe Primmy Carrier ilil is ob!igC/led
   legClI~)' to por hl!l1ejitsfor health carc expcnses without regard to other hcalth hencfits
   coverage that the lvlember may have, The term "no~l{/ult automobile insurance" includes
   any automobile insu/'(/l1ce policy under H'hich the insurer pays henefits/hr health core
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   contriimted I() the aCCident.]

SECTIOl\i 2.7
DEBARMENT AND OTHER SANCTIONS (JAN 1999)

        (a) Notwithstanding 5 U.S.c. 8902(j) or any other provision of the law and regulations,
if, under 5 U.S.c. 8902a, 5 CFR 970, or Public Law 103-123 (or other applicable appropriations
law), a provider is barred from participating in the Program under 5 U.S.c. or the provider's
services under 5 U.S.C. are excluded, the Carrier agrees that no payment shall be made by the
Carrier pursuant to any contract under 5 U.S,c. (either to such provider or by reimbursement) for
any service or supply furnished by such provider during the period of the debarment. except as
provided in 5 CFR 970.200(b).
        (b) The OPM shall notify the Carrier when a provider is barred from the FEHBP.

SECTION 2.8
FILING HEALTH BENEFIT CLAIMS/COURT REVIEW OF DISPUTED CLAIMS (MAR
1995) (FEHBAR 1652.204-72)

         (a) General. (1) The Carrier resolves claims filed under the Plan. All health benefit
claims must be submitted initially to the Carrier. If the Carrier denies a claim (or a portion of a
claim), the covered individual may ask the Carrier to reconsider its denial. If the Carrier affirms
its denial or fails to respond as required by paragraph (b) of this clause, the covered individual
may ask OPM to review the claim. A covered individual must exhaust both the Carrier and
OPM review processes specified in this clause before seeking judicial review of the denied
claim.
        (2) This clause applies to covered individuals and to other individuals or entities who are
acting on the behalf of a covered individual and who have the covered individual's specific
written consent to pursue payment of the disputed claim.
        (b) Time limits for reconsidering a claim. (1) The covered individual has 6 months from
the date of the notice to the covered individual that a claim (or a portion of a claim) was denied
by the Carrier in which to submit a written request for reconsideration to the Carrier. The time
limit for requesting reconsideration may be extended when the covered individual shows that he

                                                                                                (FFS-2013)
                                                    11-7
    Case 2:19-cv-13497-SM-MBN               Document 1-2        Filed 11/07/19       Page 41 of 136




  or she was pre\ented by c irCllmstances beyond his or hcr C(llllW I from mak i ng the reg lIest with in
  the time limit.
          (2) The Carrier has 30 days after the date of receipt of a timely-filed request for reconsid-
  eration to:
          (i) Affirm the denial in writing to the covered individual;
          (ii) Pay the bill or provide the service: or
          (iii) Request ii-om the covered individual or provider additional information needed 10
 make a decision on the claim. The Carrier must simultaneously notify the covered individual of
 the information requested if it requests additional information from a provider. The Carrier has
 30 cbys idler the date the information is recciH'd to artirm thl' denied in \\Titing to the cO\crl'cI
 individual or pay the bill or provide the service. The Carrier must make its decision based on the
 evidence it has if the covered individual or provider does not rcspond within 60 clays after the
 date of the Carrier's notice requesting additional information. The Carrier must then send written
 notice to the covered individual of its decision on the claim. The covered individual may request
 OPM review as prcwickd in paragraph (b)(3) of this clause if the Carrier fails to act within the
 time limit set forth in this paragraph.
          (3) The covered individual may \vrite to OPM and request that OPM revievv the Carrier's
 decision if the Carrier either affirms its denial of a claim or j~lils to respond 10 a covered
 individual's written request for reconsideration within the time limit set forth in paragraph (b)(2)
 of this clause. The covered individual must submit the request for OPM review within the time
 limit specified in paragraph (e)( 1) of this clause.
          (4) The Carrier may extend the time limit for a covered individual's submission of
 additional information to the Carrier when the covered individual shows he or she was not
 notified of the time limit or was prevented by circumstances beyond his or her control from
 submitting the additional information.
         (e) Information required to process requests for reconsideration. (1) The covered
 individual must put the request to the Carrier to reconsider a claim in writing and give the
 reasons, in terms of applicable brochure provisions, that the denied claim should have been
 approved.
         (2) If the Carrier needs additional information from the covered individual to make a
decision, it must:
         (i) Specifically identify the information needed;
         (ii) State the reason the information is required to make a decision on the claim;
         (iii) Specify the time limit (60 days after the date of the Carrier's request) for submitting
the information; and
         (iv) State the consequences of failure to respond within the time limit specified, as set out
in paragraph (b )(2) of this section.
         (d) Carrier determinations. The Carrier must provide written notice to the covered
individual of its determination. If the Carrier affirms the initial denial, the notice must inform
the covered individual of:
         (1) The specific and detailed reasons for the denial;
         (2) The covered individual's right to request a review by OPM; and
         (3) The requirement that requests for OPM review must be received within 90 days after
the date of the Carrier's denial notice and include a copy of the denial notice as well as
documents to support the covered individual's position.



                                                                                            (FFS-2013)
                                                   11-8
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19       Page 42 of 136




          (e) OPi\1 review. (1) If the cO\Tred individual seeks further review oCthe denied claim.
 the cmcrcc\ incli\'iduzti must make a requcst to OP\1 to re\it'\\ the ('arrier's ciecision. Such a
 request to OPM must be made:
          (i) Within 90 days after the date of the Carrier's notice to the covered individual that the
 denial was affirmed: or
          (ii) If the Carrier fails to respond to the covered individual as provided in paragraph
 (b)(2) oftbis clause, vvithin 120 days aikr the datc ortbe covered individual's timely request for
 reconsideration by the Carrier; or
          (iii) Within 120 days after the date the Carrier requests additional information from the
 co\cred indi\idudL or the date the covered indi\idual is notilled th,ll the Carrier is requesting
 additional information from a provider. OPM may extend the time limit for a covered
 indi\idual's request for OPM review \vhen the covered individL:al shows he or she was not
 notified of the time limit or was prevented by circumstances beyond his or her control from
 submitting the request for OPM review within the time limit.
         (2) In re\iewing a claim denied by the Carrier. OP\/l may
         (i) Request that the covered individual submit additional information:
         (ii) Obtain an advisory opinion hom an independent physician:
         (iii) Obtain any other information as may in its j udgmem be required to make a
 determination; or
         (iv) Make its decision based solely on the information the covered individual provided
 with his or her request for review.
         (3) When OPM requests information from the Carrier, the Carrier must release the
 information within 30 days after the date of OPM's written request unless a different time limit is
 specified by OPM in its request.
         (4) Within 90 days after receipt of the request for review. OPM will either:
         (i) Give a written notice of its decision to the covered individual and the Carrier: or
         (ii) Notify the individual of the status of the review. IfOPM does not receive requested
evidence within 15 days after expiration of the applicable time limit in paragraph (e )(3) of this
clause, OPM may make its decision based solely on information available to it at that time and
give a written notice of its decision to the covered individual and to the CatTier.
         (f) OPM, upon its own motion, may reopen its review if it receives evidence that was
unavailable at the time of its original decision.
         (g) Court review. (1) A suit to compel enrollment under § 890.102 of Title 5, Code of
Federal Regulations, must be brought against the employing office that made the enrollment
decision.
         (2) A suit to review the legality of OPM's regulations under this part must be brought
against the Office of Personnel Management.
         (3) Federal Employees Health Benefits (FEHB) carriers resolve FEHB claims under
authority of Federal statute (chapter 89, title 5, United States Code). A covered individual may
seek judicial review of OPM's final action on the denial of a health benefits claim. A legal action
to review final action by OPM involving such denial of health benefits must be brought against
OPM and not against the Carrier or the Carrier's subcontractors. The recovery in such a suit
shall be limited to a court order directing OPM to require the Carrier to pay the amount of
benefits in dispute.
        (4) An action under paragraph (3) of this clause to recover on a claim for health benefits:
        (i) May not be brought prior to exhaustion of the administrative remedies provided in
paragraphs (a) through (f) of this clause;

                                                                                          (FFS-2013)
                                                 11-9
   Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19      Page 43 of 136




        (ii) Vlay not be brought later than December :\ 1 of the :\rd year after the year in \vhich the
care or service \\as provided: ~1l1d
        (iii) Will be limited to the record that was before OPM v\'hen it rendered its decision
affirming the Carrier's denial of benefits.

SECTION 2.9
CLAli\t1S PROCLSSl0;(j (JA0: 20 II)

        A standardized claims filing process shall be used by all FEHB carriers. The Carrier
shall dPply procedures luI' llsing the standard cldims ]JrOCL'SS. !\t ZI minimum the Carrier's
program must achieve the following objectives:
  (1) The majority of provider claims should be submitted electronically:
  (2) All providers shall be notified that future claims must be submitted electronically, or on the
Centers for Medicare and Medicaid Services 1500 form or the UB-04 form;
  (3) The Carrier shall not usc any unique prmider claim Corm(s) for such FEIIB member
claims:
  (4) The Carrier should reject all such claims submitted un forms other than the CMS 1500 form
or the U13-04 form and shall explain the reason on the Explanation of Benefits form; and
  (5) The Carrier shall advise OPM of its progress in implementing this policy as directed by the
Contracting Officer.

SECTION 2.10
CALCULATION OF COST SHARING PROVISIONS (JAN 1996)

  When the Member is required to pay a specified percentage of the cost of covered services. the
Member's obligation for covered services shall be based on the amount the provider has agreed
to accept as full payment, including future discounts that are known and that can be accurately
calculated at the time the claim is processed. This includes for example, prompt pay discounts as
well as other discounts granted for various business reasons. Any discount not determined at the
time of the actual adjudication shall be placed in the Special Reserve upon its determination.

SECTION 2.11
BENEFITS PAYMENTS WHEN MEDICARE IS PRIMARY (JAN 2007)

  When a Member who is covered by Medicare Part A, Part B, or Parts A and B on a fee-for-
service basis (a) receives services that generally are eligible for coverage by Medicare (regard-
less of whether or not benefits are paid by Medicare) and are covered by the CalTier, and (b)
Medicare is the primary payer and the CatTier is the secondary payer for the Member under the
order of benefit determination rules stated in Appendix A and Appendix D of this contract, then
the CalTier shall limit its payment to an amount that supplements the benefits payable by
Medicare (regardless of whether or not Medicare benefits are paid). For Medicare Part B
prescription drugs, the CalTier will coordinate benefits except when prescription drugs are
purchased from retail or mail order. When emergency services have been provided by a
Medicare nonparticipating institutional provider and the provider is not reimbursed by Medicare,
the CalTier shall pay its primary benefits. Payments that supplement Medicare include amounts
necessary to reimburse the Member for Medicare deductibles, coinsurance, copayments, and the


                                                                                           (FFS-2013)
                                                11-10
    Case 2:19-cv-13497-SM-MBN            Document 1-2        Filed 11/07/19      Page 44 of 136




balance bet\\een the "vledicare approved amount ancitlll' iVlccliclrl' limiting charge made by non-
p(lrticip~lting prmicicrs.


Carriers may use the Department of Veterans Affairs (VA) Medicare-equivalent remittance
advice (MRA) when the form is submitted to determine the Plan's benefits payment for covered
services provided to members who have Medicare as their primary payer. when Medicare does
not pay the V A facility.

SECTION 2.12
CO:\l[,\l'I,\:(j RH)lIRPv1Ei\'rS AFTER TLRVII,\:/\TIO,\: 01 TI IF Ci\RRIER
(JAj\: 20(4)

        (a) The Carrier shall fulfill all of the requirements agreed to under the contract that
continue after termination, The order of precedence for the applicable lavis. regulations, and the
contract arc listed in Section 1.~.
        (b) Contract requirements extend be~'ond the date of the Carrier's termination until the
effective elate of the ne\\ enrollment including processing and paying claims incurred prior to the
effective date of the new enrollment.
        (c) When the prior carrier is discontinued in whole or in part the gaining carrier assumes
full coverage on the efTective date of the new enrollment.

SECTION 2.13
LARGE PROVIDER AGREEMENTS (OCT 2005) (FEI-IBAR 1652,204-74)

        (a) Notification and Information Requirements. (1) The experience-rated Carrier must
 provide notice to the Contracting Officer of its intent to enter into or to make a significant
 modification of a Large Provider Agreement:
        (i) Not less than 60 days before entering into any Large Provider Agreement; and
        (ii) Not less than 60 days before exercising a renewal or other option, or significant
modification to a Large Provider Agreement, when such action would result in total costs to the
FEHB Program of an additional 20 percent or more above the existing contract. However, if a
Carrier is exercising a simple renewal or other option contemplated by a Large Provider
Agreement that OPM previously reviewed, and there are no significant changes, then a statement
to the effect that the renewal or other option is being exercised along with the dollar amount is
sufficient notice.
        (2) The Carrier's notification to the Contracting Officer must be in writing and must, at a
mll11mum:
        (i) Describe the supplies andlor services the proposed provider agreement will require;
        (ii) Identify the proposed basis for reimbursement;
        (iii) Identify the proposed provider agreement, explain why the Carrier selected the
proposed provider, and what contracting method it used, where applicable, including the kind of
competition obtained;
        (iv) Describe the methodology the Carrier used to compute the provider'S profit; and,
        (v) Describe provider risk provisions.
        (3) The Contracting Officer may request from the Carrier any additional infoll11ation on
a proposed provider agreement and its terms and conditions prior to a provider award and during
the performance of the agreement.

                                                                                        (FFS-2013)
                                               11-11
    Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19      Page 45 of 136




          (4) Within 30 clays of receiving the Carrier's notilication. the Contracting Officer \\ill
 gi\e the Carrier either written comments or \\Titten nntice th~lt thLTe \\ill be no comments. If the
 Contracting Officer comments, the Carrier must respond in writing within 10 calendar days. and
explain how it intends to address any concerns.
         (5) When computing the Carrier's service charge, the Contracting Officer will consider
how well the Carrier complies with the provisions of this section. including the advance
 notification requirements, as an aspect of the Carrier's performance factor.
         (6) The Contracting OfTicer's review of any Large Provider Agreement, option, renewal.
or modification will not constitute a determination of the acceptability of the terms and conditions
of any prm·ider agreement or of the allcmability    or ~lll) costs under the Cmrier's contract. nor will
it relieve the Carrier of any responsibility for performing the contract.
         (b) Records and Inspection. The Carrier must insert in all Large Provider Agreements the
requirement that the provider will retain and make available to the Government all records
relating to the agreement that support the annual statement of operations and Enrollee records--
Retain for 6 years after the agreement term ends.
         (c) Audit and Records - 1\ieiLotiatiol1. The provisions of FAR 52.215-2. "Audit and
Records--\iegotiation." when required. or Ff~HB!\R 1652.246-70. "FEHB Inspeetion-- apply to
all experience-rated Carriers' Large Provider Agreements. The Carrier will insert the clauses at
FAR 52.215-2, when applicable, or FEHBAR 1652.246-70 in all Large Provider Agreements. In
FAR 52.215-2 the Carrier will substitute
         (I) The term "Large Provider" for the term "Contractor" throughout the clause, and
         (2) The term "Large Provider Agreement" for the term "Subcontracts" in paragraph (g) of
FAR 52.215-2. The term "Contracting Officer" will mean the FEHB Program Contracting
Officer at OPM. The Carrier will be responsible for ensuring the Large Provider complies with
the provisions set forth in the clause.
         (d) Prohibited Agreements. No prO\ider agreement made under this contract will provide
for payment on a cost-plus-a-percentage-of-cost basis.
         (e) The Carrier will insert this clause, 1652.204-74, in all Large Provider Agreements.

SECTION 2.14
COORDINATION OF PRESCRIPTION DRUG BENEFITS WITH MEDICARE (JAN 2006)

   (a) The Carrier shall comply with the Center for Medicare and Medicaid Services' (CMS)
       Part D Coordination of Benefits Guidance when the mechanisms and systems indicated in
       this guidance are in place and functioning properly. This guidance provides the
       requirements and procedures for coordination of benefits between Part D plans and other
       providers of prescription drug coverage.
   (b) For Medicare Part B covered prescription drugs, the Carrier will coordinate benefits with
       Medicare except when such prescription drugs are purchased from retail or mail order
       pharmacies. The Carrier may pay its benefits on retail pharmacy or mail order drugs
       eligible for Medicare Part B coverage_




                                                                                           (FFS-2013)
                                                 11-12
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19       Page 46 of 136




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SEClION 3.1
PA YMENTS-EXPERIENCE-RATED CONTRACTS (JAN 2003) (FEHBAR 1652.232-71)

   (a) OrM will pay to the Carrier, in full settlement of its obligations under this contract, subject
tll adju::,tment for error or haud, the subscription charges received for the Plan by the Employees
Health Benefits Fund (hereinafter called the Fund) less the amounts set aside by OPM for the
Contingency Reserve and for the administrative expenses of OPM and amounts for obligations
due pursLiant to par~lgraph (b) of this clause. plus any payments l11ade by OPVI frol11 [he
Comingency Reserve.
   (b) OPM will notify the Carrier of amounts due for outstmxling obligations undcr the contract.
Not later than 60 days after the date of wrinen notice from OPM, the Carrier shall reimburse
OPM. If payment is not received within the prescribed time frame, OPM shall \,vithhold the
Llmount due from the subscription charges ()\\ed the Carrier under paragraph (a) nfthis clmlsc.
   (c) The specific subscription rates. charges. allovvances and limitations applicable to the
contract arc set forth in Appendix B.
   (d) Recurring payments from premiums shall be made available for carrier drawdown not later
than thiliy days after receipt by the Fund. The Contracting Officer may authorize special non-
recurring payments from the Contingency Reserve in accordance with OPM's regulations.
   (e) In the event this contract between the Carrier and OPM is terminated or not renewed in
accordance with General Provision 1,15, Renewal and Withdrawal ofApproval. the Contingency
Reserve of the Carrier held by OPM shall be available to the Carrier to pay the necessary and
proper charges against this contract to the extent that the Carrier reserves are insufficient for that
purpose.

SECTION 3.2
ACCOUNTING AND ALLOWABLE COST (JAN 2003) (FEHBAR 1652.216-71)

     (a) Annual Accounting Statements.
    (1) The Carrier shall fumish to OPM an accounting of its operations under the contract. In
preparing the accounting, the Carrier shall follow the reporting requirements and statement
formats prescribed by OPM in the OPM Annual and Fiscal Year Financial Reporting
Instructions.
      (2) The Carrier shall have its Annual Accounting Statements and that of its underwriter, if
any, audited in accordance with the FEHBP Experienced-Rated Carrier and Service Organization
Audit Guide (Guide). The Carrier shall submit the audit report and the Annual Accounting
Statements to OPM in accordance with the requirements of the Guide.
    (3) Based on the results of either the independent audit prescribed by the Guide or a
Government audit, OPM may require the Carrier to adjust its annual accounting statements (i) by
amounts found not to constitute actual, allowable, allocable and reasonable costs; or (ii) to reflect
prior overpayments or underpayments.
    (4) The Carrier shall develop corrective action plans to resolve audit findings identified in
audits that were performed in accordance with the Guide. The corrective action plans will be
prepared in accordance with and as defined by the Guide.
    (b) Definition of costs. (1) The Carrier may charge a cost to the contract for a contract term
if the cost is actual, allowable, allocable, and reasonable. In addition, the Carrier must:

                                                                                         (FFS-2013)
                                                111-1
    Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19       Page 47 of 136




     (i) on request. document and make avaiLthlc accounting support for the cost tojusti!\ that the
 cost is (lct wt!. reason,lbl e and necessmv: ,mel
     (ii) determine the cost in accordance with: (A) the terms of this contract, and (8) Subpart
 31.2 of the Federal Acquisition Regulation (FAR) and Subpart 1631.2 of the Federal Employees
 Health Benefits Program Acquisition Regulation (FEHBAR) applicable on the first day of the
 contract period.
     (2) In the absence of speciilc Col1lract terms to the contrary, thc Carrier shall classiJ) contract
 costs in accordance with the following criteria:
     (i) Benefits. Benefit costs consist of payments made and liabilities incurred for covered
 health cme senices on behalfoflTIIBP subscribns less ,1l1\ refunds. rebates. allO\\zll1Cl'S or
 other credits received.
     (ii) Administrative expenses. Administrative expenses consist of all actuaL allowable.
 allocable and reasonable expenses incurred in the adj udication of subscri ber benefl t claims or
 incurred in the Carrier's overall operation of the business. Unless otherwise stated in the contract,
 administrative expenses include. in part: alltilxes (excluding premium wxes. as pr()\ided in
 section 1631.205-41), insurance and reinsurance premi UI11S. medical and dental consultants used
 in the adjudication process. concurrent or mal13ged care revie\\ \vhen not billed by a health care
 provider and other forms of milizalion review, the cost of maintaining eligibility files, legal
 expenses incurred in the litigation of benefit payments and bank charges for letters of credit.
 Administrative expenses exclude the cost of Carrier personnel, equipment, and facilities directly
 used in the delivery of health care services, which are benefit costs, and the expense of managing
 the FEHBP investment program which is a reduction of investment income earned.
     (iii) Investment income. While compliance with the checks presented letter of credit
methodology will minimize funds on hand, the Carrier shall invest and reinvest all funds on
hand, including any in the Special Reserve or any attributable to the reserve for incurred but
unpaid claims. which are in excess of the funds needed to discharge promptly the obligations
incurred under the contract. Investment income represents the net amount earned by the Can-ier
after deducting investment expenses. Investment expenses are those actual, allowable, allocable,
and reasonable contract costs that are attributable to the investment of funds, such as consultant
or management fees.
     (iv) Other charges. (A) Mandatory statutory reserve. Charges for mandatory statutory
reserves are not allowable unless specifically provided for in the contract. When the term
"mandatory statutory reserve" is specifically identified as an allowable contract charge without
fU1iher definition or explanation, it means a requirement imposed by State law upon the Can-ier
to set aside a specific amount or rate of funds into a restricted reserve that is accounted for
separately from all other reserves and surpluses of the Can-ier and which may be used only with
the specific approval of the State official designated by law to make such approvals. The amount
chargeable to the contract may not exceed an allocable portion of the amount actually set aside.
If the statutory reserve is no longer required for the purpose for which it was created, and these
funds become available for the general use of the Can-ier, the Can-ier shall return to the FEHBP a
pro rata share based upon FEHBP's contribution to the total Carrier's set aside shall be returned
to the FEHBP in accordance with FAR 31.201-5.
    (B) Premium taxes. (1) When the term "premium taxes" is used in this contract without
further definition or explanation, it means a tax, fee, or other monetary payment directly or
indirectly imposed on FEHB premiums by any State, the District of Columbia. or the
Commonwealth of Puerto Rico or by any political subdivision or other governmental authority of


                                                                                           (FFS-2013)
                                                 111-2
   Case 2:19-cv-13497-SM-MBN                Document 1-2         Filed 11/07/19       Page 48 of 136




those entities. \\ith the sole exception 01',1 t,IX on net income or profit. if that tax. Ice. or jXlyment
                                or
is ~lppliC:lblc to Cl broad range  busincss acti\ity.
    (2) For purposes of this paragraph (8). OPM has determined that the term "State" as used in 5
U.S.c. 8909(£) includes, but is not limited to, a territory or possession of the United States.
   (c) Certification of Accounting Statement Accuracy. (1) -fhe Carrier shall certify the annual
and fiscal year accounting statements in the form set forth in paragraph (c)(3) of this clause. The
Carrier's chief executive oilicer and the chief financial officer shall sign the certilicate.
   (2) The Carrier shall require an authorized agent of its underwriter, if any, also to certify the
annual accounting statement.
   (~) The certificate required shall be in the rull()\\ ing ,'urm:


                               CERTIFICA,. TION OF ACCOUNTING
                                   STATEMENT ACCURACY

    This is to certify that I have rniewed this accounting statement and to the best of my
knowledge and belief':
    I_ -The statement was prepared in conformity v,ith the guidelines issued by the Office of
Personnel Management and fairly presents the financial results of this reponing period in
conformity with those guidelines.
   2. The costs included in the statement are actual, allowable, allocable, and reasonable in
accordance with the terms of the contract and with the cost principles of the Federal Employees
Health Benefits Acquisition Regulation and the Federal Acquisition Regulation;
   3. Income, rebates, allowances. refunds and other credits made or owed in accordance with
the terms of the contract and applicable cost principles have been included in the statement;
   4. If applicable, the letter of credit account was managed in accordance with 5 CFR part 890.
48 eFR chapter 16. and OPM guidelines.
Carrier Name: -------------------------------
Name of Chief Executive Officer:
(Type or Print)

Name of Chief Financial Officer:

Signature of Chief Executive Officer:

Signature of Chief Financial Officer:

Date Signed:

Date Signed:
Underwriter:

Name and Title of Responsible Corporate Official:
(Type or Print:)

Signature of Responsible Corporate Official:

Date Signed: _________________

                                                                                             (FFS-2013)
                                                  111-3
    Case 2:19-cv-13497-SM-MBN             Document 1-2         Filed 11/07/19      Page 49 of 136




                                         (End of'Ccnillcate)

 SECTION 3.3
 SPECIAL RESERVE (JAN 2003)

         (a) This contract is experience rated. The Special Reserve represents the cumulative
dilTercnce bet ween income to the plan (subscri pli Ull incume pI us interest on investments litem
(b)(2)(iii) in Section 3.2, Accoul1ting und Al/Olluhlc Cost, \vhich also includes income gain or
loss 1) and plan expenses (benefit costs plus allowable administrative expenses and retentions).
lhe Special Resene held by or on bchal r ul'thc CllTier is to hl' us('d only for pa) ment of' chdrgl's
against this contract.
  (b) If this contract is terminated or not renC\vcd and there is a positive balance remaining in
the Special Reserve after all allowable costs chargeable to the contract in accordance with
Section 3.2 plus an agreed-upon amount of administrative expenses for contract liquidation have
been IXlic\. the balance of any funds helel by the Carril'!". including current income on its
investment. shall be paid to OPl\1 for credit to the Carrier's Contingency Reserve maintained b)
OPM \\hen the Carrier submits its annual accounting statement lor the final contract year.
  (c) The Carrier shall incorporate this clause in all agreements with underwriters of the Carrier's
FEHB Plan.

SECTION 3.4
INVESTMENT INCOME (JAN 1998) (FEHBAR 1652.215-71)

    (a) The Carrier shall invest and reinvest all FEHB funds on hand that are in excess of the funds
 needed to promptly discharge the obligations incurred under this contract. The Carrier shall seek
to maximize investment income with prudent consideration to the safety and liquidity of
 investments.
    (b) All investment income earned on FEHB funds shall be credited to the Special Reserve on
behalf of the FEHBP.
   (c) When the Contracting Officer concludes that the Carrier failed to comply with paragraphs
(a) or (b) of this clause, the Carrier shall credit the Special Reserve with investment income that
would have been earned, at the rate(s) specified in paragraph (f) of this clause, had it not been for
the Carrier's noncompliance. "Failed to comply with paragraphs (a) or (b)" means: (1)' making
any charges against the contract which are not allowable, allocable, or reasonable; or (2) failing
to credit any income due the contract and/or failing to place excess funds, including subscription
income and payments from OPM not needed to discharge promptly the obligations incurred
under the contract, refunds, credits, payments, deposits, investment income earned, uncashed
checks, or other amounts owed the Special Reserve, in income producing investments and
accounts.
   (d) Investment income lost as a result of unallowable, unallocable, or unreasonable charges
against the contract shall be paid from the first day of the contract term following the contract
term in which the unallowable charge was made and shall end on the earlier of: (1) the date the
amounts are returned to the Special Reserve (or the Office of Personnel Management); (2) the
date specified by the Contracting Officer; or (3) the date of the Contracting Officer's Final
Decision.
   (e) Investment income lost as a result of failure to credit income due the contract or failure to
place excess funds in income producing investments and accounts shall be paid from the date the

                                                                                         (FFS-2013)
                                                111-4
    Case 2:19-cv-13497-SM-MBN            Document 1-2        Filed 11/07/19      Page 50 of 136




runcls should h~l\C bccn invcstcd or appropriatc incomc \\as not credited and shall cnd on the
earliLT or: (I) the eLite the ~lm()Unts ~lrc rClllrnccl tll thl' Spcl'i~d Rcscnc (or the OITice 01'
Personnel Management); (2) the date specified by the COI1lracting 01Ticer: or (3) the date of the
Contracting Officer's Final Decision.
  (f) The Carrier shall credit the Special Reserve for income due in accordance with this clause.
All lost investment income payable shall bear simple interest at the quarterly rate determined by
the Secretary of the Treasury under the authority of 26 L.s.C. 662I(a)(2) applicable to the
periods in which the amount becomes due, as provided in paragraphs (d) and (e) of this clause.
  (g) The Carrier shall incorporate this clause into agreements with underwriters of the Carrier's
FEIIH pl,111 and shall substitute "underwriter" or other appropriate rererence ror thc term
"Carrier".

SECTION 3.5
NON-COMMINGLING OF FUNDS (JAN 1991) (FEHBAR 1652.232-72)

  (a) The Carrier and/or its underwriter shall keep all FEI-IBP funds for this contract (cash and
investments) physically separate hom funels obtained from other sources. Accounting for such
FEHBP funds shall not be based on allocations or other sharing mechanisms and shall agree with
the Carrier's accounting records.
  (b) In certain instances the physical separation ofFEHBP funds may not be practical or
desirable. In such cases, the Carrier may request a waiver from this requirement from the
Contracting Officer. The waiver shall be requested in advance and the Carrier shall demonstrate
that accounting techniques have been established that will clearly measure FEHBP cash and
investment income (i. e., subsidiary ledgers). Reconciliations between amounts reported and
actual amounts shown in accounting records shall be provided as supporting schedules to the
Annual Accounting Statements.
  (c) The Carrier shall incorporate this clause in all subcontracts that exceed $25,000 and shall
substitute "contractor" or other appropriate reference for "Carrier and/or its underwriter".

SECTION 3.6
UNCASHED CHECKS (JAN 1996)

  Payment of checks issued pursuant to this contract shall be voided if the checks have been
outstanding for two (2) years. The amounts represented by these checks shall be credited to the
Special Reserve of this contract no later than the 25th month after issuance. The term "Check"
shall include any written instrument issued to payor reimburse the payment of benefits, or any
services, supplies or subcontracts hereunder.

SECTION 3.7
SERVICE CHARGE (JAN 1996)

  (a) Any service charge negotiated shall be set forth in Appendix B and shall be the total profit
that can be charged to the contract. The amount set forth in Appendix B shall encompass all
profit (whether entitled service charge, profit, fee, contribution to reserves or surpluses or any
other title) that may be included in major subcontracts in accordance with the provisions of
FEHBAR 1631.205-80, Major Subcontractor Service Charges.


                                                                                        (FFS-2013)
                                                111-5
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19      Page 51 of 136




  (h) One-t\\elfth of the service charge /()r the contract term accrues on the I~lst d~lY orcclch
month during the contract term. The C~lrrier sh,dl \\ithdra\\ the slT\iee charge from the Spl'ci,d
Reserve when it accrues.
  (c) If this contract is renewed by operation of section J .15(a), the amount of the service charge
accrued under (b) shall be "one-twenty-fourth" rather than "one-twelfth." The remainder of the
service charge not otherwise accrued during the contract term shall accrue on the last day of the
cOl1lract term.

SECTION 3.8
C()\"TRACTOR RECORDS RETL0."II()'\ (.Ill. 20(5) (l·THBi\R 1652.2().:j.-70)

 Notwithstanding the provisions of Section 5.7 (FAR 52.21S-2(t)). ,1udi! OIU! Record) -
Ne[{o[i(f!ion the Carrier will retain and make available all records applicable to a contract term
that support the annual statement of operations and. for contracts that equal or exceed the
threshold at F;\R 15.403-4(a)( I ). the ralL' submission for that contract term for a period of si:\
years after the end of the contract term to \vhich the records relate. This includes all records of
Large Provider Agreements and subcontracts that equal or e:\ceed the threshold requirements. In
addition, individual Enrollee and/or patient claim records will be maintained for six years after
the end of the contract tem1 to which the claim records relate. This clause is effective
prospectively as of the 2005 contract year.


SECTION 3.9
APPROVAL FOR ASSIGNMENT OF CLAIMS (JAN 1991) (FEHBAR 1652.232-73)

  (a) Notwithstanding the provisions of Section 5.35 rF;\R 52.232-23]. Assignmen! ofC1oims.
the Carrier shall not make any assignment under the Assignment of Claims Act without the prior
written approval of the Contracting Officer.
  (b) Unless a different period is specified in the Contracting Officer's written approval, an
assignment shall be in force only for a period of one year from the date of the Contracting
Officer's approval. However, assignments may be renewed upon their expiration.

SECTION 3.10
AUDIT, FINANCIAL, AND OTHER INFORMATION (JAN 2001)

  The CalTier shall furnish to OPM audit, financial, and other information in the format and
within the time frames specified in the Audit Guide for Financial Statement Audits, Reporting on
Internal Controls and Compliance with Laws and Regulations, Attestation Reports, Agreed-Upon
Procedures, and Reporting on Internal Controls of Third Party Servicing Organizations.
Information and reports shall be fumished in the required number of copies to the addresses
specified by OPM.

SECTION 3.11
SURVEY CHARGES (JAN 2002)

 (a) If the CalTier participates in an FEHB annual consumer assessment survey, it shall pay
OPM's contractor a pro rata share of the total cost of consolidating and repOliing the survey

                                                                                         (FFS-2013)
                                                111-6
       Case 2:19-cv-13497-SM-MBN            Document 1-2        Filed 11/07/19       Page 52 of 136




results to OP\;J. The Carrier shall pay a separate ICe for c~lch plan option ,mel lor ratin~ are,!. The
Clrrier agrl'l's to pay the contr~lclOr's imoice \\ ithin ~() (Li:s urthe billin~ d'lte. [ftlll' Clrri('r
does not remit payment to the contractor within 60 days of the billing date. OPM shall withhold
the amount due from the Carrier's subscription charges according to FEHBAR 1652.232-71,
Payments--experience-rated contracts. and forward payment to the contractor.
  (b) Costs incurred by the Carrier for contracting with a vendor to conduct the survey shall be
the Carrier's responsibility and constitute alloy\ able administrative charges.

SECTION 3.12
f-LI lB CLEA RI'\e; HOUSE (.1/\1\ 2(12)

        (a) The FEHB Clearinghouse \\ill t~lcilitate the reconciliation of'enrollments between
carriers and Federal agencies, and between Carriers andfribal Employers. The Carrier shall pay
a pro rata share based on its proportion ofTEllB premiums as determined by OPM for the cost
of ckvcloping and operating the Clearinghousl'.
        (b) OPM shall vvithhold the amount due from the Carrier's subscription charges under
the authority of FEH BAR 1652.232-71. Payments-- Experience-Rated Contracts. and shall
forward payment to the FEHB Clearinghouse.

SECTION 3.13
TAXPAYER IDENTIFICATION NUMBER (JAN 2000) (FEHBAR 1652.204-73)

 (a)     Definitions.
     Common parent, as used in this provision, means that corporate entity that owns or controls
an affiliated group of corporations that files its Federal income tax returns on a consolidated
basis. and of which the Carrier is a mem ber.
     Taxpayer Identification Number (TIN), as used in this provision, means the number required
by the Internal Revenue Service (IRS) to be used by the Carrier in reporting income tax and
other returns.
    (b) The Carrier must submit the information required in paragraphs (d) through (f) of this
clause to comply with debt collection requirements of31 U.S.c. 7701(c) and 3325(d), reporting
requirements of26 U.S.C. 6041, 6041A, and 6050M, and implementing regulations issued by the
IRS. The Carrier is subject to the payment reporting requirements described in Federal
Acquisition Regulation (FAR) 4.904. The Carrier's failure or refusal to furnish the information
will result in payment being withheld until the TIN number is provided.
    (c) The Government may use the TIN to collect and report on any delinquent amounts arising
out of the Carrier's relationship with the Government (31 U.S.c. 7701 (c)(3». The TIN provided
hereunder may be matched with IRS records to verify its accuracy.
    (d) Taxpayer Identification Number (TIN).
TIN:
    (e) Type of organization.
o       Sole proprietorship;
o       Partnership;
o       Corporate entity (not tax-exempt);
o       Corporate entity (tax-exempt);
o       Other
              -----------------------
    (f) Common parent.

                                                                                            (FFS-2013)
                                                  111-7
    Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19       Page 53 of 136




         Carrier is not owned or eontrolkd h: ~l common IXlITnt ~lS defined in IX1Llgraph (a)    or
this cl~1Use.
         Name and TIN of common parent:
Name
       -----------------
TIN - - - - - - - - - - - - - - - - - -

SEerIO?\: 3.J~
REPORTABLE OVERPA YMENTS (JAN 20 J j)

        (a) II'the Carrier becomes d\\drl' ofl'ithl'r <l duplieLlll' ktter oCcrl'ciit jX1Yillent ur a
signifIcant iener of credit overpayment made b) OPNL the Carrier shall notify the Contracting
Officer within a maximum often days and request instructions for disposition oCthe
overpayment. See FAR § 3.1 003(a)(3) for penalties applicable to the failure to timely repon
credible evidence of significant overpayments vvhich shall mean letter of credit payments that
are 25°;) or J percentage determined by the COl1trdcting ()fficer above the total checks
presented amount for the day(s) in question and are reoccurring v,ith no corrective action plan
in place.

SECTION 3.15
AUDIT RESOLUTIONS (JAN 2011)

When OIG issues a Draft Report of findings to the Carrier. the Carrier must respond with all
available, accurate and relevant documentation to validate or invalidate the findings. This mllst
be done within the timeframe specified in the OIG Draft Report transmittal letter. The Carriers
shall promptly begin reconciling findings and not \vait until the receipt of the Final Report to
address disagreement with any findings previously communicated in the Draft Report.

OPM expects to fully resolve audits within 180 days of issuance of the final report. To enable
this, Carriers must expeditiously tender all documentation necessary for resolution of the audit
not later than 120 days from the date of the final audit report. This includes overpayment
recoveries via check or certification, full documentation of the CaITier's position for findings
being contested, evidence Supp0l1ing due diligence assertions, and support for all other
pertinent issues which OPM must consider, as appropriate. Fully supported requests for an
extension will be evaluated by the Contracting Officer on a case-by-case basis.

SECTION 3.16 REPORTABLE FINDINGS (JAN 2013)

        (a) Audit findings (except for claim payment findings) in the scope of an OIG audit are
reportable as questioned charges unless the Carrier provides documentation supporting that the
findings were already identified and corrected (i.e., administrative expense overcharges and
untimely health benefit refunds were already processed and returned to the FEHBP) prior to
audit notification.

       (b) Claim payment findings (i.e., claim overpayments) in the scope of an OIG audit are
reportable as questioned charges unless the Carrier provides documentation supp0l1ing that these
findings were already identified (i.e., documentation that the plan initiated recovery efforts) prior


                                                                                           (FFS-2013)
                                                 111-8
    Case 2:19-cv-13497-SM-MBN                    Document 1-2            Filed 11/07/19          Page 54 of 136




tu audit iWlificalion ,lncl corrected (i.e .. claims \\cre ZldjuslCd and/or voided Zinc! o\crpZlymcnls
\ \ ei\: recu\\..'red (mel returned 10 the F I. I JJ3 p) by t he uri ~j n,t! duc ,Lilc' 0 r thl' dra n report respunsc.




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                                                         111-9
Case 2:19-cv-13497-SM-MBN              Document 1-2          Filed 11/07/19       Page 55 of 136



 Pan IV -SPECIAL PROVISIONS is deleted and replaced ,,,ith the foIlO\"'ing:

 SECTIOl\J 4.1
ALTERATIONS IN CONTRACT (JAN 2(11) (JAR 52.252-4)

Portions of this contract are altered as foJ]O\vs:

(a) Section 1.6 Confidentiality or Record:::.. The j()lluwing subsection is added:

        (d) Local Blue Cross and/or Blue Shicld Plans may combine the personal data and
medical records ofh'deral subscrib\.,[·c,. cllld il1furl11cltiul1 reLlling. thereto. with the same
information of other individuals \",ho have health benefits coverage under the Local Blue
Cross and/or Blue Shield Plan. This combined ebt,1 may only be used and disclosed for
the Plan's health care operations and payment activities, as such terms and conditions are
defined under the Health Insurance Portability and Accountability Act, and its
implementing regulations (45 eFR § 164.5()1). Such ileti\ities include. but are not
limited to: care management: prevention. detection. and recovery of funds subject to
fraud and abuse: and negotiation or provider contracts.

       (e) As used in subsection (b)(l) of this section. "administration of this contract"
means health care operations and payment activities, as such terms and conditions are
defined under the Health Insurance Portability and Accountability Act, and its
implementing regulations (45 CFR 0 164.501).

(b) Section 1.9 Plan Performance-Experience-Rated FFS Contracts.

The Carrier may lise the appropriate systems for measurement and/or collection of data
on the quality of the health care services as described in subparagraph 1.9(b).

(c) Section 1.14, Misleading, Deceptive, or Unfair Advertising, is amended by removing
the reference to the NAIC Advertisements of Accident and Sickness Insurance Model
Regulation (Appendix D-b). Carrier should continue to use the FEHB Supplemental
Literature Guidelines (now at the renumbered Appendix C) along with FEHBAR
1603.7002.

(d) Section 1.15 Renewal and Withdrawal of Approval (FEHBAR). The following
subsections are added:

        (d) If the agency suspends payment of the subscription charges for any reason, the
Carrier may (1) suspend making benefit payments until payment of all subscription
charges due is fully restored; or (2) terminate the contract without prior notice.

(e) Section 1.21 Patient Bill of Rights. For the purpose of compliance with this Section,
the Carrier will conduct the following minimum activities: (1) the Carrier will provide
subscribers with a Fact Sheet that includes information about the disenrollment rate in the
Blue Cross and Blue Shield Service Benefit Plan, as well as Local Plan-specific
information including compliance with Federal and State financial requirements, public
corporate infom1ation, years in existence, and accreditation status; (2) Provider


                                              IV -1                                  (FFS-2013)
Case 2:19-cv-13497-SM-MBN                Document 1-2          Filed 11/07/19        Page 56 of 136



Directories \iI/ill include language advising subscribers to contact their providers directly
to ohtain information ahout the providers. including but not limited to hoard
ccrtilIcltions. languages spoken. availability ol"intcrpreters. I~lcility Clccessihilit:--. Clnd
\vhether the provider is accepting new patients.

(f) Section 1.30 Health Information Technology Privacy and Security. Subsections (b)
and (c) of Section 1.30 are amended to read as follows:

         (b) The Carrier \v·ill promote consumer transparency by ensuring that at the point
where the Federal member enters the subcontractor's. large provider's, or vendor's
\\L'bsitc or \\cb portal the link to the subcontractor·s. Luge prll\ider·s. or \cnc!or·s Illlticl'
of privacy practices and/or privacy policies is displayed on the bottom, or prominently
displayed elsewhere. on the website or web portal.

        (c) Notice of privacy practices and/or privacy policies disclosures must describe
the uses of individually identifiable protected health inf(irmation and any potential
disclosure to othcr entities as described in the HIPAA Privacy Rule.

(g) Section 2.2 Benefits Provided. The follovving paragraph is added to subscClion 2.2(a):

        (4) The Carrier may pay the Preferred Provider Organization level of benefits
under this contract to ease the hardship of members affected by natural disasters such as
eat1hquakes, floods, etc., when because of the natural disaster members have difficulty
gaining access to Preferred network providers. The Carrier may pay the Preferred level
of benefits without regard to the provider's contractual relationship with the Carrier and
will determine an appropriate time frame based on local conditions during which the
provision of this paragraph will apply. Benefits provided under this paragraph will be
made available to all members similarly a±Iected by the natural disaster.

(h) Section 2.3 Payment of Benefits and Provision of Services and Supplies.
Notwithstanding subsection (f) of Section 2.3, benefits provided under the contract are
not assignable by the Member to any person without express written approval of the
carrier, and in the absence of such approval, any such assignment shall be void.
Notwithstanding such approval, no assignment of benefits may be made in any case prior
to the time that a valid claim for benefits arises.

(i) Section 2.3 Payment of Benefits and Provision of Services and Supplies, The
introductory paragraph of Subsection 2.3(g) is amended to read as follows:

       (g) Erroneous Payments.
               (i) If the Carrier or OPM determines that a Member's claim has been paid
       in error for any reason (except in the case of fraud or abuse), the Carrier shall
       make a prompt and diligent effort to recover the erroneous payment to the
       member from the member or, if to the provider, from the provider; the recovery of
       any overpayment must be treated as an erroneous benefit payment, overpayment,
       or duplicate payment under 48 C.F.R. 1631.201-70(h) regardless of any time
       period limitations in the written agreement with the provider.

                (ii) The Carrier shall be deemed to have satisfied the requirements of

                                               IV-2                                     (FFS-2013)
Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 57 of 136



        Subsection (g) (i) above by complying with Subsections (ii), (iii), and (iv). Local
        Blue Cross and Blue Shield Pi:.ln,; \\hich h:l\l' time period limitation,; in their
        provider contract<; which 1'1'('\(' 11 t till' IJI,111 from re('()\cring erroneous henefit
        payments made to providers \lvill participate in an action plan. '1'he action plan
        shall be developed by the Blue Cross and Blue Shield Association by December
        31, )008 and agreed to by the Contracting Of1icer and the Blue Cross and Blue
        Shield Association. The Blue Cross and Blue Shield Association and the
        Contracting Officer shall utilize standards 01 commercial reasonableness and
        neither shall unreasonably \vithholcl agreement. The action plan shall_be designed
        to reduce the occurrence of erroneous benefit payments, to identify and recover
        erroneous benefit payments \\ithin the tink' limits stipulated in their provider
        contracts, and to demonstrate due diHgence in making an attempt to identify and
        recover within that provider contract timeklme such erroneous benefit payments.

                (iii) The Blue Cross and Blue Shield Association shall be responsible for
        monitoring and determining whether each Blue Cross and Blue Shield Plan
        participating in the action plan is complying with its obligations uncler the action
        plan.

               (iv) A Blue Cross and Blue Shield Plan which is in compliance with its
       obligations under the action plan shall be found to be in compliance with its
       obligation under this Section 2.3(g) to make a prompt and diligent effort to
       recover erroneous benefit payments. In the event that any Plan with such time
       period limitations is determined to be not in substantial compliance with the
       action plan, and that Plan is determined not to have pursued material benefit
       payments with pronlptness and diligence, then the Plan shall return the erroneous
       benefit payments to the Program.

               (v) The Carrier shall follow general business practices and procedures in
       collecting debts owed under the Federal Employees Health Benefits Program.
       Prompt and diligent effort to recover erroneous payments means that upon
       discovering that an erroneous payment exists, the Carrier shall-

(j) Section 2.3 Payment of Benefits and Provision of Services and Supplies. Subsection
(g)(7)(ii) of Section 2.3 is amended to read as follows:

Notwithstanding (g)(7)(i), the Canier may not charge the contract for the administrative
costs to conect erroneous benefit payments (or to conect processes or procedures that
caused enoneous benefit payments) when the errors are egregious and repeated, These
costs are deemed to be unreasonable and unallowable under Section 3 .2(b). The term
"repeated" in the previous sentence does not apply to situations in which a claims
processing system error causes multiple enoneous payments or to situations that involve
audit findings on errors that are endemic to the provision of insurance and claims
processing.

(k) Section 2.3 Payment of Benefits and Provision of Services and Supplies. Subsection
(g)(10) of Section 2.3 is amended to read as follows:

   (10) In compliance with the Contracts Disputes Act, the Carrier shall return to the

                                              IV-3                                   (FfS-2013)
Case 2:19-cv-13497-SM-MBN                Document 1-2        Filed 11/07/19     Page 58 of 136



 Program an amount equal to tbe uncollected erroneous benefit payment v"here thc
 C()!ltr~ICling Officer determines that the Carrier I"liled to make ~l prompt and diligellt
 ei'l()r1. as thm term is described ahove. to recover the erroneous benefit payment. This
 prmision applies to benefit payments vvbicb have been paid in error for any reason
 (except in the case of fraud or abuse).

 (I) Section 2.4 Termination of Coverage and Conversion Privileges. The conversion
contract set forth in Section 2.4(c) may be a contract that is regularl) ulrercc! b) the local
Blue Cross and/or Blue Shield Plan.

(11l) Sectioll 2.) Subrogation.   The follcming subsections ~lre ~ldcled:

         (c) To the extent that a Member has received benefits for covered services under
this contract for an injury or illness caused by a third pany, the Carrier shall have the
right to be subrogated and succeed to any rights of recovery against any person or
organi/Cltion from whom the Member is legally entitled to recei\(: all or pmt uf'those
same benefits. including insurers of individuals (non-group) policies of liabi Iity insLlrance
that arc issLled to and in the name of the Member. The obligation ofthc Carrier to
reco\cr amounts through subrogation is limited to making a reasonable effon to seek
recovery of amounts to which it is entitled to recover in cases which are brought to its
attention. The Carrier shall not be required to recover any amounts from any person or
organization who causes an injury or illness for which the Member makes claims for
benefits.

       Cd) The Carrier may also recover directly from the Member all amounts received
by the Member by suit, settlement, or otherwise from any third party or its insurer, or the
Member's insurer under an individual policy or liability insurance. for benefits which
have also been paid under this contract.

         (e) The Member shall take such action, furnish such information and assistance,
and execute such papers as the Carrier or its representative believes are necessary to
facilitate enforcement of its rights, and shall take no action which would prejudice the
interests of the Carrier to subrogation.

        (f) Effective January 1, 1997, all Participating Plans shall subrogate under a
single, nation-wide policy to ensure equitable and consistent treatment for all Members
under the contract.

(n) Section 2.6 Coordination of Benefits (FEHBAR). The following subsections are
added:

        (g) The benefits payable by this Plan shall be determined, on a claim by claim
basis, only for those claims in excess of $1 00, except where Medicare is the primary
payer of benefits.

       (h) Whenever payments which should have been made under this contract in
accordance with this provision have been made under any other group health coverage,
the Carrier shall have the right, exercisable alone and in its sole discretion, to pay over to
any organizations making such other payments any amount it shall determine to be

                                              IVA                                 (FFS-2013)
Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19      Page 59 of 136



warranted in order to satisfy the inte11l of this pnnision, and amounts so paid shall be
deemed to he benefits paid uncler 1his contract ~lll(L to the extcnt of such payments
discharged hOlll liahility uncler the cOlltr;)cl.

(0) Section 3.1 Payments (FEHBAR). The following sentence is added to the end of
Section 3.1 (a):

OP;Vl vvill \,vithholcl Ji'om the subscriptiun charges amounts for other obligations clue
under the contract only to the e"tent that OP\1 ,me! the Carrier have agreed in writing to
specific deductions for such other obligations.

(p) Section 3.1 Payments (rEI IB;\R). The l'ollO\ving subsection is added:

        (g) Except as required pursuant to Sections 1.25 and 2.12, in the event this
contract is terminated or not renev\ecL the agency shall be liable for all sums due and
unpaid. including subscriptioll ch'lrgL's. ror the period up to the last day of the Member's
entitlement to benefits.

eq) Section 3.2 Accounting and Allowable (ost (I' El-lBAR). Section 3.2(b)(2)(ii) ofthis
contract is amended to comply with 5 U.s.c. 8909(f) as follows:

        (1) No tax, fee, or other monetary payment may be imposed, directly or indirectly,
on a Carrier or an underwriting or plan administration subcontractor of an approved
health benefits plan by any State, the District of Columbia, or the Commonwealth of
Puerto Rico, or by any political subdivision or other governmental authority thereof, with
respect to any payment made from the Fund.

        (2) Paragraph (l) shall not be construed to exempt any Carrier or subcontractor of
an approved health benefits plan from the imposition, payment, or collection of a tax, fee,
or other monetary payment on the net income or profit accruing to or realized by such
Carrier or underwriting or plan administration subcontractor from business conducted
under this Chapter, if that tax, fee, or payment is applicable to a broad range of business
activity.

(r) Section 3.2 Accounting and Allowable Cost (FEHBAR). The provision in Section 3.2
(b)(2)(iv)(A) is supplemented as follows:

Charges for mandatory statutory reserves (Section 3.2(b)(2)(iv)(A» to satisfy mandatory
statutory reserve requirements of Participating Plans are allowable to the extent that such
requirements exceed that portion of the service charge at Appendix B, Subscription
Rates, Charges, Allowances and Limitations applicable to such Plans.

(s) Section 3.2 Accounting and Allowable Cost (FEHBAR). This section is modified as
follows:

The Carrier, as required by the Blue Cross and Blue Shield Service Benefit Plan
Workplan, shall furnish OPM an accounting of its operations under the contract not less
than 120 days after the end of the calendar year contract period.


                                            IV-5                                 (FFS-2013)
Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19       Page 60 of 136



(t) Section 3.3 Special Reserve. The prO\ision in Section 3.3(a) is supplemented as
f(lilows:

The Special reserve held by or on behalfofthe Carrier is to be used only for payment of
charges against this contract, including advance payments to Participating Plans and to
hospitals.

(u) ~ection 3.10, Audit, hnanciaL and Uther Information. Compliance by the Carrier and
Participating Blue Cross and Blue Shield Plans with the Blue Cross Blue Shield Senice
Benefit Plan Workplan, as agreed upon between the Carrier and OPM. will constitute
c()ll1pliance \\ith the /\uc!it Guide referred to in Sections 3.2 ~Illd 3.10.

SECTION 4.2
HOSPITAL (FACILITY) BENEFIT PAYMENTS AND CONDITIONS (JAN 1991)

(a) Benefit'; descrihed in the agreed upon brochure te:\t shall be prc)\ided to the c:\tcnt
practicable in the form of services rendered by hospitals. heestancling ambulatory
facilities. and home health care agencies. and payment. therefore. by or on behalfol'the
carrier shall constitute a complete discharge ofthcir obligations under this contract to the
extent of services rendered in accordance with the terms and conditions of the contract.

(b) Benefits for inpatient hospital care shall be available only to a Member admitted to
the hospital on the recommendation, and while under the active medical supervision of a
duly licensed physician or alternative provider as described in section 8902(k)( 1) of title
5 U.S.C. who is a member of the staff of, or acceptable to, the hospital selected.

(c) Hospital service is subject to all the rules and regulations of the hospital selected
including rules governing admissions.

(d) While a Member may elect to be hospitalized in any hospital, the Canier does not
undertake to guarantee the admission of such Member to the hospital, nor the availability
of any accommodations or services therein requested by the Member or his physician.

SECTION 4.3
DEFINITION OF CARRIER (JAN 1991)

The Canier is the Blue Cross and Blue Shield Association, an Illinois not-for-profit
corporation, acting on behalf of participating Blue Cross and Blue Shield Plans and
pursuant to authority specified in Exhibit A for and in behalf of the organizations
specified in Exhibit A (hereinafter sometimes refened to as "Participating Plans").

SECTION 4.4
AUDIT DISPUTES (JAN 2000)

(a) Any questioned costs or issues documented by or on behalf of OPM's Office of the
Inspector General (OIG) in draft or final audit reports examining the Canier's and
Participating Plans' performance under this contract, that are provided to the Canier and
that were initially raised in the timeframe set forth in subsection (c) below, remain open
until resolved. Audit issues related to monetary findings for which extensions of the

                                             IV-6                                  (FFS-2013)
Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19       Page 61 of 136



\vaiver period Jar the issuance or final decisions and processing of prior period
adjustments \vere obtained in pre\i(1l1S Cnnlrdct terms ~llso rem~lin open until resolved.

(b) Resolution ora questioned cost or issue can be the result ora resolution letter or the
issuance of a final decision by the Contracting Officer, or by the processing of a prior
period adjustment. an adjustment to the Special reserve, or submission of a claim to OPM
(as appropriate) by the Carrier or Participating Plan. A prior period adjustment intended
to partially or fully resolve an audit finding \\ ill nut be cunsidered closed until properl)
reported on the calendar year Annual Accounting Statement.

(c);\ claim seeking. as a maller ()frighl. tIlL' pdYIl1Cnt ufll1oncy. in a sum certain.
pursuant to 48 (FR section 52.233-1. shall not be made more than five years following
the last day prescribed by the contract for filing the calendar year Annual Accounting
Statement for the year with respect to which the claim arises. A claim includes, in the
case of the carrier, a charge against the contract.

SECTION 4.5
ASSOCIATION DUES (J!\N 20()4)

A Participating local Blue Cross and Blue Shield Plan may charge to this contract
Association Dues, with the exception of clues related to those lobbying costs and Special
Assessments determined to be unallowable. In calculating the unallowable portion of
dues related to lobbying costs for a contract year, the Blue Cross and Blue Shield Plan
will rely on the percentage of dues, less any special assessments, as determined by the
BCBSA for IRS purposes, to be not tax deductible from the previous contract year.

SECTION 4.6
TRAVEL COSTS (JAN 1996)

The Carrier may charge and account for travel expenses related to administration of the
contract on a per diem basis, subject to the maximums prescribed by the Federal Travel
Regulations. For those travel costs for each contract term that are subject to the Federal
per diem rates set forth at 48 CFR section 31.205-46, the Carrier shall charge to the
contract an amount equal to the lesser of:

(i) the actual aggregate charges for those costs, or
(ii) the aggregate charges calculated using the per diem rates set forth in the Federal
Travel Regulations.

SECTION 4.7
MARKET RESEARCH COSTS (JAN 1996)

(a) Costs of market research surveys or studies are generally allowable if the surveyor
study is:

1. directed to current Members and Members who left the Blue Cross and Blue Shield
Service Benefit Plan in the most recent Open season, or
2. focused on long-range planning, industry state-of-the-art developments, or product
development issues for which a direct benefit or potential benefit to the FEHB Program

                                            IV-7                                  (FfS-2013)
Case 2:19-cv-13497-SM-MBN                 Document 1-2          Filed 11/07/19        Page 62 of 136



can be identified, or
:1. pre-approwd by the Contracting OITieer.

(b) Costs or market research surveys or studies are generally not allo'vvable if the primary
purpose is to surveyor study an otherwise unallowable cost item, such as: to determine
the effectiveness of advertising or sales strategies: to evaluate image effectiveness or
ways to achieve image enhancement; or to perform a competitive analysis with other
carriers in the I"LIU3 Program. Such costs are unallO\vabk, regardless oj" who recei vcs
the research surveys or studies.

(c) This prll\ision does nol supersede (llher cllntr~lct requil·c'll1cnh. such (IS prior ~Ipprl)\ ~t!
for subcontracts under Section 1.16 Subcontracts (FEHBAR 1652.2..J.4-70).

SECTION 4.8
PRESCRIPTION DRUG BENEFITS WAIVER PROVISIONS (JAN 2009)

(a) For the purposes of applying the special provisions in this section. the Standard
Optiun J'vlail Service Prescription Drug Program service standards are:
        (1) When a prescription order is placed that docs not require additional
information or clarification (i.e., a clean or non-diverted prescription), the prescription
order shall be dispensed within three business days from the date of receipt so the
enrollee may expect to receive the medication within 7 calendar clays.

    (2) When a prescription order is placed that does require additional information,
clarification or resolution of payment issues (i.e., a diverted prescription), the
prescri ption Ol'der shall be dispensed within seven business days from the date of recei pt
so the enrollee may expect to receive the medication \vithin 14 calendar days. HO\vever
the following situations will not be considered a diverted prescription for the purposes of
this section:
     (i) Prescriptions for refrigerated products that require prior arrangements
between the mail order pharmacy and a Member before the Member can receive the
Prescription;
    (ii) Prescriptions requiring specific counseling obligations imposed by the
pharmaceutical manufacturer, distributor or the FDA;
    (iii) Prescriptions requiring "registration" with a pharmaceutical manufacturer.

(b) The special provisions described in paragraphs (c)(1), (2), and (3) shall become
effective automatically when less than 98 percent of the prescriptions are filled within the
service standards described in either paragraph (a)(1) or (a)(2) for 7 consecutive business
days. The special provisions shall terminate when for 7 consecutive business days 98
percent or more of the prescriptions are filled within the service standards described in
paragraphs (a)(1) and (a)(2) of this section.

(c) The special provisions are:
        (1) The Carrier shall waive during the effective periods in paragraph (b) the
coinsurance for a 21 day prescription filled at a Preferred retail pharmacy when the Mail
Service Prescription Drug Program vendor is unable to fill the prescription within the
service standards. This waiver of the coinsurance shall be in effect for 14 calendar days
after notice to the enrollee as described in paragraph (c)(2) below.

                                                IV-8                                     (FFS-2013)
Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19       Page 63 of 136



        (2) The Carrier shall deliver to thl' enrollee a wrillen or telephone notice no later
than 5 days from the dCltC ofreceil't j'OI' ekilll nr non-diverted prescriptions ,mel no l(11er
than 12 c1iws tJ'om thl.:' elate of rccL'il't I()r cii\l'l·teci prescriptions.
 This notice shall:
        (i) advise the enrollee that the Mail Service Prescription Drug Program may not
be able to fill the prescription(s) \\ithin the service standard timeframes;
        (ii) advise the enrollee that any applicable coinsurance will be waived for a 21 day
supply of the medication(s) \,hen lilled at J Preferred retail pharmacy;
        (iii) provide the enrollee \\ith instructions on hov\ to usc the waiver, and
        (iv) advise the enrollee when the waiver will expire.
        (J) The Carrier lWIY lISl' I1C:\t eLI) lkli\LT) sl'i"\icc at no additional cost to the
enrollee in order to meet the service standards in (a)( I) and (a)(2).

SECTION 4.9
SMALL BUSINESS SUBCONTRACTING PLAN (JAN 2002) (FAR 52.219-9) (AS
A1V1ENDfD)

An amended clause 52.219-9. Small Business Subcontracting Plan. is attached to
Appendix L.

SECTION 4.10
LETTER OF CREDIT (JAN 1997)

As of January I, 1997. OPM will administer Letter of Credit drawdowns directly with the
local Plans.

SECTION 4.11
PILOTING OF COST CONTAINMENT PROGRAMS (JAN 2001)

Upon approval by the Contracting Officer, the Carrier may design and implement pilot
programs in one or more local Plan areas that test the feasibility and examine the impact
of various managed care initiatives. The Carrier shall brief the Contracting Officer on a
pilot program prior to its implementation, advise the Contracting Officer of the progress
of the pilot program and provide a written evaluation at the conclusion of the pilot
program. The evaluation of the pilot program shall, at a minimum, assess the cost
effectiveness, effect on quality of care and/or quality of life, and customer satisfaction,
and recommend whether the pilot program should be continued or expanded.

SECTION 4.12
TRANSITION COSTS FOR PLAN TERMINATIONS (JAN 1999)

In the event a Participating Plan's license to use the Blue Cross and/or Blue Shield
service marks is tenninated, thereby rendering it ineligible to participate in this Contract,
the costs of transitioning the tenninated Plan's Service Benefit Plan subscribers to a
successor Plan shall be subject to advance approval. The Carrier shall submit to OPM a
proposed transition plan, together with a detailed estimate of costs, prior to the incurrence
of any significant transition costs. OPM and the Canier shall negotiate an advance
agreement pursuant to FAR 31.109 that covers the extent of allowable transition costs.


                                            IV-9                                  (FFS-2013)
Case 2:19-cv-13497-SM-MBN           Document 1-2       Filed 11/07/19     Page 64 of 136



SLClIOl\ 4. J 3
p/\ Yi'vlFNT BY ELECTRONIC FUNDS TRV0SFLR-CTNTRAL CONTR;\CTOR
R H i1STRArION UvlA Y 1c)<)9) (FAR :"::!.::!~::!-~~)

The references to the Central Contractor Registration in FAR 52.232-33 are not
applicable to this contract.




                                         IV -10                             (FFS-2013 )
   Case 2:19-cv-13497-SM-MBN            Document 1-2        Filed 11/07/19      Page 65 of 136




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SECTION 5.1
DEFINITIONS (JAN 2012) (FAR 52.202-1 )

   a) When a solicitation provision or COI1lract clausc uses a word or term that is defined in the
      Federal Acquisition Regulation (FAR). the word or term has the same meaning as the
      definition in FAR 2.101 inl'lll'Ct <lttht' tillll' thc snliciwtiun was issued.unless--
              (1) The solicitation. or amt'ndcd solicitation, provides a different
              definition:
              (2) The contracting parties agree to a difTerent definition;
              (3) The part, subpan. or scction or the FAR wherc the provision or clause
               is prescribed pro\icks ~l clilllTCl1t meaning: or
              (4) The word or term is cicfincd in FAR Pan 31. f'or use in the eost
              principles and procedures.
   b) The FAR Index is a guide to vvorcis and terms the FAR defines and shows where each
      definition is located. The FAR Index is available via the Internet at
      https://www.acguisition.gov/nlr at the end of the FAR, after the FAR Appendix.

SECTION 5.2
[RESERVED]

SECTION 5.3
GRATUITIES (APR 1984) (FAR 52.2m-3)

  (a) The right of the Contractor to proceed may be tern1inated by written notice if, after notice
and hearing, the agency head or a designee determines that the Contractor, its agent, or another
representative -
  (1) Offered or gave a gratuity (e.g., an entertainment or gift) to an officer, official, or
employee of the Government; and
  (2) Intended, by the gratuity, to obtain a contract or favorable treatment under a contract.
  (b) The facts supporting this determination may be reviewed by any court having lawful
jurisdiction.
  (c) If this contract is terminated under paragraph (a) above, the Government is entitled -
  (1) To pursue the same remedies as in a breach of the contract; and
  (2) In addition to any other damages provided by law, to exemplary damages of not less than 3
nor more than 10 times the cost incurred by the Contractor in giving gratuities to the person
concerned, as determined by the agency head or a designee. (This subparagraph (c )(2) is
applicable only if this contract uses money appropriated to the Department of Defense.)
  (d) The rights and remedies of the Government provided in this clause shall not be exclusive
and are in addition to any other rights and remedies provided by law or under this contract.

SECTION 5.4
COVENANT AGAINST CONTINGENT FEES (APR 1984) (FAR 52.203-5)


                                               V-1
                                                                                       (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                 Document 1-2         Filed 11/07/19        Page 66 of 136




   UI) The Contractor warr:mts that nu pcrson or agency has bccn employcd or n:tdined t() solicit
ur ()bt~lin this contract upon an ,1grcl'mcnt or unckrsulIlding for:1 contingent f'L'l'_ \.'\Cl'l,t ,I hnncl
 lick employee or agency. For breach or violation of this warranty, the Government shall have
the right to annul this contract without liability or, in its discretion, to deduct hom the contract
price or consideration. or otherwise recover, the full amount of the contingent fee.
   (b) "Bona fide agency," as used in this clause, means an established commercial or selling
agency. maintaineJ by a contractur fur the purpose uf securing business, that nei ther c:;crts nor
proposes to exert improper influence to solicit or obtain Government contracts nor holds itself
out as being able to obtain any Government contract or contracts through improper influence.
   "13(lI1d ride employee." as used in this clause. means ,1 person. ell1plu)cd h) <lUlI1tl-,lctur and
subject to the contractor's supervision and control as to time. place, and manner of performance.
who neither e:\erts nor proposes to e:\ert improper influence to solicit or obtain (;on:rnmenl
contracts nor holds out as being able to obtain any Government contract or contracts through
improper influence.
   "Contingent ree". as used in this clause. means any commission. !'CTCl'11Wgl'. hrokerage. or
other fee that is contingent upon the success that a person or concern has in securing a
(io\(:rnn1t'nt contract.
   "Improper inlluence," as used in this clause, means any innuence that induces or tends to
induce a Government employee or officer to give consideration or to act regarding a
Government contract on any basis other than the merits of the matter.

SECTION 5.5
ANTI-KICKBACK PROCEDURES (OCT 201 0) (FAR 52.203-7)

  (a) Definitions.
   "Kickback." as used in this clause. means any money. fee. commission. credit. gift. gratuity.
thing of value, or compensation of any kind which is provided, directly or indirectly, to any
prime Contractor, prime Contractor employee, subcontractor, or subcontractor employee for the
purpose of improperly obtaining or rewarding favorable treatment in connection with a prime
contract or in connection with a subcontract relating to a prime contract.
  "Person," as used in this clause, means a corporation, pm1nership, business association of any
kind, trust, joint-stock company, or individual.
  "Prime contract," as used in this clause, means a contract or contractual action entered into by
the United States for the purpose of obtaining supplies, materials, equipment, or services of any
kind.
  "Prime Contractor," as used in this clause, means a person who has entered into a prime
contract with the United States.
  "Prime Contractor employee," as used in this clause, means any officer, partner, employee, or
agent of a prime Contractor.
  "Subcontract," as used in this clause, means a contract or contractual action entered into by a
prime Contractor or subcontractor for the purpose of obtaining supplies, materials, equipment,
or services of any kind under a prime contract.
  "Subcontractor," as used in this clause, (1) means any person, other than the prime Contractor,
who offers to furnish or furnishes any supplies, materials, equipment, or services of any kind
under a prime contract or a subcontract entered into in connection with such prime contract, and
(2) includes any person who offers to furnish or furnishes general supplies to the prime



                                               V-2                                             (FFS-2013)
   Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19      Page 67 of 136




Contractor or (\ higher tier subcnntr,lctor.
    "Suhcontractor empIc1\cc." ,IS ll:,cd in this clallsc'. lllC,lllS ;m: olliccr. pmlner. employcc. or
agent of a subcontractor.
   (b) The Anti-Kickback Act of 1986 (41 U .S.C. 51-58) (the Act), prohibits any person from --
   (1) Providing or attempting to provide or offering to provide any kickback;
   (2) Soliciting, accepting, or attempting to accept any kickback; or
   (3) Including, directly or indirectl). the unwLlnt of any kickback in the contruct price charged
by a prime Contractor to the Unitcd Stales ur in the contract price charged by a subcontractor to
a prime Contractor or higher tier suhcontractor.
   (c)(l) The Contractor shall ha\t.' ill place dllll f'ollu\\ reasonable procedures designed to
prevent and detect possible violatiuns described in paragraph (b) of this clause in its o\vn
operations and direct business re Iat i onsh ips.
   (2) When the Contractor has reasonable grounds to believe that a violation described in
paragraph (b) of this clause may have occurred, the Contractor shall promptly report in writing
the possible violation. Such rcports shall ht.' Ill,lck to the inspector gt'neral of the contracting
agency, the head of the contracting agency if the agency does not have an inspector general, or
the Department of Justice.
   (3) 'The Contractor shall cooperate full) Vv i lh any Federal agency investigating a possible
violation described in paragraph (h) of this clause.
   (4) The Contracting Officer may (i) offset the amount of the kickback against any monies
owed by the United States under the prime contract and/or (ii) direct that the Prime Contractor
withhold, from sums owed a subcontractor under the prime contract, the amount of the
kickback. The Contracting Officer may order the monies withheld under division (c)( 4 )(ii) of
this clause be paid over to the Government unless the Government has already offset those
monies under subdivision (c)(4)(i) of this clause. In either case. the Prime Contractor shall
notify the Contracting Officer \\hcn the monies are withheld.
   (5) The Contractor agrees to incorporate the substance of this clause, including this paragraph
(c )(5) but excepting paragraph (c)( 1), in all subcontracts under this contract which exceed
$150,000.

SECTION 5.6
[RESERVED]

SECTION 5.7
AUDIT AND RECORDS-NEGOTIATION (OCT 2010) (FAR 52.215-2)

   (a) As used in this clause, "records" includes books, documents, accounting procedures and
practices, and other data, regardless of type and regardless of whether such items are in written
form, in the form of computer data, or in any other form.
   (b) Examination of costs. If this is a cost- reimbursement, incentive, time-and-materials,
labor-hour, or price redeterminable contract, or any combination of these, the Contractor shall
maintain and the Contracting Officer, or an authorized representative of the Contracting Officer,
shall have the right to examine and audit all records and other evidence sufficient to reflect
properly all costs claimed to have been incurred or anticipated to be incurred directly or
indirectly in performance of this contract. This right of examination shall include inspection at
all reasonable times of the Contractor's plants, or parts of them, engaged in performing the



                                             V-3                                          (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                 Document 1-2          Filed 11/07/19        Page 68 of 136




 cont ract.
    (c) ('C'r!i/icc/ ('()I! or J7ricin'!. duf(f Ifthc Contractor hac; hccn rcqllired tn "llhmit (cni!ll'd cost
 or pricing data in connection with any pricing action relating to this contract. the Cumracting
 Officer, or an authorized representative of the Contracting Officer, in order to eval uate the
 accuracy, completeness, and currency of the certified cost or pricing data. shall have the right to
 examine and audit all of the Contractor's records, including computations and projections,
 related lU--
    (I) The proposal for the contract, subcontract, or modification;
    (2) The discussions conducted on the proposal(s), including those related to negotiating:
    U) Pricing (If the eOJ1lI'act. subcontract. or modification: or
    (4) Performance of the contract. subcontract or modification.
    (d) ('omp!ro//er Gel1l!ro/ -- (I) The Comptroller General of the United States. or an authorized
 representative. shall have access to and the right to examine any of the Contractor's directly
 pertincnt records involving transactions related to this contract or a subcontract hereunder and to
 intcnic\\ <lily current employce rcg<lrding such transactions.
    (2) This paragraph may not be construed to require the Contractor or subcontractor to create
 or maintain any record that the Contractor or subcontractor does not maintain ill the ordinary
 course or business or pursuant to a provision of law.
    (e) Reports. If the Contractor is required to furnish cost, funding, or performance reports, the
 Contracting Officer or an authorized representative of the Contracting Officer shall have the
 right to examine and audit the supporting records and materials, for the purpose of evaluating--
 (l) The effectiveness of the Contractor's policies and procedures to produce data compatible
 with the objectives of these reports and (2) The data reported.
   (f) Availability. The Contractor shall make available at its office at all reasonable times the
 records. materials. and other evidence described in paragraphs (a). (b), (c). (d). and (e) of this
 clause. for examination. audit. or reproduction, until 3 years after final payment uncler this
 contract or for any shorter period specified in Subpart 4.7, Contractor Records Retention, of the
Federal Acquisition Regulation (FAR), or for any longer period required by statute or by other
clauses of this contract. In addition--(1) If this contract is completely or partially terminated, the
 Contractor shall make available the records relating to the work terminated until 3 years after
any resulting final termination settlement; and (2) The Contractor shall make available records
relating to appeals under the Disputes clause or to litigation or the settlement of claims arising
under or relating to this contract until such appeals, litigation, or claims are finally resolved.
   (g) The Contractor shall insert a clause containing all the terms of this clause, including this
paragraph (g), in all subcontracts under this contract that exceed the simplified acquisition
threshold and--
   (l) That are cost-reimbursement, incentive, time-and-materials, labor-hour, or price-
redeterminable type or any combination of these;
   (2) For which certified cost or pricing data are required; or
   (3) That require the subcontractor to furnish reports as discussed in paragraph (e) of this
clause.
   The clause may be altered only as necessary to identify properly the contracting parties and
the Contracting Officer under the Government prime contract.

SECTION 5.8
PRICE REDUCTION FOR DEFECTIVE CERTIFIED COST OR PRICING DATA (AUG



                                                V-4                                             (FFS-2013)
   Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19      Page 69 of 136




2(11)(FAR 5:2.215-10)

 (a) I[ any price, including profit or fee. negotiated in connection with this contracL or any cost
 reimbursable under this contract, was increased by any significant amount because (1) the
 Contractor or a subcontractor furnished certified cost or pricing data that were not complete,
 accurate, and current as certified in its Certificate of Current Cost or Pricing Data, (2) a
 subcontractor or prospectiw SUbCunLnlctur t'urnished the Cuntractor certilied cost or pricing data
 that were not complete, accurate. and current as certified in the Contractor's Certificate of
 Current Cost or Pricing Data. or (3) any of these parties furnished data of any description that
 \vere not accurate. the price or C\l~t ,,11;111 hl' rl'ciuccci accordingly ane! the contruct ~h;lil be
 modified to renect the reduction.
    (b) Any reduction in the contract price under paragraph (a) of this clause due to defective data
 from a prospective subcontractor that was not subsequently awarded the subcontract shall be
 limited to the amount, plus applicable overhead ane! proj~t markup, by which (1) the actual
 subcontract: or (2) the actu,ll C(lst 10 tlk' Cuntr'lclOr. ifthert' \\(\S no subcontract. was Jess than
 the prospective subcontract cost estimate submitted by the Contractor: provided, that the actual
 subcontract price vvas not itself affected by de recti \l: ceni Cied cost or pricing data.
    (c)(l) If the Contracting Of1lccr determines under paragraph (a) of this clause that a price or
cost reduction should be made, the Contractor agrees not to raise the following matters as a
defense:
   (i) The Contractor or subcontractor was a sole source supplier or otherwise was in a superior
 bargaining position and thus the price of the contract would not have been modified even if
accurate, complete, and current certified cost of pricing data had been submitted;
   (ii) The Contracting Officer should have known that the certified cost or pricing data in issue
were defective even though the Contractor or subcontractor took no affirmative action to bring
the character of the data to the attention of the Contracting Officer:
   (iii) The contract was based on an agreement about the total cost of the contract and there was
no agreement about the cost of each item procured under the contract; or
   (iv) The Contractor or subcontractor did not submit a Certificate of Current Cost or Pricing
Data.
   (2)(i) Except as prohibited by subdivision (c)(2)(ii) of this clause, an offset in an amount
determined appropriate by the Contracting Officer based upon the facts shall be allowed against
the amount of a contract price reduction if--
   (A) The Contractor certifies to the Contracting Officer that, to the best of the Contractor's
knowledge and belief, the Contractor is entitled to the offset in the amount requested; and
   (B) The Contractor proves that the certified cost or pricing data were available before the "as
of' date specified on its Certificate of Current Cost or Pricing Data, and that the data were not
submitted before such date,
   (ii) An offset shall not be allowed if--
   (A) The understated data were known by the Contractor to be understated before the "as of'
date specified on its Certificate of Current Cost or Pricing Data; or
   (B) The Government proves that the facts demonstrate that the contract price would not have
increased in the amount to be offset even if the available data had been submitted before the "as
of' date specified on its Certificate of Current Cost or Pricing Data.
   (d) If any reduction in the contract price under this clause reduces the price of items for which
payment was made prior to the date of the modification reflecting the price reduction, the



                                             v-s                                           (FFS-2013)
     Case 2:19-cv-13497-SM-MBN                   Document 1-2            Filed 11/07/19         Page 70 of 136




 Contr~lCt()r shJl1 be liahle to ilnd shJII P(lY the United States at the time sllch (l\Crl',lYl1lent is
 n·'liJid--
   ( I) Interest compounded daily, as required by 26 U .S.C 6622, on the amount               suchor
 overpayment to be computed from the date(s) of overpayment to the Contractor to the date the
 Government is repaid by the Contractor at the applicable underpayment rate effective for each
 quarter prescribed by the Secretary of the Treasury under 26 U.s.c. 6621 (a)(2); and
          (2) f\ penalty equal to the amount orthe overpayment, if the Contractor ur :>ubcuntractor
kno\vingly submitted certified cost or pricing data which were incomplete, inaccurate. or
noncurrent.

SECTIO~ 5.9
rRESERVEDj

SECTION S.IO
SLBCO\,TR/\CTOR CTRTIFIED COST OR PRICING f)/\T/\ (C)CT ::2() 1()) (I /\ R )::2::21 )-1::2)

  (a) Before awarding any subcontract expected to exceed the threshold for suhmissilln of
certified cost or pricing data at FAR 15.403-4, on the date of agrecmcnt on price or the date of
award, whichever is later; or before pricing any subcontract modification involving a pricing
adjustment expected to exceed the threshold for submission of certified cost or pricing data at
FAR 15.403-4. the Contractor shall require the subcontractor to submit certified cost or pricing
data (actually or by specific identification in writing), unless an exception under FAR 15.403-1
applies.
  (b) The Contractor shall require the subcontractor to certify in substantially the fonn prescribed
in FAR 15.406-2 that. to the best of its knowledge and belief the data submitted under paragraph
(a) of this clause were accurate. complete. and current as of the date ofagreemcnt on the
negotiated price of the subcontract or subcontract modification.
  (c) In each subcontract that exceeds the threshold for submission of ceJ1ified cost or pricing
data at FAR 15.403-4, when entered into, the Contractor shall insert either --
  (1) The substance of this clause, including this paragraph (c), if paragraph (a) of this clause
requires submission of certified cost or pricing data for the subcontract; or
  (2) The substance of the clause at FAR 52.215-13, Subcontractor CeJ1ified Cost or Pricing
Data - Modifications.

SECTION 5.11
[RESERVED]

SECTION 5.12
[RESERVED]

SECTION 5.13
[RESERVED]

SECTION 5.14
UTILIZATION OF SMALL BUSINESS CONCERNS i (JAN 2011) (FAR 52.219-8)

I Section 5.14 only applies to plans participating in the small business pilot (none are experience-rated HMOs).




                                                    V-6                                                (FFS-2013)
    Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19        Page 71 of 136




           (a) It is the polic: of the lnitecl StZltes th:n small business concerns. veteran-()\vnecl small
 business concerns, service-disabled veteran-o\vned small business concerns, HUBZone small
 business concerns, small disadvantaged business concerns, and women-owned small business
 concerns shall have the maximum practicable opportunity to participate in performing contracts
 let by any Federal agency, including contracts and subcontracts for subsystems, assemblies,
 components, and related services fur major s) ::,ten1:>. It is further the policy of the Lnited Stelles
 that its prime contractors establish procedures to ensure the timely payment of amounts due
 pursuant to the terms of their subcontracts w'ith small business concerns, veteran-owned small
 business concerns. service-disabled \etlT~lJ1-()\\ned small business concerns. Hll l3Zolle small
 business concerns, small disadvantaged business concerns, and women-owned small business
 concerns.
           (b) The Contractor hereby agrees to carry out this policy in the awarding of subcontracts
 to the fullest extent consistent with efficient contract performance. The Contractor further agrees
 to cooperate in any studies or surveys ,15 may be conducted by the United States Small Business
 Administration or the awarding agency of" the Linited States as may be necessary to determine the
 extent of the Contractor's compliance with this clause.
           (c) Dejiniliol1.l. As used in this contract--
           "HUBZone small business concern" means a small business concern that appears on the
 List of Qualified HUBZone Small Business Concerns maintained by the Small Business
 Administration.
           "Service-disabled veteran-owned small business concern"--
          (1) Means a small business concern--
          (i) Not less than 51 percent of which is owned by one or more service-disabled veterans
or, in the case of any publicly o'vvned business, not less than 51 percent of the stock of yvhich is
owned by one or more service-disabled veterans: and
          (ii) The management and daily business operations of which are controlled by one or
more service-disabled veterans or, in the case of a veteran with permanent and severe disability,
the spouse or permanent caregiver of such veteran.
          (2) Service-disabled veteran means a veteran, as defined in 38 U.S.c. 101(2), with a
disability that is service-connected, as defined in 38 U.S.c. 101(16).
          "Small business concern" means a small business as defined pursuant to Section 3 of the
Small Business Act and relevant regulations promulgated pursuant thereto.
          "Small disadvantaged business concern" means a small business concern that represents,
as part of its offer that--
          (1 )(i) It has received ceI1i fication as a small disadvantaged business concern consistent
with 13 CFR part 124, Subpart B;
         (1 )(ii) No material change in disadvantaged ownership and control has occuned since its
certification;
         (l )(iii) Where the concern is owned by one or more individuals, the net worth of each
individual upon whom the certification is based does not exceed $750,000 after taking into
account the applicable exclusions set f011h at 13 CFR 124.1 04( c )(2); and
         (1 )(iv) It is identified, on the date of its representation, as a certified small disadvantaged
business in the CCR Dynamic Small Business Search database maintained by the Small Business
Administration, or




                                               V-7                                            (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                Document 1-2         Filed 11/07/19       Page 72 of 136




          (2) It represents in writing that it qualifics as a smelll disadvantagcd busincss (SDB) for
all' Federal suhcontracting prograJll. ,1Ilel belie\cs in good I'aith that it i~ owncd ,1I1d controlled hy
one or more socially and economically disadvantaged individuals and mcets the SUB eligibility
criteria of 13 CFR 124.1002.
          "Veteran-owned small business concern" means a small business concern--
          (J) Not less than 51 percent of which is owned by one or more veterans (as defined at 38
 L.S.C. IOIC2)) or, in the case or any publicly owned business, not less than 51 percent ufthe
stock of which is owned by one or more veterans; and
         (2) The management and daily business operations of which are controlled hy one or
morc \cterans.
          "Women-owned small business concern" means a small business concern--
         (1) That is at least 51 percent owned by one or more vvomen. 0)", in the case of any
publicly owned business, at least 51 percent of the stock of which is owned by one or more
\vomen; and
         (2) \Vhose management and daily business operations are controlled by onc or more
women.
         (d)(1) Contractors acting in good faith may rely on vvritten representations by their
subcontractors regarding their status as a small business concern, a veteran-ovvned small business
concern, a service-disabled veteran-owned small business concern, a HUB Zone small business
concern, a small disadvantaged business concern, or a women-owned small business concern.
         (2) The Contractor shall confirm that a subcontractor representing itself as a HUBZone
small business concern is certified by SBA as a HUBZone small business concern by accessing
the Central Contractor Registration (CCR) database or by contacting the SBA. Options for
contacting the SBA include-
         (i) HUBZone small business database search application web page
at http://clsbs.sba.gov/clsbs/search/clsp_searchhuhzone.cfl11: or http://v'iv·,r\\.sba.gov/hulEone:
         (ii) In writing to the Director/HUB, U.S. Small Business Administration, 409 3rd Street,
SW., Washington, DC 20416; or
         (iii) The SBA HUB Zone Help Desk at hubzone@sba.gov.

SECTION 5.15
[RESERVED]

SECTION 5.16
[RESERVED]

SECTION 5.17
CONVICT LABOR (JUN 2003) (FAR 52.222-3)

       (a) Except as provided in paragraph (b) of this clause, the Contractor shall not employ in
the performance of this contract any person undergoing a sentence of imprisonment imposed by
any court of a State, the District of Columbia, Puerto Rico, the Northern Mariana Islands,
American Samoa, Guam, or the U.S. Virgin Islands.
        (b) The Contractor is not prohibited from employing persons-
        (1) On parole or probation to work at paid employment during the term of their sentence;
        (2) Who have been pardoned or who have served their terms; or



                                              V-8                                            (FFS-2013)
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19      Page 73 of 136




         (3) Confined for \iobtion nfthe Icms 01' any of the SUltes. the District of Columbia.
Puerto Rico. the Northern VLlrian,l Isl'lIlds. ;\l1lcrican Samoa. Guam. or the U.s. Vir~in Isl,l11c\s
who are authorized to work at paid cmployment in the community under the laV\s of such
jurisdiction, if-
        (i) The worker is paid or is in an approved vvork training program on a voluntary basis;
        (ii) Representatives of local union central bodies or similar labor union organizations
have been consulted;
        (iii) Such paid employment will not result in the displacement of employed \\orkers, or
be applied in skills. crafts. or trades in which there is a surplus of available gainful labor in the
locality, or impair e\:isting contracts for seniccs:
        (iv) The rates of pay and other conditions of employment will not be less than those paid
or provided for work of a similar naturc in the locality in which the work is being performed; and
        (v) The Attorney General of the United States has certifIed that the work-release laws or
regulations of the jurisdiction involved are in conformity with the requirements of Executive
Order 11755. as amended by Ewcutivc Orders J 2608 and 12943.

SECTION 5.18
CONTRACT V/ORK HOURS AI\O SAIL}Y STAl\DARDS ACT -- OVERTIME COMPEN-
SATION (JUL 2005) (FAR 52.222-4)

       (a) Overtime requiremenrs. No Contractor or subcontractor employing laborers or
 mechanics (see Federal Acquisition Regulation 22.300) shall require or permit them to work over
 40 hours in any workweek unless they are paid at least 1 and I;S times the basic rate of pay for
each hour worked over 40 hours.
   (b) Violation: liabiliryfhr unpaid wages: liquidated damages. The responsible Contractor and
subcontractor are liable for unpaid \vages if they violate the terms in paragraph (a) of this clause.
In addition, the Contractor and subcontractor are liable for liquidated damages payable to the
Government The Contracting Officer will assess liquidated damages at the rate of $1 0 per
affected employee for each calendar day on which the employer required or permitted the
employee to work in excess of the standard workweek of 40 hours without paying overtime
wages required by the Contract Work Hours and Safety Standards Act.
  (c) Withholdingfor unpaid wages and liquidated damages. The Contracting Officer will
withhold from payments due under the contract sufficient funds required to satisfy any
Contractor or subcontractor liabilities for unpaid wages and liquidated damages. If amounts
withheld under the contract are insufficient to satisfy Contractor or subcontractor liabilities, the
Contracting Officer will withhold payments from other Federal or federally assisted contracts
held by the same Contractor that are subject to the Contract Work Hours and Safety Standards
Act
  (d) Payrolls and basic records. (1) The Contractor and its subcontractors shall maintain
payrolls and basic payroll records for all laborers and mechanics working on the contract during
the contract and shall make them available to the Government until 3 years after contract
completion. The records shall contain the name and address of each employee, social security
number, labor classifications, hourly rates of wages paid, daily and weekly number of hours
worked, deductions made, and actual wages paid. The records need not duplicate those required
for construction work by Department of Labor regulations at 29 CFR 5.5(a)(3) implementing the
Davis-Bacon Act.



                                            V-9                                          (FFS-2013)
    Case 2:19-cv-13497-SM-MBN                Document 1-2          Filed 11/07/19        Page 74 of 136




  (:2) The contractor and its su bcont rdctors shall a II ow iluthori 7ee! represent{lt i\es or the Cont ract-
in~ Officer or the Department of Lahor to inspect. cop~. or transcribc rccords Illainwined under
paragraph (d)( I) of this clause. The Contractor or subcontractor also shall allow authorized
representatives of the Contracting Officer or Department of Labor to interview employees in the
workplace during working hours.
   (e) Subcontracts. The Contractor shall insert the provisions set forth in paragraphs (a) through
(d) of this clause in subcontracts that may require or invulve the emplu)l1lel1l ur 1Llburer:-:. and
mechanics and require subcontractors to include these provisions in any such 100\er tier
subcontracts. The Contractor shall be responsible for compliance by any subcontractor or lower-
tiLT subcontractor \\ith the prO\isions set forth in paragraphs (~l) through (el) of this claus,-'.

SECTION 5.19
EQUAL OPPORTUNITY (MAR 2007) (fAR 52.222-26)

        (a) Definition. "United States:' as used in this clause. means the 50 Swtes. the District of
 Columbia. Puerto Rico, the Northern Mariana Islands. American Samoa, Guam. the U.S. Virgin
 Islands. and Wake Island.
       (b)(J) If, during any 12-111onth period (including the 12 months preceding the ([vvard of this
 contract). the Contractor has been or is awarded nonexempt Federal contracts and/or
 subcontracts that have an aggregate value in excess of $1 0,000, the Contractor shall comply with
 this clause, except for work performed outside the United States by employees vvho were not
 recruited within the United States. Upon request, the Contractor shall provide information
 necessary to determine the applicability of this clause.
       (2) If the Contractor is a religious corporation, association, educational institution, or
 society, the requirements of this clause do not apply with respect to the employment of
individuals of a particular religion to perform \vork connected with the carrying on of the
Contractor's activities (41 CFR 60-1.5).
    (c)( I) The Contractor shall not discriminate against any employee or applicant for
employment because of race, color, religion, sex, or national origin. However, it shall not be a
violation of this clause for the Contractor to extend a publicly announced preference in
employment to Indians living on or near an Indian reservation, in connection with employment
opportunities on or near an Indian reservation, as pemlitted by 41 CFR 60-1.5.
       (2) The Contractor shall take affirmative action to ensure that applicants are employed, and
that employees are treated during employment, without regard to their race, color, religion, sex,
or national origin. This shall include, but not be limited to-
          (i) Employment;
          (ii) Upgrading;
          (iii) Demotion;
          (iv) Transfer;
          (v) Recruitment or recruitment advertising;
          (vi) Layoff or termination;
          (vii) Rates of payor other forms of compensation; and
          (viii) Selection for training, including apprenticeship.
      (3) The Contractor shall post in conspicuous places available to employees and applicants
for employment the notices to be provided by the Contracting Officer that explain this clause.




                                               V-IO                                              (FFS-2013)
    Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19       Page 75 of 136




       (4) The Contractor shall. in all solieit,llions or advertisements for employees "I,lced hy or on
 behall'ofthe Contractor. state th<lt dll qu,lliflcd applicants will receive consicierCllinn I(J]"
 employment without regard to race. color. religion, sex, or national origin.
       (5) The Contractor shall send, to each labor union or representative of workers with which it
 has a collective bargaining agreement or other contract or understanding, the notice to be
 provided by the Contracting Officer advising the labor union or workers' representative of the
 Contractor's commitment:-, under this clause. and post cupies of the notice in cunspicLluu~ places
 available to employees and applicants for employment.
      (6) The Contractor shall comply with Executive Order 11246, as amended. and the rules,
 regulations. and orclns or the Secr\..'l,lr: or Labor.
       (7) The Contractor shall furnish 10 the contracting agency all information required by
 Executive Order 11246. as amended. and by the rules. regulations. and orders of the Secretary of
 Labor. The Contractor shall also tile Standard Form J 00 (££0-1), or any successor form, as
prescribed in 41 CFR Part 60-1. Unless the Contractor has filed within the 12 months preceding
the date of contract a\\clrd. the Contractor shall. \\ithin 30 days after contract a\\arcl. apply to
 either the regional Office of Federal Contract Compliance Programs (OFCCP) or the local otTiee
ofthc Equal Employment Opportunity Commission 1'or the necessary forms.
      (8) The Contractor shall permit access to its premises, during normal business hours, by the
contracting agency or the OFCCP for the purpose of conducting on-site compliance evaluations
and complaint investigations. The Contractor shall permit the Government to inspect and copy
any books, accounts, records (including computerized records), and other material that may be
relevant to the matter under investigation and pertinent to compliance with Executive
Order 11246, as amended, and rules and regulations that implement the Executive Order.
      (9) If the OFCCP determines that the Contractor is not in compliance with this clause or any
rule, regulation, or order of the Secretary of LaboL this contract may be canceled, terminated, or
suspended in whole or in pan and the Contractor may be declared ineligible for further
Government contracts, under the procedures authorized in Executive Order 11246, as amended.
In addition, sanctions may be imposed and remedies invoked against the Contractor as provided
in Executive Order 11246, as amended; in the rules, regulations, and orders of the Secretary of
Labor; or as otherwise provided by law.
      (10) The Contractor shall include the terms and conditions of this clause in every
subcontract or purchase order that is not exempted by the rules, regulations, or orders of the
Secretary of Labor issued under Executive Order 11246, as amended, so that these tern1S and
conditions will be binding upon each subcontractor or vendor.
      (11) The Contractor shall take such action with respect to any subcontract or purchase order
as the Contracting Officer may direct as a means of enforcing these terms and conditions,
including sanctions for noncompliance, provided, that if the Contractor becomes involved in, or
is threatened with, litigation with a subcontractor or vendor as a result of any direction, the
Contractor may request the United States to enter into the litigation to protect the interests of the
United States.
   (d) Notwithstanding any other clause in this contract, disputes relative to this clause will be
governed by the procedures in 41 CFR 60-1.1.

SECTION 5.20
[RESERVED]

SECTION 5.21


                                             V-II                                         (FFS-2013)
    Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19       Page 76 of 136




NOTIFrCI\ TION OF vrs.1\ DFNf.td. (J{ 1l\J :20(3) (FAR 5:2.:222-:29)

  It is (1 violation of Executive Order J 1246 for (1 Contractor to refuse [0 employ any applicant or
not to assign any person hired in the United States, Puerto Rico, the Northern Mariana Islands,
American Samoa, Guam, the U.S. Virgin Islands, or Wake Island on the basis that the
individual's race, color, religion, sex, or national origin is not compatible with the policies of the
country where the \'vork is to be performed or for whom the \\urk will be pcrCurmed (-+ 1 lFR 60-
1.10). The Contractor shall notify the U.S. Department of State, Assistant Secretary, Bureau of
Political-Military Affairs (PM). 2201 C Street NW. Room 6212. Washington. DC 20520. and the
l.S. Department nf Labor. Deput) Assistant Secretary for Fcder~li C()l1lr~ll'[ C1111pli~1Ill'c. \vhen it
has knmvledge of any employee or potential employee being denied an entry visa to a country
\vhere this contract will be performed. and it believes the denial is attributable 10 the race. color.
religion, sex, or national origin of the employee or potential employee.

SECTION 5.22
EQUAL OPPORTUNITY FOR VETERANS (SEP 2010) (FA}~ 5:2.2:22-:;5)

         (a) Dejinitions. As L1sed in this claLlsc-
   All employment openings means all positions except executive and senior management. those
positions that will be filled from within the Contractor's organization, and positions lasting 3
days or less. This term includes full-time employment, temporary employment of more than 3
days duration, and part-time employment.
   Armed Forces service medal veteran means any veteran who, while serving on active duty in
the U.S. military, ground, naval, or air service, participated in a United States military operation
for which an Armed Forces service medal was awarded pursuant to Executive Order 12985 (61
FR 1209).
   Disabled veteran means-
        (1) A veteran of the U.S. military, ground, naval, or air service, who is entitled to
compensation (or who but for the receipt of military retired pay would be entitled to
compensation) under laws administered by the Secretary of Veterans Affairs; or
        (2) A person who was discharged or released from active duty because of a service-
connected disability.
   Executive and senior management means-
        (1) Any employee-
        (i) Compensated on a salary basis at a rate of not less than $455 per week (or $380 per
week, if employed in American Samoa by employers other than the Federal Government),
exclusive of board, lodging or other facilities;
        (ii) Whose primary duty consists of the management of the enterprise in which the
individual is employed or of a customarily recognized department or subdivision thereof;
        (iii) Who customarily and regularly directs the work of two or more other employees; and
        (iv) Who has the authority to hire or fire other employees or whose suggestions and
recommendations as to the hiring or firing and as to the advancement and promotion or any other
change of status of other employees will be given particular weight; or
        (2) Any employee who owns at least a bona fide 20-percent equity interest in the
enterprise in which the employee is employed, regardless of whether the business is a corporate
or other type of organization, and who is actively engaged in its management.



                                             V-12                                          (FFS-2013)
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19       Page 77 of 136




   ()rhfr prorfered \'crcml1mcans ZI \eterZlll who served on active duty in the ('.S. militnry.
ground. naval. or air sen'icl'. dlll'ing ~1 \\(11' or in a Glmpaign or expedition for which ~1 clmpaign
badge has been authorized under the 1,-1\\s administered by the Department of Defense.
    Positions that 'will befjlledfj'o111 lvirhin rhe Contractor's organization means employment
openings for which the Contractor will give no consideration to persons outsidc the Contractor's
organization (including any affiliates, subsidiaries, and parent companies) and includes any
openings the Contractor prupo:-.e:-. tu JIli ['rum regularly established" recall" lists. The exception
does not apply to a particular opening once em employer decides to consider applicants outside of
its organization.
    QUi/ii/jed di.l(thlcc/ \'CIl'nlll llledlb '-1 diS(lhlcd \ctcran \\ho has the ability to perform the
essential functions of the employment positions with or without reasonable accommodation.
    Recent~v separated vcrerol1 means any \'eteran during the three-year perioe! heginning on the
date of such veteran's discharge or release from active duty in the U.S. military, ground, naval or
  .      .
alr servIce.
        (li) GCllcrul
         (I) The ContraClor shall 110t discriminate against any employee or applicant for
 employment because the incli\idual is a disabled \eteran, recently separated \cteran. other
protected veterans, or Armed Forces service medal veteran, regarding any position for vvhich the
employee or applicant for employment is qualified. The Contractor shall take affirmative action
to employ, advance in employment, and otherwise treat qualified individuals, including qualified
disabled veterans, without discrimination based upon their status as a disabled veteran, recently
separated veteran, Armed Forces service medal veteran, and other protected veteran in all
employment practices including the following:
         (i) Recruitment, adveliising, and job application procedures.
         (ii) Hiring, upgrading, promotion, a\vard of tenure, demotion, transfer, layoff.
termination. right of return from layotTancl rehiring.
         (iii) Rate of payor any other form of compensation and changes in compensation.
        (iv) Job assignments, job classifications, organizational structures, position descriptions,
lines of progression, and seniority lists.
        (v) Leaves of absence, sick leave, or any other leave.
        (vi) Fringe benefits available by virtue of employment, whether or not administered by
the Contractor.
        (vii) Selection and financial support for training, including apprenticeship, and on the job
training under 38 U.S.c. 3687, professional meetings, conferences, and other related activities,
and selection for leaves of absence to pursue training.
        (viii) Activities sponsored by the Contractor including social or recreational programs.
        (ix) Any other term, condition, or privilege of employment.
        (2) The Contractor shall comply with the rules, regulations, and relevant orders of the
Secretary of Labor issued under the Vietnam Era Veterans' Readjustment Assistance Act of
1972 (the Act), as amended (38 U.S.C. 4211 and 4212).
        (3) The Department of Labor's regulations require contractors with 50 or more
employees and a contract of $100,000 or more to have an affirmative action program for
veterans. See 41 CFR part 60-300, subpart C.
        (c) Listing openings.
        (1) The Contractor shall immediately list all employment openings that exist at the time
of the execution of this contract and those which occur during the performance of this contract,



                                            V-13                                          (FFS-2013)
   Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19      Page 78 of 136




 including those not generated by this contract. and including those occurring ,11 ,111 establishment
 of the Contractor other than the one where the contract is heing performed. hut I..'xcluding those
 of independently operated corporate aJTiliates, at an appropriate employment service delivery
 system where the opening occurs. Listing employment openings with the State workforce agency
job bank or with the local employment service delivery system where the opening occurs shall
 satisfy the requirement to list jobs with the appropriate employment service delivery system.
          (2) The Contractor shall make the listing of employment openings \\ith the appropriate
    employment service delivery system at least concurrently with using any other recruitment
 source or effort and shall involve the normal obligations of placing a bona fide job order,
 including accepting referrals of \eterans and nUl1\c!erans. This listing of cll1pl()Yll1ent openings
 does not require hiring any particular job applicant or hiring from any particular group of job
 applicants and is not intended to relieve the Contractor from any requirements of Executive
orders or regulations concerning nondiscrimination in employment.
          (3) Whenever the Contractor becomes contractually bound to the listing terms of this
clause. it shall advise the State \vorkforce agency in each State \\here it hl!" eswhlishments urthe
name and location of each hiring location in the State. As long as the Contractor is contractually
 bound to these terms ane! has so adviseclthe State agency. it need not advise the State agency of
subsequent contracts. The Contractor may advise the State agency \vhen it is no longer bound by
this contract clause.
          (d) Applicability. This clause does not apply to the listing of employment openings that
occur and are filled outside the 50 States, the District of Columbia, Puerto Rico, the Northern
Mariana Islands, American Samoa, Guam, the U.S. Virgin Islands, and Wake Island.
         (e) Postings. (1) The Contractor shall post employment notices in conspicuous places that
are available to employees and applicants for employment.
         (2) The employment notices shall-
         (i) State the rights of applicants and employees as \\iell as the Contractor's obligation
under the law to take affirmative action to employ and advance in employment qualified
employees and applicants who are disabled veterans, recently separated veterans, Armed Forces
service medal veterans, and other protected veterans; and
         (ii) Be in a fonn prescribed by the Director, Office of Federal Contract Compliance
Programs, and provided by or through the Contracting Officer.
         (3) The Contractor shall ensure that applicants or employees who are disabled veterans
are infonned of the contents of the notice (e.g, the Contractor may have the notice read to a
visually disabled veteran, or may lower the posted notice so that it can be read by a person in a
wheelchair).
         (4) The Contractor shall notify each labor union or representative of workers with which
it has a collective bargaining agreement, or other contract understanding, that the Contractor is
bound by the tem1S of the Act and is committed to take affirn1ative action to employ, and
advance in employment, qualified disabled veterans, recently separated veterans, other protected
veterans, and Anned Forces service medal veterans.
         (f) Noncompliance. If the Contractor does not comply with the requirements of this
clause, the Government may take appropriate actions under the rules, regulations, and relevant
orders of the Secretary of Labor. This includes implementing any sanctions imposed on a
contractor by the Department of Labor for violations of this clause (52.222-35, Equal
Opportunity for Veterans). These sanctions (see 41 CFR 60-300.66) may include-
         (1) Withholding progress payments;



                                            V-14                                         (FFS-2013)
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19       Page 79 of 136




       (2) Termination or suspcnsion of the contract: or
       (3) Dcb;mllent ()f tilt' contr(lctor.
       (g) Subco/llrucls. The Contractor shall insert the terms of this clause in subcontracts of
$100,000 or more unless exempted by rules, regulations, or orders of the Secretary of Labor. The
Contractor shall act as specified by the Director, Office of Federal Contract Compliance
Programs, to enforce the terms. including action for noncompliance.

SECTION 5.23
AFFIRMATIVE ACTION FOR WORKERS WITH DISABILITIES (OCT 20] 0) (FAR 52.222-
36)

    (a) (Jenera1. (1) Regarding (lny position I'or "vhich the employee or applicant lor employment
 is qualified, the Contractor shall not discriminate against any employee or applicant because of
 physical or mental disability. The Contractor agrees to take affirmative action to employ,
 advance in employmcnt. ([nd otherwise treat qualified individuals \\ ith disabilities without
 discrimination based upon their physical or mental disabilities in all employment practices such
 as -
    (i) Recruitment. Advertising, and job application procedures;
    (ii) Hiring, upgrading, promotion. award of tenure, demotion, transfer, layoff tennination,
 right of return from layoff, and rehiring;
    (iii) Rates of pay or any other form of compensation and changes in compensation;
    (iv) Job assignments. job classifications, organizational structures, position descriptions, lines
of progression, and seniority lists;
   (v) Leaves of absence, sick leave, or any other leave;
   (vi) Fringe benefits available by virtue of employment whether or not administered by the
Contractor:
   (vii) Selection and financial support for training, including apprenticeships, professional
meetings, conferences, and other related activities, and selection for leaves of absence to pursue
training
   (viii) Activities sponsored by the Contractor, including social or recreational programs; and
   (ix) Any other term, condition, or privilege of employment.
   (2) The Contractor agrees to comply with the rules, regulations, and relevant orders of the
Secretary of Labor (Secretary) issued under the Rehabilitation Act of 1973 (29 U.S.c. 793) (the
Act), as amended.
   (b) Postings. (1) The Contractor agrees to post employment notices stating (i) the Contractor's
obligation under the law to take affirmative action to employ and advance in employment
qualified individuals with disabilities; and (ii) the rights of applicants and employees.
   (2) These notices shall be posted in conspicuous places that are available to employees and
applicants for employment. The Contractor shall ensure that applicants and employees with
disabilities are infonned of the contents of the notice (e.g., the Contractor may have the notice
read to a visually disabled individual, or may lower the posted notice so that it might be read by a
person in a wheelchair). The notices shall be in a form prescribed by the Deputy Assistant
Secretary for Federal Contract Compliance, of the U.S. Department of Labor (Deputy Assistant
Secretary), and shall be provided by or through the Contracting Officer.
   (3) The Contractor shall notify each labor union or representative of workers with which it has
a collective bargaining agreement or other contract understanding, that the Contractor is bound



                                            V-15                                          (FFS-2013)
    Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19      Page 80 of 136




hy the terms of Section 50] of the /\ct ~lnc\ is committed to take ,rnirmatin' ~tction to employ. and
ac\vance in emplmment. CJualilieci individuals \vith ph:siccll or menutl ciis'lhilities.
  (c) Noncompliance. If the Contractor does not comply 'vvith the requirements of this clause,
appropriate actions may be taken under the rules, regulations, and relevant orders of the
Secretary issued pursuant to the Act
  (d) Subcontracts. The Contractor shall include the terms of this clause in every subcontract or
purchase order in excess or ~ 15,(J(J(j unless exempted b) ruics, regulatiuns. ur orders uf the
Secretary. The Contractor shall act as specified by the Deputy Assistant Secretary to enforce the
terms. including action for noncompliance.

SECTION 5.24
[RESERVED1

SECTION 5.25
DRl;Ci-FREF \\'ORKPLACE (MAY 2001) (fAR 52.22J-())

   (a) Definitions. As used in this clause.
   "Controlled substance" means a controlled substance in schedules I through V of section 202
of the Controlled Substances Act (21 U.S.c. 812) and as further defined in regulation at 21 CFR
 1308.11-1308.15.
   "Conviction" means a finding of guilt (including a plea of nolo contendere) or imposition of
sentence, or both, by any judicial body charged with the responsibility to determine violations of
the federal or State criminal drug statutes.
   "Criminal drug statute" means a Federal or non-Federal criminal statute involving the
manufacture, distribution, dispensing, possession or use of any controlled substance.
   "Drug-free 'vvorkplace" means the site(s) for the performance ofvvork done 0:\/ the Contractor in
connection with a specific contract where employees of the Contractor are prohibited from
engaging in the unlawful manufacture, distribution, dispensing, possession, or use of a controlled
substance.
  "Employee" means an employee of a Contractor directly engaged in the performance of work
under a Government contract. Directly engaged is defined to include all direct cost employees
and any other Contractor employee who has other than a minimal impact or involvement in
contract performance.
  "Individual" means an offeror/contractor that has no more than one employee including the
offeror/contractor.
  (b) The Contractor, if other than an individual, shall - within 30 days after award (unless a
longer period is agreed to in writing for contracts of 30 days or more performance duration); or
as soon as possible for contracts of less than 30 days perforn1ance duration -
  (J) Publish a statement notifying its employees that the unlawful manufacture, distribution,
dispensing, possession, or use of a control1ed substance is prohibited in the contractor's
workplace and specifying the actions that wil1 be taken against employees for violations of such
prohibition;
  (2) Establish an ongoing drug-free awareness program to inform such employees about-
  (i) The dangers of drug abuse in the workplace;
  (ii) The contractor's policy of maintaining a drug-free workplace;
  (iii) Any available drug counseling, rehabilitation, and employee assistance programs; and



                                           V-J6                                          (ffS-20l3)
   Case 2:19-cv-13497-SM-MBN             Document 1-2       Filed 11/07/19     Page 81 of 136




   (iv) The penalties that ma: hl' imposec\ upon employees for drug abuse viol,)tinns occurring in
the \\orkplace.
   (3) Provide all employees engaged in performance of the contract \.vith a copy o1'thc statement
required by subparagraph (b)( 1) of this clause;
   (4) Notify such employees in writing in the statement required by subparagraph (b)(1) of this
clause that, as a condition of continued employment on this contract, the employee will -
   (i) Abide by the terms uJ the ~lalemel1l; and
   (ii) Notify the cmployer in writing of the employee's conviction under a criminal drug statute
for a violation occurring in the workplace no later than 5 days after such conviction.
   (5) ?-0otify lhe Contrilcling Officer in \\ riling \\ilhin 10 days after recei\ing notice under
subdivision (b)(4)(ii) of this clause, from an employee or otherwise receiving actual notice of
such conviction. The notice shall include the position title of the employee:
   (6) Within 30 days after receiving notice under subdivision (b)(4)(ii) of this clause o1'a
conviction, take one of the following actions vvith respect to any employee who is convicted of a
drug abuse \'iolatioll occurring in the workplace:
   (i) Taking appropriate personnel action against such employee. up to and including
termination: or
  (ii) Require such empluyee to satisfactorily participate in a drug abuse assistance ur rehabil-
itation program approved for such purposes by a Federal, State, or local health, law enforcement
or other appropriate agency; and
  (7) Make a good faith efTort to maintain a drug-free workplace through implementation of
subparagraphs (b)(1) through (b)( 6) of this clause.
  (c) The Contractor. ifan individual, agrees by award of the contract or acceptance ofa
purchase order, not to engage in the unlawful manufacture, distribution, dispensing, possession,
or use of a controlled substance while performing this contract.
  (d) In addition to other remedies available to the Government. the Contractor's f~lilLlre to
comply with the requirements of paragraphs (b) or (c) of this clause may, pursuant to FAR
23.506, render the Contractor subject to suspension of contract payments, termination of the
contract for default, and suspension or debarment.

SECTION 5.26
[RESERVED]

SECTION 5.27
FEDERAL, STATE, AND LOCAL TAXES (STATE AND LOCAL ADJUSTMENTS) (APR
2003) (FAR 52.229-4)

  (a) As used in this clause-
  "After-imposed tax" means any new or increased Federal, State, or local tax or duty, or tax that
was excluded on the contract date but whose exclusion was later revoked or amount of
exemption reduced during the contract period, other than an excepted tax, on the transactions or
property covered by this contract that the Contractor is required to payor bear as the result of
legislative, judicial, or administrative action taking effect after the contract date.
  "After-relieved tax" means any amount of Federal, State, or local tax or duty, other than an
excepted tax, that would otherwise have been payable on the transactions or property covered by
this contract, but which the Contractor is not required to payor bear, or for which the Contractor



                                          V-I7                                        (FFS-2013)
    Case 2:19-cv-13497-SM-MBN                 Document 1-2          Filed 11/07/19        Page 82 of 136




  obtains a refund or dr(l\!,nack. (lS the rcsult of legislative. judicial. or ;\dlllinistr;lli\c action taking
 e1lect ;\I"tcr the contr(lct dilte.
     "All applicable Federal, State, and local taxes and duties" means all ta\es and duties. in effect
 on the contract date, that the taxing authority is imposing and collecting on the transactions or
 property covered by this contract.
     "Contract date" means the etTective date of this contract and, for any modification to this
 CO!1lraCL the dTecti\e date of the modification.
     "Excepted tax" means social security or other employment taxes, net income and fj'anchise
 taxes. excess profits taxes, capital stock taxes. transportation taxes. unemployment compensation
 taxes. and property taxes. ''Excepted ta\" does not include gross incollll' Ll\eS k\ied 011 or
 measured by sales or receipts from sales, property taxes assessed on completed supplies covered
 by this contract. or any tax assessed on the Contractor's possession of. interest in. or use of
 property, title to which is in the Government.
   "Local taxes" includes taxes imposed by a possession or territory or the Lnited States, Puerto
 Rico, or the \!orthern :v1ariana Islands. if the contract is performed \\holl:- or partly in any of
 those areas.
    (b) Unless Olherv\ise provided in this contract the contract price includes all applicable
 Federal, Stale, and local taxes and duties.
    (c) The contract price shall be increased by the amount of any after-imposed tax, or of any tax
 or duty specifically excluded from the contract price by a term or condition of this contract that
 the Contractor is required to payor bear, including any interest or penalty, if the Contractor
states in writing that the contract price does not include any contingency for such tax and if
 liability for such tax, interest, or penalty was not incurred through the Contractor's fault,
negligence, or failure to follow instructions of the Contracting Officer.
    (d) The contract price shall be decreased by the amount of any after-relieved tax. The Govern-
ment shall be entitled to interest received by the Contractor incident to a refund of taxes to the
extent that such interest was earned after the Contractor was paid by the Government for such
taxes. The Government shall be entitled to repayment of any penalty refunded to the Contractor
to the extent that the penalty was paid by the Government.
   (e) The contract price shall be decreased by the amount of any Federal, State, or local tax, other
than an excepted tax, that was included in the contract price and that the Contractor is required to
payor bear, or does not obtain a refund of, through the Contractor's fault, negligence, or failure
to follow instructions of the Contracting Officer.
   (f) No adjustment shall be made in the contract price under this clause unless the amount of the
adjustment exceeds $250.
   (g) The Contractor shall promptly notify the Contracting Officer of all matters relating to
Federal, State, and local taxes and duties that reasonably may be expected to result in either an
increase or decrease in the contract price and shall take appropriate action as the Contracting
Officer directs. The contract price shall be equitably adjusted to cover the costs of action taken
by the Contractor at the direction of the Contracting Officer, including any interest, penalty, and
reasonable attorneys' fees.
   (h) The Government shall furnish evidence appropriate to establish exemption from any
Federal, State, or local tax when-
          (1) The Contractor requests such exemption and states in writing that it applies to a tax
excluded from the contract price; and
          (2) A reasonable basis exists to sustain the exemption.



                                                V-18                                             (FFS-20 13)
    Case 2:19-cv-13497-SM-MBN                Document 1-2          Filed 11/07/19       Page 83 of 136




SFCTION 5.2g
RESERVED

SECTION 5.29
TAXES - FOREIGN NEGOTIATED BENEFITS CONTRACTS (JAN 1998) (FEHBAR
I 652.22lJ-7U )

    (a) To the extent that this contract provides for performing services outside the United States.
 its possessions. and Puerto Rico. this CI<lLlSC applies in lieu orany Feclcr~t1. State. ~\llc! l()call~lxes
 clause of the contract.
    (b) "Contract date." as used in this clause. means the effective date of this contract or
 modification.
    "Country concerned," as L1sed in this clause, mcans any country, other than the United States,
 its possessions. and Puert() Rico. in \\ hich expenditures uncler this contr~lct are made.
    "Tax" and "taxes." as used in this clause. include fees and charges for doing business that arc
 levied by thc government of the country concerned or by its political subdivisions.
    "All applicable taxes and duties," as used in this clause, mcans all taxes and duties, in dlect on
 the contract date, that the taxing authority is imposing and collecting on the transactions covered
 by this contract, pursuant to written ruling or regulation in effect on the contract date.
    "After-imposed tax," as used in this clause, means any new or increased tax or duty, or tax that
 was exempted or excluded on the contract date but whose exemption was later revoked or
 reduced during the contract period, other than excepted tax, on the transactions covered by this
 contract that the Carrier is required to payor bear as the result of legislative, judicial, or
 administrative action taking effect after the contract date.
   "After-relieved tax." as used in this clause. means any amount of tax or duty. other than an
excepted tax, that would otherwise have been payable on the transactions covered by this
contract, but which the Carrier is not required to payor bear, or for which the Carrier obtains a
refund, as the result oflegislative, judicial, or administrative action taking effect after the
contract date.
   "Excepted tax," as used in this clause, means social security or other employment taxes, net
income and franchise taxes, excess profits taxes, capital stock taxes, transportation taxes,
unemployment compensation taxes, and property taxes. "Excepted tax" does not include gross
income taxes levied on or measured by sales or receipts from sales covered by this contract, or
any tax assessed on the Carrier's possession of, interest in, or use of propeliy, title to which is in
the U.S. Government.
   (c) Unless otherwise provided in this contract, the contract price includes all applicable taxes
and duties, except taxes and duties that the Government of the United States and the government
of the country concerned have agreed shall not be applicable to expenditures in such country by
or on behalf of the United States.
   (d) The contract price shall be increased by the amount of any after-imposed tax or of any tax
or duty specifically excluded from the contract price by a provision of this contract that the
Carrier is required to payor bear, including any interest or penalty, if the Carrier states in writing
that the contract price does not include any contingency for such tax and if liability for such tax,
interest, or penalty was not incurred through the Can-ier's fault, negligence, or failure to follow
instructions of the Contracting Officer or to comply with the provisions of paragraph (i) below.



                                               V-19                                            (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                Document 1-2        Filed 11/07/19        Page 84 of 136




  (e) The contract price shall be dccreased by the amount orallY aftcr-r('lie\'C'ci tZl\. including any
interest or penalty. The (j(H'crnment (lfthe l·nitecl SUltes sh;lll he L'ntitkcll<) inll'rest received hy
the Carrier incident to a refund of taxes to the extent that such interest \\as earned after the
Carrier was paid by the Government o[the United States for such taxes. The Government of the
United States shall be entitled to repayment of any penalty refunded to the Carrier to the extent
that the penalty was paid by the Government.
  (1) The contract price shalJ be decreased by the amount 01 el11) lax or dUl). ulher than an
excepted tax, that \;\as included in the contract and that the Carrier is required to payor bear, or
does not obtain a refund of through the Carrier's fault. negligence. or failure to follow
instructions of the Contracting Officer or tu comply \\ith the prll\ isi()n~ (If IXll~lgraph (i) below.
  (g) No adjustment shall be made in the contract price under this clause unless the amount of the
adjustment exceeds $250.
  (h) If the Carrier obtains a reduction in tax liability under the united States Internal Revenue
Code (Title 26, U.S. Code) because of the payment of any tax or duty that either \lvas included in
the contract pri ce or \vas the basis of an illCrl'tlSC in t he conI ract pri ce. Ihe ;1ll101l1ll n I' Ihe
reduction shall be paid or credited to the Government of the Lnited Stales as the Contracting
Officer directs.
  (i) The Carrier shall take all reasonable action to obtain exemption 11·0111 ur refund of any taxes
or duties, including interest or penalty, from which the United States Government. the Carrier,
any subcontractor, or the transactions covered by this contract are exempt under the laws of the
country concerned or its political subdivisions or which the governments of the United States and
of the country concerned have agreed shall not be applicable to expenditures in such country by
or on behalf of the United States.
  (j) The Carrier shall promptly notify the Contracting Officer of all matters relating to taxes or
duties that reasonably may be expected to result in either an increase or decrease in the contract
price and shall take appropriate action as the Contracting Officer directs. 'file contract price shall
be equitably adjusted to cover the costs of action taken by the Carrier at the direction of the
Contracting Officer, including any interest, penalty, and reasonable attomeys' fees.

SECTION 5.30
[RESERVED]

SECTION 5.31
[RESERVED]

SECTION 5.32
[RESERVED]

SECTION 5.33
DISCOUNTS FOR PROMPT PAYMENT (FEB 2002) (FAR 52.232-8)

        (a) Discounts for prompt payment will not be considered in the evaluation of offers.
However, any offered discount will f01111 a part of the award, and will be taken if payment is
made within the discount period indicated in the offer by the offeror. As an altemative to
offering a discount for prompt payment in conjunction with the offeL offerors awarded contracts
may include discounts for prompt payment on individual invoices.



                                              V-20                                           (FFS-2013)
    Case 2:19-cv-13497-SM-MBN             Document 1-2         Filed 11/07/19      Page 85 of 136




        (b) In connection \\iIh ZIl1:-- discount offered for prompt payment. time sh,lIl be computed
from the c1me ol'the ill\oicc !rthe Contl'clctor has not placed a date Oil the im()ice. the clue elate
shall be calculated 11'om the date the designated billing oiTice receiws a proper invoice, provided
the agency annotates such invoice with the date of receipt at the time of receipt. For the purpose
of computing the discount earned, payment shall be considered to have been made on the date
that appears on the payment check or, for an electronic funds transfer. the specified payment
dale. When the discount date Ii:db on a Salurday, Sunday, or legal holiday \\-hen ledcral
Government olTices arc closed and Government business is not expected to be conducted,
payment may be made on the follmving business day.

SECTION 5.34
INTEREST (OCT :2010) (F/\R 5:2.1:1:2-17) FEI-IBAR (.TAN 1995)

          (a) Except as otherwise provided in this contract under a Price Reduction for Defective
 Certified Cost or Pricing Datil cl,lllse or (1 Cost ;\ccounting Standards cl'lUse. ,Ill amounts that
become payable by the Contractor to the Government under this contract shall bear simple
interest from the date cluc until paid unless paid \vithin 30 days of bccoming due. Thc interest
rate shall be the interest rate established by the Secretary of the Treasury as provided in Section
611 of the Contract Disputes Act of 1978 (Public Law 95-563), which is applicable to the period
in which the amount becomes due, as provided in paragraph (e) of this clause, and then at the
rate applicable for each six-month period as fixed by the Secretary until the amount is paid.
         (b) The Government may issue a demand for payment to the Contractor upon finding a
debt is due under the contract.
         (c) Final Decisions. The Contracting Officer will issue a final decision as required by
33.211 if~
         (1) The Contracting Officer and the Contractor are unable to reach agreement on the
existence or amount of a debt in a timely manner;
         (2) The Contractor fails to liquidate a debt previously demanded by the Contracting
Officer within the timeline specified in the demand for payment unless the amounts were not
repaid because the Contractor has requested an installment payment agreement; or
         (3) The Contractor requests a defennent of collection on a debt previously demanded by
the Contracting OfIicer (see 32.607-2).
         (d) If a demand for payment was previously issued for the debt, the demand for payment
included in the final decision shall identify the same due date as the original demand for
payment.
         (e) Amounts shall be due at the earliest of the following dates:
  (1) The date fixed under this contract.
  (2) The date of the first written demand for payment, including any demand resulting from a
default termination.
         (f) The interest charge shall be computed for the actual number of calendar days involved
beginning on the due date and ending on-
         (1) The date on which the designated office receives payment from the Contractor;
         (2) The date of issuance of a Government check to the Contractor from which an amount
otherwise payable has been withheld as a credit against the contract debt; or
         (3) The date on which an amount withheld and applied to the contract debt would
otherwise have become payable to the Contractor.



                                            V-21                                          (FFS-2013)
    Case 2:19-cv-13497-SM-MBN               Document 1-2        Filed 11/07/19       Page 86 of 136




        (c) The interest charge m,lcle under this clause may he reduced under the procedures
prescrihed in ~2.6()R-2 of the Fec!enll /\Cqllisiti()1l Re&,uldtion in diCet Oil the dme nCthis
contract.

SECTION 5.35
ASSIGNMENT OF CLAIMS (JAN J 986) (FAR 52.232-23)

  (a) The Contractor, under the Assignment of Claims Act, as amended. 31 L .S.c. 3727,41
U.S.c. 15 (hereafter referred to as "the Act"). may assign its rights to be paid amounts due or to
hecul1le due as a result oCthe perCurmance oCthis eontr,lCt tn d hank. trust C()1l1IX11l). or other
financing institution, including any Federal lending agency. The assignee under such an
assignment may thereafter further assign or reassign its right under the original assignment to
any type of financing institution described in the preceding sentence.
  (b) Any assignment or reassignment authorized under the Act dnd this clause shall cover all
unpaid alllounts payable under this contract. ane! shall not hl' mack' to more thdn one pelrIy.
except that an assignment or reassignment may be made to one party as agent or trustee for t\VO
or more panics participating in the financing of this contract.
  (c) The Contractor shall not furnish or disclose to any assignee under this contract any
classified document (including this contract) or information related to work under this contract
until the Contracting Officer authorizes such action in writing.

SECTION 5.36
DISPUTES (JUL 2002) (FAR 52.233-1)

         (a) This contract is subject to the Contract Disputes Act of 1978. as amended (41 U.S.c.
 601-613).
         (b) Except as provided in the Act, all disputes arising under or relating to this contract
 shall be resolved under this clause.
         (c) "Claim," as used in this clause, means a written demand or written assertion by one of
the contracting parties seeking, as a matter of right, the payment of money in a sum certain, the
adjustment or interpretation of contract terms, or other relief arising under or relating to this
contract. However, a written demand or written assertion by the Contractor seeking the payment
of money exceeding $100,000 is not a claim under the Act until certified. A voucher, invoice, or
other routine request for payment that is not in dispute when submitted is not a claim under the
Act. The submission may be converted to a claim under the Act, by complying with the
submission and certification requirements of this clause, if it is disputed either as to liability or
amount or is not acted upon in a reasonable time.
         (d)( 1) A claim by the Contractor shall be made in writing and, unless otherwise stated in
this contract, submitted within 6 years after accrual of the claim to the Contracting Officer for a
written decision. A claim by the Government against the Contractor shall be subject to a written
decision by the Contracting Officer.
         (2)(i) The Contractor shall provide the certification specified in paragraph (d)(2)(iii) of
this clause when submitting any claim exceeding $100,000.
         (ii) The certification requirement does not apply to issues in controversy that have not
been submitted as all or part of a claim.




                                             V-22                                           (FFS-2013)
    Case 2:19-cv-13497-SM-MBN                  Document 1-2          Filed 11/07/19        Page 87 of 136




          (iii) The certification sh~tll St:lll' as ['ollows: "I certif\ that the cbim is lll~lde in good faith:
 that the sLipporting (bw ZllT :lccur~lll; zmd complete to the best of my knn\\lcd~e :mcl helief: th:11
 the amoLlnt requested accurately rel1ects the contract adjustment for which the Contractor
believes the Government is liable; and that 1 am duly authorized to certify the claim on behalf of
the Contractor."
          (3) The certification may be executed by any person duly authorized to bind the
Contractor with respect tu the claim.
          (e) For Contractor claims 01'$100,000 or less, the Contracting OfTicer must. if requested
in writing by the Contractor. render a decision within 60 days of the request. For Contractor-
certi lied claims ()\l'!' S 1O()J)()(). the COnlnlcting Officer mList. \\ithin 60 days. decidc the claim or
notify the Contractor of the date by which the decision will be made.
         (f) The Contracting Officer's decision shall be final unless the Contractor appeals or files
a suit as provided in the Act.
         (g) If the claim by the Contractor is submitted to the Contracting Officer or a claim by the
Government is prescntcc!to the Contractor. the parties. by mutual consent. may tlgrcc t,) Lise
alternative dispute resolution (ADR). If the Contractor refuses an offer for AD1\., the Contractor
shall inform the Contr,lCting Unlcer. in writing. of the Contractor's specific reasons for rejecting
the offer.
         (h) The Government shall pay interest on the amount found due and unpaid from (1) the
date that the Contracting Officer receives the claim (certified, if required); or (2) the date that
payment otherwise would be due, if that date is later, until the date of payment. With regard to
claims having defective certifications. as defined in FAR 33.201, interest shall be paid from the
date that the Contracting Officer initially receives the claim. Simple interest on claims shall be
paid at the rate, fixed by the Secretary of the Treasury as provided in the Act, which is applicable
to the period during which the Contracting Officer receives the claim and then at the rate
applicable for each 6-l11onth period as fixed by the Treasury Secretary during the pendency of the
claim.
         (i) The Contractor shall proceed diligently with performance of this contract, pending
final resolution of any request for relief, claim, appeal, or action arising under or relating to the
contract, and comply with any decision of the Contracting Officer.

SECTION 5.37
NOTICE OF INTENT TO DISALLOW COSTS (APR 1984) (FAR 52.242-1)

  (a) Notwithstanding any other clause of this contract--
  (1) The Contracting Officer may at any time issue to the Contractor a written notice of intent
to disallow specified costs incurred or planned for incurrence under this contract that have been
determined not to be allowable under the contract terms; and
  (2) The Contractor may, after receiving a notice under subparagraph (1) above, submit a
written response to the Contracting Officer, with justification for allowance of the costs. If the
Contractor does respond within 60 days, the Contracting Officer shall, within 60 days of
receiving the response, either make a written withdrawal of the notice or issue a written decision.
  (b) Failure to issue a notice under this Notice ofIntent to Disallow Costs clause shall not
affect the Government's right to take exception to incurred costs.

SECTION 5.38



                                                V-23                                              (FFS-2013)
    Case 2:19-cv-13497-SM-MBN                 Document 1-2         Filed 11/07/19        Page 88 of 136




 CJ-I/\N(:;ES--~L(;()TI.I\TED 8ENFFlTS CONTR!\CTS                 (l·'\" 1q<m) (lFllB.L\ R 1052.243-70)

   (a) The Contracting Officer may at any time, by \vrittcn order. and without notice to the
sureties, if any, make changes within the general scope of this contract in anyone or more of the
 following:
   (1) Description of services to be performed.
   (2) Time of performance (i.e., hours 01 the da), days ulthe \\eek. dC.).
   (3) Place of performance of the services.
   (b) If any such change causes an increase or decrease in the cost of or the time required for.
perlclrl11ance Oran) )X)rl urthe \\urk uncleI' this cuntrLlcL \\hl-,ther llr Illlt ch'l11ged by thc order. thc
Contracting Officer shall make an equitable adjustment in the contract price. the delivery
schedule. or both. and shall modify the contract.
   (c) The Carrier must assert its right to an adjustment under this clause within 30 days from the
date of receipt of the written order. However. if the Contracting Officer decides that the facts
justify it. the Contracting Officer m,) receive (lnd act upon ,I prop()s,d suhmitted before final
payment of the contract.
   (d) Failure to agree to any adjustment shall be a dispute under the Disputes clause. !-lcmcver.
nothing in this clause shall excuse the Carrier from proceeding V,iIh the contract as changed.

SECTION 5.39
COMPETITION IN SUBCONTRACTING (DEC 1996) (FAR 52.244-5)

  (a) The Contractor shall select subcontractors (including suppliers) on a competitive basis to
the maximum practical extent consistent with the objectives and requirements of the contract
  (b) If the Contractor is an approved mentor under the Department of Defense Pilot Mentor-
Protege Program (Pub. L ] 0] -51 O. section 831 as amended). the Contractor may award
subcontracts under this contract on a noncompetitive basis to its proteges.

SECTION 5.40
GOVERNMENT PROPERTY (NEGOTIATED BENEFITS CONTRACTS) (JAN 1998)
(FEHBAR 1652.245-70)

  (a) Government-furnished property. (l) The Government shall deliver to the Can-ier, for use in
connection with and under the terms of this contract, the Government-furnished property
described in this contract together with any related data and information that the Carrier may
request and is reasonably required for the intended use of the property (hereinafter refen-ed to as
"Government-furnished property").
  (2) The delivery or performance dates for this contract are based upon the expectation that
Government-furnished property suitable for use (except for property furnished "as-is") will be
delivered to the Can-ier at the times stated in this contract or, if not so stated, in sufficient time to
enable the Can-ier to meet the contract's performance dates.
  (3) If Government-furnished property is received by the Can-ier in a condition not suitable for
the intended use, the Can-ier shall, upon receipt of it, notify the Contracting Officer, detailing the
facts, and, as directed by the Contracting Officer and at Government expense, either repair,
modify, return, or otherwise dispose of the property. After completing the directed action and




                                               V-24                                              (FFS-2013)
     Case 2:19-cv-13497-SM-MBN                    Document 1-2           Filed 11/07/19          Page 89 of 136




  upon \\Titten request (lrthc CllTilT. the Contracting Officer shall make Zll1 equitahle adiustment
  as provided ill l':lr,lgr:lph (h) n!'this clallse.
    (b) Changes in (ju\ernment-furnished property. (1) The Contracting Officer may. by written
 notice, (i) decrease the Government-furnished property provided or to be provided under this
 contract, or (ii) substitute other Government-furnished property for the property to be provided
 by the Government. or to be acquired by the Carrier for the Government. uncler this contract.
 The Carrier shall plumptl) take sLlch action as the Contracting Ullicer may direct regarding the
 removal, shi pment. or disposal of the property covered by such notice.
    (2) Upon the Carrier's written request. the Contracting Officer shall make an equitable
 adjustl11el1lto the UlI1tl",ll't ill Cll'l'urc!al1c\:.' \\ith pm'lgraph (h) of this clilus\:.'. il'thc (iu\ernmcnt has
 agreed in this contract to make the property available for performing this contract and there is
 any -
    (i) Decrease or substitution in this property pursuant to subparagraph (b)(1) above; or
    (ii) Withdra'vval of authority to use this property, if provided under any other contract or lease.
    (e) Title in (iO\Crtll1ll'llt property. (I) The Go\ernment shelll ITwin title to all (i()\crnmel1l-
 furnished properly.
    (2) 1\11 Government-furnished property and all property acquired by the Carrier. til Ie to \vhich
 vests in the Government under this paragraph (collectively referred to as "Government proper-
 ty"), are subject to the provisions of this clause. Title to Government property shall not be
 affected by its incorporation into or attachment to any property not owned by the Government,
 nor shall Government propel1y become a fixture or lose its identity as personal property by being
 attached to any real property.
    (d) Use of Government propel1y. The Government property shall be used only for performing
 this contract, unless otherwise provided in this contract or approved by the Contracting Officer.
    (e) Property administration. (1) The Carrier shall be responsible and accountable for all
 Government property provided under this contract and shall comply with Federal Acquisition
 Regulation (FAR) subpart 45.5, as in e±Tect on the date of this contract.
   (2) The Carrier shall establish and maintain a program for the use, maintenance, repair,
protection, and preservation of Government property in accordance with sound industrial
practice and the applicable provisions of subpart 45.5 of the FAR.
   (3) If damage occurs to Government property, the risk of which has been assumed by the
Government under this contract, the Government shall replace the items or the Carrier shall
make such repairs as the Government directs. However, if the Carrier cannot effect such repairs
within the time required, the Carrier shall dispose of the property as directed by the Contracting
Officer. When any property for which the Government is responsible is replaced or repaired, the
Contracting Officer shall make an equitable adjustment in accordance with paragraph (h) of this
clause.
   (4) The Carrier represents that the contract price does not include any amount for repairs or
replacement for which the Government is responsible. Repair or replacement of property for
which the Carrier is responsible shall be accomplished by the Carrier at its own expense.
   (f) Access. The Government and all its designees shall have access at all reasonable times to
the premises in which any Government property is located for the purpose of inspecting the
Government property.
   (g) Risk of loss. Unless otherwise provided in this contract, the Carrier assumes the risk of,
and shall be responsible for, any loss or destruction of, or damage to, Government property upon
its delivery to the Carrier. However, the Carrier is not responsible for reasonable wear and tear



                                                    V-25                                                 (FfS-2013 )
    Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 90 of 136




 to Government property or i'or (~O\('rnment property pn)],(']"I: conslIJl1cd in pcri'ol"lliing this
 contr[)ct.
    (h) Equitable adjustment. When this clause specifies an equitable adjustment. it shall be made
to any affected contract provision in accordance with the procedures of the Changes clause.
 When appropriate. the Contracting Officer may initiate an equitable adjustment in favor of the
 Government. The right to an equitable adjustment shall be the Carrier's exclusive remedy. The
 Government shall not be liable to suit lor breach of cuntract lor --
    (J) Any delay in delivery of Government-furnished property~
    (2) Delivery of Government-furnished property in a condition not suitable for its intended use;
    (3) A decrt'(lse in or substitution ofCiO\crnmelll-furni:';\'L'd propLTt:: or
    (4) Failure to repair or replace Government property for which the Government is responsible,
    (i) Final accounting and disposition of (Jm'Crnment property. Llpon completing this contract.
or at such earlier dates as may be fixed by the Contracting Officer. the Carrier shall submit, in a
form acceptable to the Contracting OiTicer, inventory schedules covering all items of
Ciovernment property (including any resulting scr~lp) not C\)lbllJl1Cc! in performing this contract or
deli\Cred to the Government. The Carrier shall prepare for shipment. c!eli\er fo,b. origin. or
dispose of the Government property as may be directed or uuthori/ed by the Contracting Officer.
The net proceeds of any such disposal shall be credited to the contract price or shall be paid to
the Government as the Contracting Officer directs.
   (j) Abandonment and restoration of Carrier's premises, Unless otherwise provided herein, the
Government -
   (1) May abandon any Government property in place, at which time all obligations of the
Government regarding such abandoned property shall cease; and
   (2) Has no obligation to restore or rehabilitate the CarTier's premises under any circumstances
(e.g .. abandonment. disposition upon completion of neecl: or upon contract completion),
Ho\vever. if the Government-furnished property is withdrawn or is unsuitable for the intended
use, or if other Government property is substituted, then the equitable adjustment under
paragraph (h) of this clause may properly include restoration or rehabilitation costs.
   (k) Communications. All communications under this clause shall be in writing.
   (1) Overseas contracts. If this contract is to be performed outside of the United States of
America, its territories, or possessions, the words "Government" and "Government- furnished"
(wherever they appear in this clause) shall be construed as "United States Government" and
"United States Government-furnished", respectively,

SECTION 5Al
LIMIT A TION OF LIABILITY -- SERVICES (FEB 1997) (fAR 52.246-25)

        (a) Except as provided in paragraphs (b) and (c) below, and except to the extent that the
Contractor is expressly responsible under this contract for deficiencies in the services required to be
performed under it (including any materials furnished in conjunction with those services), the
Contractor shall not be liable for loss of or damage to property of the Government that (1) occurs after
Government acceptance of services performed under this contract and (2) results from any defects or
deficiencies in the services performed or materials furnished.
        (b) The limitation ofliability under paragraph (a) above shall not apply when a defect or
deficiency in, or the Government's acceptance of, services performed or materials furnished results
from willful misconduct or lack of good faith on the part of any of the Contractor's managerial



                                              V-26                                           (FFS-20l3)
    Case 2:19-cv-13497-SM-MBN                        Document 1-2             Filed 11/07/19            Page 91 of 136




personnel. The tlTm C()ntr~lCtor's managerial personnel. as usce! in this clallsc. mcans the Contractor's
directors. olTiccr". :lIld :lIly oj" tit\.., Contractor's m~lllager". sllplTintcnclcnts. or C'lJlIi\~llcnt rC'l'resC'nt~lli\C's
who have supervision or direction 01'--
         (1) All or substantially all of the Contractor's business;
         (2) All or substantially all of the Contractor's operations at anyone plant. laboratory. or
separate location at which the contract is being performed; or
         (3) A separate ano cumplete major industrial operation connectco with the performance
of this contract.
         (c) If the Contractor carries insurance. or has established a reserve for self-insurance.
cu\cring liabilil) ror loss or dalll~lge sulTcrcd by the CU\crnment through the CUl1trtlctor's
performance of services or furnishing of materials under this contract. the Contractor shall be
liable to the Cicl\ernmenL to the extent of such insurance or reservc. for loss of or damage to
property of the Governmel1l occurring after Government acceptance of, and resulting from any
defects and deficiencies in. services performed or materials furnished under this contract.

SECTIOl\ 5.42
PREFERENCL FOR l :.S.-FLACi AIR CARRIERS (JUN 20(3) (FAR 52.247-(3)

(a) Definitions. As used in this clause-
"International air transportation" means transportation by air between a place in the United States
and a place outside the United States or between two places both of which are outside the United
States.

"United States" means the 50 States, the District of Columbia, and outlying areas.

"U.S.-f1ag air carrier" means an air carrier holding a certificate under 491J.S.C. Chapter 411.
(b) Section 5 of the International Air Transportation Fair Competitive Practices Act of 1974 (49
U.S.c. 40118) (Fly America Act) requires that all Federal agencies and Government contractors
and subcontractors use U.S.-flag air carriers for U.S. Government-financed international air
transportation of personnel (and their personal effects) or property, to the extent that service by
those carriers is available. It requires the Comptroller General of the United States, in the
absence of satisfactory proof of the necessity for foreign-flag air transportation, to disallow
expenditures from funds, appropriated or otherwise established for the account of the United
States, for international air transportation secured aboard a foreign-flag air carrier if a U.S.-flag
air carrier is available to provide such services.
(c) If available, the Contractor, in performing work under this contract, shall use U. S. -flag
carriers for international air transportation of personnel (and their personal effects) or property.
(d) In the event that the Contractor selects a carrier other than a U.S.-flag air carrier for
international air transportation, the Contractor shall include a statement on vouchers involving
such transportation essentially as follows:


STATEMENT OF UNAVAILABILITY OF U.S.-FLAG AIR CARRIERS
  International air transportation of persons (and their personal effects) or property by U.S.-flag
air calTier was not available or it was necessary to use foreign-flag air carrier service for the
following reasons (see section 47.403 of the Federal Acquisition Regulation):



                                                       V-27                                                      (FFS-20l3)
    Case 2:19-cv-13497-SM-MBN                Document 1-2          Filed 11/07/19   Page 92 of 136




(State reasons):
(Ene! of stall'llle'lll)
  (e) 'The Contractor shall include the substance of this clause. including this paragraph (e), in
each subcontract or purchase under this contract that may involve international air transportation.

SECTION 5,43
GO V LlZj\ ;VIL0;] SloP PL 'yO SOL) RC LS (1\ lj<.j 2U I U) U AJZ 52 ..25 I-I)

  The Contracting Officer may issue the Contractor an authorization to use Government supply
sources in the performance of this contract. Title to ,ill pm!,lTt: ,lcquired h) the COlltractor
under such an authorization shall vest in the (jovernment unless other\vise speciJied in the
contract. Such property shall not be considered to be Governlllt'nt- furn ished property. as
distinguished hom Government property. The provisions of the clause entitled "Government
Property," at 52.245-1, shall apply to all property acquired under such authorization.

SECTIO;\ 5,44
ALTHORIZED DEVIATIONS IN CLAUSES (APR 19~4) (I ,\F. 52.:252-6)

  (a) The use in this solicitation or contract of any Federal Acquisition Regulation (48 CFR
Chapter 1) clause with an authorized deviation is indicated by the addition of "(DEVIA TION)"
after the date of the clause.
  (b) The use in this solicitation or contract of any Federal Employees Health Benefits
Acquisition Regulation (48 CFR Chapter 16) clause \,>,·ith an authorized deviation is indicated by
the addition of "(DEVIATION)" after the name of the regulation.

SECTION 5,45
LIMIT A TION ON PAYMENTS TO INFLUENCE CERTAIN FEDERAL TRANSACTIONS
(OCT 2010) (FAR 52.203-12)

   (a) Definitions. As used in this clause-
   "Agency" means "executive agency" as defined in Federal Acquisition Regulation (FAR)
2.101.
   "Covered Federal action" means any of the following actions:
      (1) A warding any Federal contract.
      (2) Making any Federal grant.
      (3) Making any Federal loan.
      (4) Entering into any cooperative agreement.
      (5) Extending, continuing, renewing, amending, or modifying any Federal contract, grant,
loan, or cooperative agreement.
  "Indian tribe" and "tribal organization" have the meaning provided in section 4 of the Indian
Self-Determination and Education Assistance Act (25 U.S.C. 450b) and include Alaskan
Natives.
  "Influencing or attempting to influence" means making, with the intent to influence, any
communication to or appearance before an officer or employee of any agency, a Member of
Congress, an officer or employee of Congress, or an employee of a Member of Congress in
connection with any covered Federal action.



                                               V-28                                      (FFS-2013)
    Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 93 of 136




    "'Locd go\crnmcnt"· mc~lt1s a unit of government in l1 SlC1te ane!. i I' ch~tncred. established. or
 othc]"\\ise rl'C(l~llilL'd h\ :1 '-;t:lle for the I,crformance 01'(\ gmcrnmcnut! duty. including:t loc,11
 public authority, a special district, an intrastate district, a council of governments, a sponsor
 group representati ve organization, and any other instrumentality of a local government.
    "Officer or employee of an agency" includes the following individuals who are employed by
 an agency:
       (1) An indi,idual \\ho is appointed to a position in the (jovernmel1l under Title 5, Lnited
 States Code. including a position under a temporary appointment.
       (2) A member of the uniformed services, as defined in subsection 101 (3). Title 37, United
 States Cock.
       (3) A special Cjovernment employee, as defined in section 202. Title 18. United Stmes
 Code.
       (4) An individual who is a member ofa Federal advisory committee, as defined by the
 Federal Advisory Committee Act, Title 5, United States Code, appendix 2.
    "'Pcrson" mCilns an individual. corporation. company. association. authority. firm. jl,\rtnership.
 society. State. and local government. regardless of whether such entity is operated for profit. or
 not for profit. This term excludes an Indian tribe. tribal organization. or any other Indian
 organization eligible to receive Federal contracts, grants, cooperative agreements, or loans from
 an agency. but only with respect to expenditures by such tribe or organization that are made for
 purposes specified in paragraph (b) of this clause and are permitted by other Federal law.
   "Reasonable compensation" means, with respect to a regularly employed officer or employee
of any person, compensation that is consistent with the normal compensation for such officer or
employee for work that is not furnished to, not funded by, or not furnished in cooperation with
the Federal Government.
   "Reasonable payment" means, with respect to professional and other technical services. a
payment in an amount that is consistent with the amount normally paid fen' such services in the
private sector.
   "Recipient" includes the Contractor and all subcontractors. This term excludes an Indian tribe,
tribal organization, or any other Indian organization eligible to receive Federal contracts, grants,
cooperative agreements, or loans from an agency, but only with respect to expenditures by such
tribe or organization that are made for purposes specified in paragraph (b) of this clause and are
permitted by other Federal law.
   "Regularly employed" means, with respect to an officer or employee of a person requesting or
receiving a Federal contract, an officer or employee who is emp10yed by such person for at least
130 working days within 1 year immediately preceding the date of the submission that initiates
agency consideration of such person for receipt of such contract. An officer or employee who is
employed by such person for less than 130 working days within 1 year immediately preceding
the date of the submission that initiates agency consideration of such person shall be considered
to be regularly employed as soon as he or she is employed by such person for 130 working days.
   "State" means a State of the United States, the District of Columbia, or an outlying area of the
United States, an agency or instrumentality of a State, and multi-State, regional, or interstate
entity having governmental duties and powers.
   (b) Prohibition. 31 U.S.c. 1352 prohibits a recipient of a Federal contract, grant, loan, or
cooperative agreement from using appropriated funds to pay any person for influencing or
attempting to influence an officer or employee of any agency, a Member of Congress, an officer
or employee of Congress, or an employee of a Member of Congress in connection with any



                                              V-29                                           (fFS-2013)
    Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 94 of 136




covered Federal ~lcti(lns. In accorcLmce with 31 l '.S.c. 13~2 the C()ntr;!ct()r sh:I11 not usc
clpproprimcd funds to pay ~lI1y person /()l" inlluencin~ or (lltl'!1lIJtin~ t(l in!lllcnce ~1I1 nlTiccr or
employee of any agency, a Member of Congress. an oflicer or cmployee of Congress. or an
employee of a Member of Congress in connection with the award of this contractor the
extension. continuation, renewal, amendment. or modification of this contract.
       (1 ) The term approprialedfill1ds does not include profit or fee from a covered Federal
action.
       (2) To the extent the Contractor can demonstrate that the Contractor has sufficient monies,
other than Federal appropriated funds. the Government will assume that these other monies were
spent for any influencing activities that \\ould be unall\l\\abk' irp~lid I()\" \\ith Ie(kr~I1
appropriated funds.
    (c) E\ceptiol1s. The prohibition in paragraph (11) of this clause docs not apply under the
follo\ving conditions:
       (1) Agency (/I1d legislalive liaison by ContraclOr ernp/oyees.
          (i) Payment of reasonable compensation mack tll all nlTicL'i" or employee oCthe Contractor
if the payment is for agency and legislative liaison activities not directly related to this contract.
For purposes of this paragraph. providing any informal ion speci Ilcall y requested by an agency or
Congress is permiued al any lime.
          (ii) Participating with an agency in discussions that are not related to a specific
solicitation for any covered Federal action, but that concern-
              (A) The qualities and characteristics (including individual demonstrations) of the
person's products or services, conditions or terms of sale. and service capabilities~ or
              (B) The application or adaptation of the person's products or services for an agency's
use.
          (iii) Providing prior to formal solicitation of any covered federal action any information
not specifically requested but necessary Cor an agency to make an informed decision about
initiation of a covered Federal action;
          (iv) Participating in technical discussions regarding the preparation of an unsolicited
proposal prior to its official submission; and
          (v) Making capability presentations prior to formal solicitation of any covered Federal
action by persons seeking awards from an agency pursuant to the provisions of the Small
Business Act, as amended by Pub. L. 95-507, and subsequent amendments.
     (2) Professional and technical services.
        (i) A payment of reasonable compensation made to an officer or employee of a person
requesting or receiving a covered Federal action or an extension, continuation, renewal,
amendment, or modification of a covered Federal action, if payment is for professional or
technical services rendered directly in the preparation, submission, or negotiation of any bid,
proposal, or application for that Federal action or for meeting requirements imposed by or
pursuant to law as a condition for receiving that Federal action.
       (ii) Any reasonable payment to a person, other than an officer or employee of a person
requesting or receiving a covered Federal action or an extension, continuation, renewal,
amendment, or modification of a covered Federal action if the payment is for professional or
technical services rendered directly in the preparation, submission, or negotiation of any bid,
proposal, or application for that Federal action or for meeting requirements imposed by or
pursuant to law as a condition for receiving that Federal action. Persons other than officers or




                                              V-30                                           (FFS-2013)
    Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 95 of 136




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trade (lSSnCi,l1i()lb
          (iii) As used in paragraph (c)(2) of this clausc. "professional and technical services" arc
limited to advice and analysis directly applying any professional or technical discipline (for
examples. sec FAR 3.803(a)(2)(iii)).
          (iv) Requirements imposed by or pursuant to law as a condition for receiving a covered
J-ederal m·l;arJ include those required by law or regulation amI any other requirements in the
actual av,ard documcnts.
       (3) Only those communications and services expressly authorized by paragraphs (c)(1) and
(:2) or this clause ,Ire permit1ed.
    (d) Disclosure.
       (1) If the Contractor clie! not submit OMB Standard Form LtL. Disclosure of Lobbying
Activities, with its oller, but registrants under the Lobbying Disclosure Act of 1995 have
subsequently made a lobbying contact on behalf of thc Contractor with respect to this contract,
the C0l1tr,1ctnr sh,dl complete and submit O\!TB Standard Form tIL tn provide the n<lmc oCthe
lobbying registrants. including the individuals performing the services.
       (2) If the Contractor did submit OMB Standard Form LLL disclosure pursuant to paragraph
ld) of the provision al fAR 52.203-11, Cenification anel Disclosure Regarding Paymcl1ls LO
Influence Certain Federal Transactions, and a change occurs that affects Block 10 of the OMB
Standard Form LLL (name and address of lobbying registrant or individuals performing
services), the Contractor shall. at the end of the calendar quarter in which the change occurs,
submit to the Contracting Officer within 30 days an updated disclosure using OMB Standard
Form LLL.
  (e) Penalties.
      (1) Any person who makes an expenditure prohibited under paragraph (b) of this clause or
who fails to file or amend the disclosure to be filed or amended by paragraph (d) of this clause
shall be subject to civil penalties as provided for by 31 U.S.C. 1352. An imposition of a civil
penalty does not prevent the Government from seeking any other remedy that may be applicable.
      (2) Contractors may rely without liability on the representation made by their subcontractors
in the certification and disclosure form.
   (f) Cost allowability. Nothing in this clause makes allowable or reasonable any costs which
would otherwise be unallowable or unreasonable. Conversely, costs made specifically
unallowable by the requirements in this clause will not be made allowable under any other
provlslOn.
   (g) Subcontracts.
      (1) The Contractor shall obtain a declaration, including the certification and disclosure in
paragraphs ( c) and (d) of the provision at FAR 52.203-11, Certification and Disclosure
Regarding Payments to Influence Certain Federal Transactions, from each person requesting or
receiving a subcontract exceeding $150,000 under this contract. The Contractor or subcontractor
that awards the subcontract shall retain the declaration.
      (2) A copy of each subcontractor disclosure form (but not certifications) shall be forwarded
from tier to tier until received by the prime Contractor. The prime Contractor shall, at the end of
the calendar quarter in which the disclosure form is submitted by the subcontractor, submit to the
Contracting Officer within 30 days a copy of all disclosures. Each subcontractor certification
shall be retained in the subcontract file of the awarding Contractor.




                                              V-31                                           (FFS-2013)
        Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19       Page 96 of 136




         (3) The Contrzlctor shall include the SUbSUlllCl' oi'this CI'lllSC. including this paragraph (g). in
(111\   sllbcontr,\ct t'\cceding Ii; 1)Cl.O()()

SECTION 5.46
[RESERVED]

SLC~l100; 5.4 7
PROTECTING THE GOVERNMENT'S INTEREST 'v\'I1E'\ SUBCO]\;TRACTING WITH
CONTRACTORS DEBARRED. SlJSPENDED OR PROPOSED FOR DEBARMENT (DEC
:2(10) (JAR 5:2.:209-6)

        (a) Definition. Commercia/h' {{1'oi/ohlf ()ff~lhc-sl7(!lf(( ,()T~') item. as used in this cl::lUse-
        (I) Means any item of supply (including construction material) that is-
        (i) A commercial item (as defined in paragraph (1) urthe deJinition in fAR 2.1(1);
        (ii) Sold in substantial quantities in the c()11lnll'rcial ll1C1rkctpLlce: and
        (iii) OlTered to the Government. uncler a contract or subcontract at any tier. without
modification. in the same form in vvhich it is sold in the comll1crcial marketplace: and
        (2) Does not include bulk cargo, as defined in section 3 of the Shipping Act of 1984 (46
U.S.c. App. 1702), such as agricultural products and petroleum products.
        (b) The Government suspends or debars Contractors to protect the Government's
interests. Other than a subcontract for a commercially available off-the-shelf item, the Contractor
shall not enter into any subcontract, in excess of $30,000 with a Contractor that is debarred,
suspended, or proposed for debarment by any executive agency unless there is a compelling
reason to do so.
        (c) The Contractor shall require each proposed subcontractor whose subcontract will
exceed $30.000. other than a subcontractor providing a commercially available off-the-shelf
item, to disclose to the Contractor, in writing, whether as of the time of award of the subcontract,
the subcontractor, or its principals, is or is not debarred, suspended, or proposed for debarment
by the Federal Government.
        (d) A corporate officer or a designee of the Contractor shall notify the Contracting
Officer, in writing, before entering into a subcontract with a party (other than a subcontractor
providing a commercially available off-the-shelf item) that is debaned, suspended, or proposed
for debarment (see FAR 9.404 for information on the Excluded Parties List System). The notice
must include the following:
      (1) The name of the subcontractor.
        (2) The Contractor's knowledge of the reasons for the subcontractor being in the Excluded
Parties List System.
        (3) The compelling reason(s) for doing business with the subcontractor notwithstanding its
inclusion in the Excluded Parties List System.
        (4) The systems and procedures the Contractor has established to ensure that it is fully
protecting the Government's interests when dealing with such subcontractor in view of the
specific basis for the party's debarment, suspension, or proposed debarment.
       (e) Subcontracts. Unless this is a contract for the acquisition of commercial items, the
Contractor shall include the requirements of this clause, including this paragraph (e)
(appropriately modified for the identification of the parties), in each subcontract that-


                                                 V-32                                           (FFS-2013)
    Case 2:19-cv-13497-SM-MBN                 Document 1-2           Filed 11/07/19           Page 97 of 136




        (1) F\cccds S~().()()O in \aluc: and
        (::'1 Is !lot ;1 :;\lhl'nl1tri1ct I'or commercialh (\\'"ilahk niT-the-sheil' items.


SECTION 5.48
BANKRUPTCY (JUI. 1995) (FAR 52.242-13)

  In the event the Contractor enters into proceedings relating to bankruptcy, 'vvhether voluntary or
involuntary, the Contractor agrees to furnish, by certified mail or electronic commerce method
authorized by the contract. \vritten notification of the bankruptcy to the Contracting Office
responsibk I'ur ;Idministerillg the cOlllract. This Ilotiiicmion shall he furnished \\ithin IlYe cia) s
of the initiation of the proceedings relating to bankruptcy filing. This notification shall include
the date on which the bankruptcy petition \·vas liled. [he identity of the cOllrt in which the
bankruptcy petition was filed, and a listing of Government contract numbers and contracting
offices for all Government contracts against which final payment has not been made. This
obligation rell1;lins in eJ'i'ect until timl payment under this contract.

SECTION SAC)
FEHBP TERMINAllON FOR CONVENIENCE OF THE GOVERNMENT--NEGOTIATED
BENEFITS CONTRACTS (JAN 1998) (FEHBAR 1652.249-71)

    (a) The Government may terminate performance of work under this contract in whole or, from
 time to time, in part if the Contracting Officer determines that a termination is in the
 Government's interest. The Contracting Officer shall terminate by delivering to the Carrier a
 Notice of Termination specifying the extent of terminating and the effective date.
   (b) After receipt of a Notice of Termination, anc! except as directed by the Contracting Officer.
 the Carrier shall immediately proceed v"ith the following obligations. regardless of any delay in
 determining or adjusting any amounts due under this clause:
   (1) Stop work as specified in the notice.
   (2) Place no further subcontracts except as necessary to complete the continued portion of the
contract.
   (3) Terminate all subcontracts to the extent they relate to the work terminated.
   (4) Assign to the Govemment, as directed by the Contracting Officer, all right, title, and
interest of the Carrier under the subcontracts telminated, in which case the Government shall
have the right to settle or to pay any termination settlement proposal arising out of those
terminations.
   (5) With approval or ratification to the extent required by the Contracting Officer, settle all
outstanding liabilities and termination settlement proposals arising from the termination of
subcontracts; the approval or ratification will be final for purposes of this clause.
   (6) As directed by the Contracting Officer, deliver to the Government any data, reports, or
studies that, if the contract had been completed, would be required to be furnished to the
Government.
   (7) Complete performance of the work not telminated.
   (c) After termination, the Carrier shall submit a final termination settlement proposal to the
Contracting Officer in the form and with the certification prescribed by the Contracting Officer.
The Carrier shall submit the proposal promptly, but no later than 1 year from the effective date of
termination, unless extended in writing by the Contracting Officer upon written request of the



                                                V-33                                               (FFS-20 J 3)
    Case 2:19-cv-13497-SM-MBN                 Document 1-2          Filed 11/07/19        Page 98 of 136




 Carrier \vithin this l-year period. Ho\\e\er. if" the Contr:lcling Officer determines that the Caets
 .iustit\ it. (1 terl1lindtinn sdtlemcnt j11"l1j1os,timay he ITcL'i, l'd (mel :ll'led nil :lner 1 year or (\n~
 extension. If the Carrier 1~lils to submit the proposal \\ithin the time allowed. the Contracting
 Officer may determine, on the basis of information available, the amount, if any, due the Carrier
 because of the termination and shall pay the amount determincd.
    Cd) Subject to paragraph (c) of this clause, the Carrier and the Contracting Officer may agree
  upon the vvhule or any pan of the amount to be paid 01 remaining to be paid because of the
 termination. The amount may include a reasonable allo\\ancc for proflt on \\ork done.
 However. the agreed amount. whether under this paragraph (d) or paragraph (e) of this clause.
 exclusi\l' of costs shO\\n in SUh]Xlragraph (e)(3) (li'this cl'llhL'. 111(\; nul L''\ceed the total contract
 price as reduced by (1) thc amount of payments pre\iously made and (2) thc contract price of
 \vork not tcrminated. The contract shall be modified. and the Carrier paid the agreed amount.
 Paragraph (e) of this clause shall not limit, restrict, or affect the amount that may be agreed upon
 to be paid under this paragraph.
    (e) I f the Carrier and the Contracting OtTict'l" Llil tn ,lgrlT on the whole ill1101lnt to be paid
 because of thc termination of \\OIL the Contracting Otlicer shall pay the Carrier the amounts
 determined by the Contracting Ofllcer as follovis. but without duplication of any amounts agreed
 on under paragrapb (d) above:
    (1) The contract price for completed services accepted by the Government not previously paid
 for.
    (2) The total of--
   (i) The costs incurred in the performance of the work terminated. including initial costs and
 preparatory expense allocable thereto, but excluding any costs attributable to services paid or to
 be paid under paragraph (e)( 1) of this clause;
   (ii) The cost of settling and paying termination settlement proposals under terminated
 subcontracts that are properly chargeable to the terminated portion of the contract ifnot included
 in subdivision (e )(2)(i) of this clause; and
   (iii) A sum, as profit on subdivision (e )(2)(i) of this clause, determined by the Contracting
 Officer under 49.202 of the Federal Acquisition Regulation, in effect on the date of this contract,
to be fair and reasonable.
   (3) The reasonable costs of settlement of the work terminated, including--
   (i) Accounting, legal, clerical, and other expenses reasonably necessary for the preparation of
telmination settlement proposals and supporting data;
   (ii) The termination and settlement of subcontracts (excl uding the amounts of such
settlements); and
   (f) The cost principles and procedures ofpm1 31 of the Federal Acquisition Regulation, in
effect on the date of this contract, shall govern all costs claimed, agreed to, or determined under
this clause.
   (g) The Carrier shall have the right of appeal, under the Disputes clause, from any
determination made by the Contracting Officer under paragraph (c), (e), or (i) of this clause,
except that if the Carrier failed to submit the termination settlement proposal or request for
equitable adjustment within the time provided in paragraph (c) or (i), respectively, and failed to
request a time extension, there is no right of appeal.
   (h) In arriving at the amount due the Carrier under this clause, there shall be deducted--
   (1) All unliquidated advance or other payments to the Carrier under the terminated portion of
this contract;



                                                V-34                                             (FFS-2013 )
    Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19        Page 99 of 136




  (2)   .'\ny cldim which the Cio"ernment has against tlK C1!Tier Llncler this contract: and
  (i) Iftht' lermimltioll is parti,)!. the Carrier ma: 'lk ,l propo-.;,ti \\ith the Contracting Omccr "or
an equitable adjustment or the priee(s) orthe continued portion       or    the COl1lracl. The Contracting
Officer shall make any equitable adjustment agreed upon. Any proposal by the Carrier for an
equitable adjustment under this clause shall be requested within 90 days from the effective elate
of termination unless extended in writing by the Contracting Oilicer.
  (j)( I) The (jo\Crllment 111(1), under the terms and condition:-, it prescribc~, make panial
payments and payments against costs incurred by the Carrier for the terminated portion of the
contract if the Contracting Officer believes the total of these payments will not excced the
ClmOLll1l1U \\hich the ClITier \\ill be cl1titkd.
  (2) I r the lOtal payments exceed the amOu11l l1nall) determined to be due, the Carrier shall
repay the excess to the Cjovernment upon demand, together \\ith interest computed at the rate
established by the Secretary of the Treasury under 50 USC. App. 1215(b)(2). Interest shall be
computed for the period from the date the excess payment is recei ved by the Carrier to the date
the excess is repaid.
  (k) Unless othen;\ise provided in this contract or by statute, the Carrier shall maintain all
records and documents relating to the terminated portion orthis COl1lract for:1 years aller final
settlement. This includes all books and other evidence bearing on the Carrier's costs and
expenses under this contract. The Carrier shall make these records and documents available to
the Government, at the Carrier's office, at all reasonable times, without any direct charge. If
approved by the Contracting Officer, photographs, microphotographs, or other authentic
reproductions may be maintained instead of original records and documents.

SECTION 5.50
FEHBP TERMINATION FOR DEFAULT-- NEGOTIATED BENEFITS CONTRACTS (JAN
1998) (FEHBAR 1652.249-72)

  (a) (1) The Government may, subject to paragraphs (c) and (d) below, by written notice of
default to the CalTier, terminate this contract in whole or in part if the Carrier fails to--
  (i) Perform the services within the time specified in this contract or any extension;
  (ii) Make progress, so as to endanger performance of this contract (but see subparagraph (a)(2)
below); or
  (iii) Perform any of the other provisions of this contract (but see subparagraph (a)(2) below).
  (2) The Government's right to terminate this contract under subdivisions (1 )(ii) and (1 )(iii)
above, may be exercised if the CalTier does not cure such failure within 10 days (or more if
authorized in writing by the Contracting Officer) after receipt of the notice from the Contracting
Officer specifying the failure.
  (b) If the Government terminates this contract in whole or in part, it may acquire, under the
terms and in the manner the Contracting Officer considers appropriate, supplies or service
similar to those terminated, and the CalTier will be liable to the Government for any excess costs
for those supplies or services. However, the CalTier shall continue the work not terminated.
  (c) Except for defaults of subcontractors at any tier, the CalTier shall not be liable for any
excess costs if the failure to perform the contract arises from causes beyond the control and
without the fault or negligence of the CalTier. Examples of such causes include (1) acts of God
or of the public enemy, (2) acts of the Government in either its sovereign or contractual capacity,
(3) fires, (4) floods, (5) epidemics, (6) quarantine restrictions, (7) strikes, (8) freight embargoes,



                                              V-35                                            (FFS-2013)
   Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19      Page 100 of 136




zmd (9) unllsu~l1l: se\ere weather. In each instance tIll' I~lilllr,,-' ttl perrorm Illust be heyond the
control ~ll1d \\ithout the l~llllt or negligence (if tht' CllTit'r.
   (el) lrthe failure to perform is caused by the ckj~lLllt of a subcontractor at any tier, and if the
cause of the default is beyond the control of both the Carrier and subcontractor, and without the
fault or negligence of either. the Carrier shall not be liable for any excess costs for failure to
perform. unless the subcontracted supplies or services were obtainable from other sources in
sufficient time for the Carrier 1O meet the required deli\l:r) :::,cheduk.
   (e) If this contract is terminated for default. the Government may require the Carrier to transfer
title and deliver to the Government. as directed by the Contracting Officer, any completed or
p(lrli,l1ly cumpleted information unci cuntruct righh th~lt the CIITier 11<Is spc'cillc,l1ly produced or
acquired 1'<.)r the terminated ponion of this contract.
   (f) If. after termination. it is determined that the Currier \Vas not in default. or that the default
was excusable, the rights and obligations of the panies shall be the same as if the termination had
been issued for the convenience of the Government.
   (g) The rights and remedies orthe C)owrnmcnl in thi~ clause ~lre in zldclition to (lny other rights
and remedies provided b: Iavl' or under this contract.

SECTIO!\ .5 ..51
PENSION ADJUSTMENTS AND ASSET REVERSIONS (OCT 2010) (FAR 52.215-15)

   (a) The Contractor shall promptly notify the Contracting Officer in writing when it determines
that it will terminate a defined benefit pension plan or otherwise recapture such pension fund
 assets.
   (b) For segment closings, pension plan terminations, or curtailment of benefits, the amount of
the adjustment shall be-
   (1) For contracts and subcontracts that are subject to ruII coverage under COSI Accounting
Standards (CAS) Board rules and regulations (48 CFR Chapter 99), the amount measured,
assigned, and allocated in accordance with 48 CFR 9904.413-50( c )(12); and
   (2) For contracts and subcontracts that are not subject to full coverage under CAS, the amount
measured, assigned, and allocated in accordance with 48 CFR 9904.413-50( c )(12), except the
numerator of the fraction at 48 CFR 9904.413-50(c)(12)(vi)shall be the sum of the pension plan
costs allocated to all non-CAS-covered contracts and subcontracts that are subject to Federal
Acquisition Regulation (FAR) Subpart 31.2 or for which certified cost or pricing data were
submitted.
   (c) For all other situations where assets revert to the Contractor, or such assets are
constructively received by it for any reason, the Contractor shall, at the Government's option,
make a refund or give a credit to the Government for its equitable share of the gross amount
withdrawn. The Government's equitable share shall reflect the Government's participation in
pension costs through those contracts for which certified cost or pricing data were submitted or
that are subject to FAR Subpart 31.2.
  (d) The Contractor shall include the substance of this clause in all subcontracts under this
contract that meet the applicability requirement of FAR 15.408(g).

SECTION 5.52
REVERSION OR ADJUSTMENT OF PLANS FOR POSTRETIREMENT BENEFITS (PRB)
OTHER THAN PENSIONS (JUL 2005) (FAR 52.215-18)



                                            V-36                                           (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                Document 1-2         Filed 11/07/19        Page 101 of 136




  (a)1 h~' ()1l1r~lct\lr shall promptly llotify the C(lntr;lctin~ ()rlicer ill \\Tilin~ \\hen it determines
that it \'villtermina1e or reduce a PRB plan.
  (b) If PIU3 fund assets revert, or inure to the Contractor, or are constructively received by it
under a plan termination or otherwise, the Contractor shall make a refund or give a credit to the
Government for its equitable share as required by 3l.205-6( 0)( 6) of the Federal Acquisition
Reguiatiull (I AR). 'v,,"hen determining or agreeing un the mdhod fur reClner)          ur
                                                                                       the
Government's eq uitable share. the contracting parties should consider the follovying methods:
cost reduction. amortizing the credit over a number of years (w'ith appropriate interest), cash
rel'und. or sum~' (Jth~'r agreed upon method. Should the p~lrties he ulldbk tll ~tgrec un the ll1C'thod
for recovery of the Government" s equitable share. through good faith negotiations. the
Contracting Otlicer shall designate the method of recovery.
 (e)The Contractor shall insert the substance of this clause in all subcontracts that meet the
applicability requirements of FAR 15.408(j).

SECTJOi\ 5.53
NOTICE lOI HE CiOVU\.:\\lILNl OF LABOR DlSPLTFS (lTB 19(7) (I'AR 5:2.:22:2-1)

  If the Contractor has knowledge that any actual or potential labor dispute is delaying or
threatens to delay the timely performance of this contract, the Contractor shall immediately give
notice. including all relevant information, to the Contracting Officer.

SECTION 5.54
PENALTIES FOR UNALLOWABLE COSTS (MAY 2001) (FAR 52.242-3)

   (a) Definition. ProposaL as llsed in this clause. means either--
   (1) A final indirect cost rate proposal submitted by the Contractor after the expiration of its
fiscal year which--
   (i) Relates to any payment made on the basis of billing rates; or
   (ii) Will be used in negotiating the final contract price; or
   (2) The final statement of costs incUlTed and estimated to be incurred under the Incentive Price
Revision clause (if applicable), which is used to establish the final contract price.
   (b) Contractors which include unallowable indirect costs in a proposal may be subject to
penalties. The penalties are prescribed in lO U.S.c. 2324 or 41 U.S.C. 256, as applicable, which
is implemented in Section 42.709 of the Federal Acquisition Regulation (FAR).
   (c) The Contractor shall not include in any proposal any cost that is unallowable, as defined in
Subpmi 2.1 of the FAR, or an executive agency supplement to the FAR.
  (d) If the Contracting Officer determines that a cost submitted by the Contractor in its proposal
is expressly unallowable under a cost principle in the FAR, or an executive agency supplement to
the FAR, that defines the allowability of specific selected costs, the Contractor shall be assessed
a penalty equal to--
  (1) The amount of the disallowed cost allocated to this contract; plus
  (2) Simple interest, to be computed--
  (i) On the amount the Contractor was paid (whether as a progress or billing payment) in excess
of the amount to which the Contractor was entitled; and




                                              V-37                                             (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                 Document 1-2           Filed 11/07/19        Page 102 of 136




  (ii) {ising thl' ;lpplicahle rZlte eiTcctiVl'i()r c~lch Si\-Ill11llth illt(T\~li prescrihed by the Secret~lry
of the TrezlSury pursuant to Pub. L. 92-41 n~~ '11:11. <)71.
  (e) If the Contracting 01Ticer determines that a cost subminecl by the Contractor in its proposal
includes a cost previously determined to be unallowable for that Contractor, then the Contractor
will be assessed a penalty in an amount equal to two times the amount of the disallowed cost
allocated to this contract.
  (l) Determinations uncler paragraphs (d) and (e) oflhis clause are final decisions within lhe
meaning orthe Contract Disputes Act of 1978 (41 USc. 601. et seq.).
  (g) Pursuant to the criteria in FAR 42.709-5. the Contracting Officer may waive the penalties
in paragraph (el) or (e) of this clause.
  (h) Payment by the Contractor of any penalty assessed under this clause does not constitute
repayment to the Government of any unallc)\\able cost which has been paid by the Government
to the Contractor.

SECTION 5.55
EMPLOYMENT REPORTS ON VETERAi\S (SFP 20 10) (FAR 52.222-37)

    (a) iJejinilions. As used in this clause, "Armed Forces service medal veteran," "disabled
 veteran," "other protected veteran," and "recently separated veteran," have the meanings
 given in the Equal Opportunity for Veterans clause 52.222-35.
     (b) Unless the Contractor is a State or local government agency, the Contractor shall report at
 least annually, as required by the Secretary of Labor, on--
       (1) The total number of employees in the contractor's workforce, by job category and hiring
location, who are disabled veterans, other protected veterans, Armed Forces service medal
veterans. and recently separated veterans.
       (2) The total number of new employees hired during the period covered by the report. and
of the total, the number of disabled veterans, other protected veterans, Armed Forces service
medal veterans, and recently separated veterans; and
       (3) The maximum number and the minimum number of employees of the Contractor or
subcontractor at each hiring location during the period covered by the report.
    (c) The Contractor shall report the above items by completing the Form VETS-I00A, entitled
"Federal Contractor Veterans' Employment Report (VETS-l OOA Report)."
   (d) The Contractor shall submit VETS-l OOA Reports no later than September 30 of each year.
   (e) The employment activity repOl1 required by paragraphs (b)(2) and (b)(3) of this clause
shall reflect total new hires, and maximum and minimum number of employees, during the most
recent 12-month period preceding the ending date selected for the report. Contractors may select
an ending date-
       (1) As of the end of any pay period between July 1 and August 31 of the year the report is
due; or
       (2) As of December 31, if the Contractor has prior written approval from the Equal
Employment Opportunity Commission to do so for purposes of submitting the Employer
Information Report EEO-l (Standard F om1 100).
   (f) The number of veterans reported must be based on data known to the contractor when
completing the VETS-l OOA The contractor's knowledge of veterans status may be obtained in a
variety of ways, including an invitation to applicants to self-identify (in accordance with 41 CFR
60-300.42), voluntary self-disclosure by employees, or actual knowledge of veteran status by the



                                                V-38                                              (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                Document 1-2           Filed 11/07/19     Page 103 of 136




cnntractnr This par~li:'.r~lph clnes not relieve ~m emplo:'t'ror
                                                               liahility for discrimination under ~I\
USC 4212.
  (g) The COnlractor shall insert the terms of this clause in subcontracts of S; I OU,OOO or more
unless exempted by rules, regulations, or orders of the Secretary of Labor.

SECTION 5.56
i\L;11IUR1L\llu;\ A;\D UJ;\SL;\ICDEC 2UU7) (IAR 52.227-1)

   (a) The Government authorizes and consents to all use and manufacture. in performing this
cuntr~lct or ~lIly suhcuntract ~It any tier. of~l11Y il1\ention described in and CO\LTed hy ~I l 'nited
Slates patent-
       (1) Embodied in the structure or composition of any article the delivery of which is
accepted by the Government under this contract; or
       (2) Used in machinery, tools. or methods whose use necessarily results from compliance by
the Contractm or d subcontractor \\ith (i) specifications or \\Tillen pro\isions forming (l part or
thi S COnlract or (i i) specific \'vTi \len instructions gi ven by the Contracting 0 tlicer di recting the
manner of performance. the entire liability to the Government for infringement of 21 United States
patent ::;hall be determined solely by the provisions of the indemnity clause, if any, included in
this contract or any subcontract hereunder (including any lower-tier subcontract), and the
Government assumes liability for all other infringement to the extent of the authorization and
consent hereinabove granted.
   (b) The Contractor shall include the substance of this clause, including this paragraph (b), in
all subcontracts that are expected to exceed the simplified acquisition threshold. However,
omission of this clause from any subcontract, including those at or below the simplified
acquisition threshold. does not affect this authorization and consent.

SECTION 5.57
NOTICE AND ASSISTANCE REGARDING PATENT AND COPYRIGHT INFRINGEMENT
(DEC 2007) (FAR 52.227-2)

    a) The Contractor shall report to the Contracting Officer, promptly and in reasonable written
detail, each notice or claim of patent or copyright infringement based on the performance of this
contract of which the Contractor has knowledge.
   (b) In the event of any claim or suit against the Government on account of any alleged patent
or copyright infringement arising out of the performance of this contract or out of the use of any
supplies furnished or work or services performed under this contract, the Contractor shall furnish
to the Government, when requested by the Contracting Officer, all evidence and information in
the Contractor's possession pertaining to such claim or suit. Such evidence and information shall
be furnished at the expense of the Government except where the Contractor has agreed to
indemnify the Government.
   (c) The Contractor shall include the substance of this clause, including this paragraph (c), in
all subcontracts that are expected to exceed the simplified acquisition threshold.

SECTION 5.58
PA YMENT BY ELECTRONIC FUNDS TRANSFER--CENTRAL CONTRACTOR
REGISTRA TION (OCT 2003)(FAR 52.232-33)



                                              V-39                                             (FFS-2013)
   Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19      Page 104 of 136




(~l)\ /e! hod (}lINlnll!'}]!.
          (I) All payments by the Government under this contract shall be made by electronic
 funds transfer (EFT), except as provided in paragraph (a)(2) of this clause. As used in this
 clause, the term "EFT" refers to the funds transfer and may also include the payment information
 transfer.
          (2) In the event the lJovernment i~ unabk lU reka~e unL' ur mure payments by EFT, the
 Contractor agrees to ei ther --
          (i) Accept payment by check or some other mutually agreeable method of payment: or
          (ii) Request the (;owrnment to e:\ll.'nd tilL' p~l: ment dllL' date until such time ,IS the
 Govcrnment can make paymcnt by EFT (but sec paragraph (d) of this clause).
 (b) COl7lroc/()r's EFT in(rm110Ii()n. The Government shall makc payment to the Contractor using
 the EFT information contained in the Central Contractor Registration (CCR) database. In the
event that the EFT information changes, the Contractur shall be responsible for providing the
 updated information to the CCR database.
 (c) ,\Jechuni,)l11sj(J/" EFTpo)Jmenf. The (;overnment may make payment by EFT through either
 the A.utomated Clearing House (AC}'I) nel\\ork. subjcct to tl1(' rules of'thc National Automated
Clcaring House Association, or the Jed\virc Transfer System. The rules governing Federal
payments through the ACH are contained in 31 CFR part 210.
(d) Suspension o.!payment. If the Contractor's EFT information in the CCR database is incorrect,
then the Government need not make payment to the Contractor under this contract until correct
EFT information is entered into the CCR database: and any invoice or contract financing request
shall be deemed not to be a proper invoice for the purpose of prompt payment under this
contract. The prompt payment tenns of the contract regarding notice of an improper invoice and
delays in accrual of interest penalties apply.
(e) Liohililyfor uncompleted or erroneolls frum/as. (1) lf an uncompleted or erroneous transfer
occurs because the Government used the Contractor's EFT information incorrectly, the
Government remains responsible for -
         (i) Making a correct payment;
         (ii) Paying any prompt payment penalty due; and
         (iii) Recovering any erroneously directed funds.
         (2) If an uncompleted or erroneous transfer occurs because the Contractor's EFT
          information was incorrect, or was revised within 30 days of Government release of the
          EFT payment transaction instruction to the Federal Reserve System, and -
         (i) If the funds are no longer under the control of the payment office, the Government is
          deemed to have made payment and the Contractor is responsible for recovery of any
          erroneously directed funds; or
         (ii) If the funds remain under the control of the payment office, the Government shall not
           make payment, and the provisions of paragraph (d) of this clause shall apply.
(f) EFT and prompt payment. A payment shall be deemed to have been made in a timely manner
in accordance with the prompt payment terms of this contract if, in the EFT payment transaction
instruction released to the Federal Reserve System, the date specified for settlement of the
payment is on or before the prompt payment due date, provided the specified payment date is a
valid date under the rules of the Federal Reserve System.
(g) EFT and assignment of claims. If the Contractor assigns the proceeds of this contract as
provided for in the assignment of claims terms of this contract, the Contractor shall require as a



                                            V-40                                         (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                Document 1-2          Filed 11/07/19       Page 105 of 136




conditioll or    ~lI1y sllch :lssignmenl. that the assignee sh:111 register separately in the CCP. cbtahaSl'
:ll1d slnll he p,lie! hy ITT in accordance \\ith the tcrn" urthis CI:lLlSC. '\ot\\ithst:mcling ,In\ othl'r
requircmcnt of this COl1lracl. payment to an ultimatc recipient other than the Contractor, or a
financial institution properly recognized under an assignment of claims pursuant to subpart 32.8
is not permitted. In all respects, the requirements of this clause shall apply to the assignee as if it
were the Contractor. EFT information that shows the ultimate recipient of the transfer to be other
than the Contractor, in the absence of a proper assignment of claims acceptable to the
Govcrnment, is incorrect EFT information within the meaning of paragraph (d) of this clause.
(h) Uuhiliryfor change ofEFT information hyfinancial agent. The Government is not liahle for
errors resulting I'rum changes to EFT informatiun made h) the CuntrdclOr's financidl agent.
(i) PU)'JI/i!nl injornwliol1. The payment or disbursing office shall forward to the Contractor
availahle payment information that is suitable for transmission as of the date of release of the
EFT instruction to the Federal Reserve System. The Government may request the Contractor to
designate a desired format and methodes) for delivery of payment information hom a list of
formals ane! methods the payment office is capable of ewcllting. HCl\\e\er. the GU\l'rnmcllt dot's
not guarantee that any particular format or method or delivery is available at any particular
payment office and retains the latitude to use the format and delivery method most convenient to
the Government. If the Government makes payment by check in accordance with paragraph (a)
of this clause, the Government shall mail the payment information to the remittance address
contained in the CCR database.
(End of clause)

SECTION 5.59
PROHIBITION OF SEGREGATED FACILITIES (FEB 1999) (FAR 52.222-21)

  (a) "Segregated facilities." as used in this clause. means any \,,'aiting rooms. work areas. rest
rooms and wash rooms, restaurants and other eating areas, time clocks, locker rooms and other
storage or dressing areas, parking lots, drinking fountains, recreation or entertainment areas,
transportation, and housing facilities provided for employees, that are segregated by explicit
directive or are in fact segregated on the basis of race, color, religion, sex, or national origin
because of written or oral policies or employee custom. The term does not include separate or
single-user rest rooms or necessary dressing or sleeping areas provided to assure privacy
between the sexes.
  (b) The Contractor agrees that it does not and will not maintain or provide for its employees
any segregated facilities at any of its establishments, and that it does not and will not pennit its
employees to perform their services at any location under its control where segregated facilities
are maintained. The Contractor agrees that a breach of this clause is a violation of the Equal
Opportunity clause in this contract.
  (c) The Contractor shall include this clause in every subcontract and purchase order that is
subject to the Equal Opportunity clause of this contract.

SECTION 5.60
SUBCONTRACTS FOR COMMERCIAL ITEMS (DEC 2010) (FAR 52.244-6)

  (a) Definitions. As used in this c1ause-




                                               V-41                                            (FFS-2013)
   Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19       Page 106 of 136




    '"Collllllcrcial item" has thc mcaning contained ill Feeler:ll i\cquisition Rcgulation 2.101.
 Dcfi nit i0 Il s.
    '"Subcontract'" includes a transfer of commercial items between divisions. subsidiaries. or
 affiliates of the Contractor or subcontractor at any tier.
    (b) To the maximum extent practicable, the Contractor shall incorporate, and require its
 subcontractors at all tiers to incorporate. commercial items or nondevelopmental items as
 compunents of items to be supplied under thi~ cot1lracl.
    (c)(J) The Contractor shall insert the follo\\ing clauses in subcontracts for commercial items:
          (i) 52.203-13, Contractor Code of Business Ethics and Conduct (APR 2010) (Pub. L.
 II (J-2S2. Title VI. Chapter 1 (-+1 esc 2S1 note J. i l'thL' suhcolltract e.\ce('ds S5.000.000 and has
 a performance period of more than 120 days. In altering this clause to identify the appropriate
 parties. all disclosures of violation of the ci\'il False Claims Act or of Federal criminallmv shall
 be directed to the agency Office of the Inspector (Jeneral, with a copy to the Contracting Officer.
          (ii) 5).)03-15, Whistlcblovver Protections Lnckr the American Recovery and
 Reil1\cstmcnt Act of2()09 (.PiN 2()1()) (Section IS5~ oi'Puh. [ 111-5). ifthc suhcontract is
funded under the Recoverv Act.
          (iii) 52.219-8. Utilization of Small Business Concerns (DEC 2010) (IS U,S,c. 637(d)(2)
and (3)), ifthe subcontract oiTers further subcontracting opportunities. If the subcontract (except
subcontracts to small business concerns) exceeds $650.000 $1.5 million for construction of any
public facility), the subcontractor must include 52.219-8 in lower tier subcontracts that offer
subcontracting opportunities.
          (iv) 52.222-26, Equal Opportunity (Mar 2007) (E.O. 11246).
          (v) 52.222-35, Equal Opportunity for Veterans (SEP 2010) (38 U.S.c. 4212(a»)
          (vi) 52.222-36, Affirmative Action for Workers with Disabilities (OCT 2010)
(29 U.s.c. 793).
          (vii) 52.222-40. Notification of Employee Rights Uncler the National Labor Relations
Act (Dec 2010) (E.O. 13496), if flow down is required in accordance with paragraph (f) of FAR
clause 52.222-40.
           (viii) [Reserved].
          (ix) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels
(Feb 2(06) (46 U.S.c. App. 1241 and 10 U.S.c. 2631), if flow down is required in accordance
with paragraph (d) of FAR clause 52.247-64).
        (2) While not required, the Contractor may now down to subcontracts for commercial
items a minimal number of additional clauses necessary to satisfy its contractual obligations.
   (d) The Contractor shall include the terms of this clause, including this paragraph (d), in
subcontracts awarded under this contract.

SECTION 5.61
NOTIFICATION OF EMPLOYEE RIGHTS UNDER NATIONAL LABOR RELATIONS ACT
(DEC 2010)

        (a) During the term of this contract, the Contractor shall post an employee notice, of such
size and in such form, and containing such content as prescribed by the Secretary of Labor, in
conspicuous places in and about its plants and offices where employees covered by the National
Labor Relations Act engage in activities relating to the performance of the contract, including all




                                            V-42                                           (FFS-2013)
    Case 2:19-cv-13497-SM-MBN               Document 1-2        Filed 11/07/19       Page 107 of 136




  places \\hcrc notices to employees arc cllslOmJril: posteci both physically and electronically. in
  the !:l!l~ll~lgt.:" employees speak. in ~lccorcL1!lce \\ith iC) erR 4712(d) ;md (1\
       (1) Physical posting or the employee notice shall be in conspicuous places in and about the
  Contractor's plants and offices so that the notice is prominent and readily seen by employees
 who are covered by the National Labor Relations Act and engage in activities related to the
  performance of the contract.
      (2) J r the COlHractur cLlstumarily pusts notices to employ ces electronically, then the
 Contractor shall also post the required notice electronically by displaying prominently, on any
 Web site that is maintained by the Contractor and is customarily used for notices to employees
 abullt ll'rms (lml conditionsur                                           or
                                     emploYll1enl. Cl link to tht.:' Department LClbor' s \\'eb silL that
 contains the full text of the poster. The link to the Department's Web sitc, as referenced in (b)(3)
 of this section. mllst read. "Important Notice about Employee Rights to Organize and Bargain
 Collectively with 'Their Employers."
      (b) This required employee notice, printed by the Department of LaboL may be-
      ( I ) ()bt~linl'd from the Di\ision of Interpretations and Standmds. Office of l.abor-
 iVlanagement Standards. U.S. Department of Labor. 200 Constitutiun A\·enue. NW .. Room:\-
 56()l). \Vashington. DC 20210. (202) 693-0123. or II"om any lielc! office of the Office of Labor-
 Management Standards or Ollice of Federal Contract Compliance Programs;
      (2) Provided by the Federal contracting agency if requested;
      (3) Downloaded from the Office of Labor-Management Standards Web site at
 http://1I'ww.dol.!{ovlo/ms/regs/complianceIEOJ 3496.hlm: or
      (4) Reproduced and used as exact duplicate copies of the Department of Labor's official
 poster.
      (c) The required text of the employee notice referred to in this clause is located at Appendix
 A, Subpart A, 29 CFR Part 471.
      (d) The Contractor shall comply with all provisions of the employee notice and related rules.
 regulations, and orders of the Secretary of Labor.
      (e) In the event that the Contractor does not comply with the requirements set forth in
 paragraphs (a) through (d) of this clause, this contract may be terminated or suspended in whole
 or in part, and the Contractor may be suspended or debarred in accordance with 29 CFR 471.14
and subpart 9.4. Such other sanctions or remedies may be imposed as are provided by 29 CFR
part 471, which implements Executive Order 13496 or as otherwise provided by law.
     (£) Subcontracts.
     (1) The Contractor shall include the substance of this clause, including this paragraph (£), in
every subcontract that exceeds $10,000 and will be perfOlmed wholly or partially in the United
States, unless exempted by the rules, regulations, or orders of the Secretary of Labor issued
pursuant to section 3 of Executive Order 13496 of January 30, 2009, so that such provisions will
be binding upon each subcontractor.
     (2) The Contractor shall not procure supplies or services in a way designed to avoid the
applicability of Executive Order 13496 or this clause,
     (3) The Contractor shall take such action with respect to any such subcontract as may be
directed by the Secretary of Labor as a means of enforcing such provisions, including the
imposition of sanctions for noncompliance.
(4) However, if the Contractor becomes involved in litigation with a subcontractor, or is
threatened with such involvement, as a result of such direction, the Contractor may request the




                                              VA3                                            (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                Document 1-2         Filed 11/07/19        Page 108 of 136




Linitecl St;ltes. through the Secretary or Lahor. \(l l'lller into such litigation to protect the interests
orthe lnitec! States.

SECTION 5.62
APPLICABLE LAW FOR BREACH OF CONTRACT CLAIM (OCT 2004) (FAR 52.233-4)

Lnited States layv will apply to resolve any claim ufbrcach urthis cuntract.

SECTION 5.63
CE,\TRAL CO'\iTR;\CTOR RUJISTR,\TI():\ (ITI5 2() I 2) (I;\R 52.20..).-7)

  (a) Definitions. As used in this clause~
    "Central Contractor Registration (CCR) database" means the primary Government repository
 for Contractor information required for the conduct of business with the Government.
    ""Data Universal Numbering System (Dl ''\!S) numher"" means the C)-digit number assigned hy
 Dun and Bradstreet. Inc. (D&13) to identify unique business entities.
    "Data Universal Numbering System -'-4 (DL1\S' -+) number-- means the DU'\!S number
 assigned by D&B plus a 4-character suffix that may be assigned by a business concern. (D&B
 has no affiliation with this 4-character suffix.) This 4-character suffix may be assigned at the
 discretion of the business concern to establish additional CCR records for identifying alternative
 Electronic Funds Transfer (EFT) accounts (see the FAR at Subpm1 32.11) for the same concern.
    "Registered in the CCR database" means thal~
      (l) The Contractor has entered all mandatory infornlalion, including the DUNS number or
the DUNS+4 number, into the CCR database; and
      (2) The Government has validated all mandatory data fields. to include validation of the
Taxpayer Identification Number (TIN) \\ilh the Internal Revenue Service (IRS), and has marked
the record "Active". The Contractor will be required 10 provide consent for TIN validation to the
Government as a part of the CCR registration process.
(b)(1) By submission of an offer, the offeror acknowledges the requirement that a prospective
awardee shall be registered in the CCR database prior to award, during performance, and through
final payment of any contract, basic agreement, basic ordering agreement, or blanket purchasing
agreement resulting from this solicitation.
      (2) The offeror shall enter, in the block with its name and address on the cover page of its
offer, the annotation "DUNS" or "DUNS +4" followed by the DUNS or DUNS +4 number that
identifies the offeror's name and address exactly as stated in the offer. The DUNS number will
be used by the Contracting Officer to verify that the offeror is registered in the CCR database.
(c) If the offeror does not have a DUNS number, it should contact Dun and Bradstreet directly to
obtain one.
      (1) An offeror may obtain a DUNS number~
         (i) Via the Internet at http://fedgov.dnb.com/webform or if the offeror does not have
internet access, it may call Dun and Bradstreet at 1-866-705-5711 iflocated within the United
States; or
         (ii) If located outside the United States, by contacting the local Dun and Bradstreet office.
The offeror should indicate that it is an offeror for a U.S. Government contract when contacting
the local Dun and Bradstreet office.
      (2) The offeror should be prepared to provide the following information:



                                              V-44                                             (FFS-2013)
   Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19      Page 109 of 136




         (i) ('\lllllxmy legal husiness,
         (ii) lrdckstyle. doing business. or other n:1I11(' b\ \\hich :'our entity is C()t11Ill()J:h
recognized.
         (iii) Company Physical Street Address, City, State, and ZIP Code.
         (iv) Company Mailing Address, City, State and ZIP Code (if separate fi'om physical).
         (v) Company Telephone Number.
         (vi) Date the company vvas staned.
         (vii) Number or employees at your location.
         (viii) Chief executive officer/key manager.
         (i:\) I.illt' ui' bu:,iness (industry),
         (:\) C'ol11pany Headquarters name and address (reponing relationship within your entity).
(d) Irthe Offeror does not become registered in the (CR database in the time prescribed by the
Contracting Officer, the Contracting Officer will proceed to award to the next otherwise
successful regiskred Offeror.
(e) Procl::'ssing time. \vhich normally takes 48 hours. should be taken into consicicrdlioll \\hell
registering. Offerors who are not registered should consider applying ror registration
imml::'diately upon receipt of this solicitation.
(1) The Contractor is responsible for the accuracy and completeness or the data within the CCR
database, and for any liability resulting from the Government's reliance on inaccurate or
incomplete data. To remain registered in the CCR database after the initial registration, the
Contractor is required to review and update on an annual basis from the date of initial
registration or subsequent updates its information in the CCR database to ensure it is currenL
accurate and complete. Updating information in the CCR does not alter the terms and conditions
of this contract and is not a substitute for a properly executed contractual document.
(g)
     (1)
         (i) If a Contractor has legally changed its business name, "doing business as" name, or
division name (whichever is shown on the contract), or has transfened the assets used in
performing the contract, but has not completed the necessary requirements regarding novation
and change-of-name agreements in Subpart 42.12, the Contractor shall provide the responsible
Contracting Officer a minimum of one business day's written notification of its intention to
(A) change the name in the CCR database; (B) comply with the requirements of Subpart 42.12 of
the FAR; and (C) agree in writing to the timeline and procedures specified by the responsible
Contracting Officer. The Contractor must provide with the notification sufficient documentation
to support the legally changed name.
         (ii) If the Contractor fails to comply with the requirements of paragraph (g)(1 )(i) of this
clause, or fails to perform the agreement at paragraph (g)(l)(i)(C) of this clause, and, in the
absence of a properly executed novation or change-of-name agreement, the CCR information
that shows the Contractor to be other than the Contractor indicated in the contract will be
considered to be inconect information within the meaning of the "Suspension of Payment"
paragraph of the electronic funds transfer (EFT) clause of this contract.
      (2) The Contractor shall not change the name or address for EFT payments or manual
payments, as appropriate, in the CCR record to reflect an assignee for the purpose of assignment
of claims (see FAR Subpart 32.8, Assignment of Claims). Assignees shall be separately
registered in the CCR database. Infonnation provided to the Contractor's CCR record that
indicates payments, including those made by EFT, to an ultimate recipient other than that



                                            V-45                                         (fFS-2013)
   Case 2:19-cv-13497-SM-MBN                Document 1-2         Filed 11/07/19       Page 110 of 136




Contractor \\ill be consiclereclto be incorrect infnrllldtion \\ithin the meming of the "Suspension
Ofp;lYl1lCnC' p,lragr,lph of the I~FT Cidll,)C ofthi,) C<1!ltrClCt.
(h) OlTerors and Contractors may obtain information on registration and annual confirmation
requirements via the internet at https://vvwvv.acquisition.gov or by calling 1-888-227-2423, or
269-961-5757.

SECllG]\, 5.6'-i
CONTRACTOR CODE OF BUSINESS LTI lies /\1\D CONDtJCT (APR 1010) (FAR 51.103-
13).

    (a) De.finiliol1s. As used in this clause--
    Agent means any individual. including a director. an officer. an employee. or an independent
Contractor, authorized to act on behalf of the organization.
    Full cooperot iOI1--(1) Means disclosure to the Ciovcrnment of the information sufficient for
law enforcement to identify the n,ltllrl' ,mel l':\tl'llt ol'the offense ,mel the inclividuals responsihle
for the conduct. It includes providing timely and complete response to Government auditors' and
investigators' request for documents and acce';') to employees with information:
   (2) Does not foreclose any Contractor rights arising in laV\, the lAR, or the terms of the
contract It does not require--
   (i) A Contractor to waive its attorney-client privilege or the protections afforded by the
attorney work product doctrine; or
   (ii) Any of1icer, director, owner, or employee of the Contractor, including a sole proprietor, to
waive his or her atto111ey client privilege or Fifth Amendment rights; and
   (3) Does not restrict a Contractor from--
   (i) Conducting an internal investigation: or
   (ii) Defending a proceeding or dispute arising under the contract or related to a potential or
disclosed violation.
   Principal means an officer, director, owner, partner, or a person having primary management
or supervisory responsibilities within a business entity (e.g., general manager; plant manager;
head of a division, or business segment; and similar positions).
   Subcontract means any contract entered into by a subcontractor to furnish supplies or services
for performance of a prime contract or a subcontract.
   Subcontractor means any supplier, distributor, vendor, or firm that furnished supplies or
services to or for a prime contractor or another subcontractor.
   United States means the 50 States, the District of Columbia, and outlying areas.
    (b) Code o.fbusiness ethics and conduct. (1) Within 30 days after contract award, unless the
Contracting Officer establishes a longer time period, the Contractor shall-
   (i) Have a written code of business ethics and conduct;
   (ii) Make a copy of the code available to each employee engaged in perfol1nance of the
contract
   (2) The Contractor shall--
  (i) Exercise due diligence to prevent and detect criminal conduct; and
  (ii) Otherwise promote an organizational culture that encourages ethical conduct and a
commitment to compliance with the law.
  (3)(i) The Contractor shall timely disclose, in writing, to the agency Office of the Inspector
General (OIG), with a copy to the



                                              V-46                                            (FFS-2013 )
   Case 2:19-cv-13497-SM-MBN                Document 1-2         Filed 11/07/19       Page 111 of 136




 Contr:lcting Officer. whenever. in connection \\ ith the ,1\\ (\rd. performance. or closeout o!' this
 l'ontr;lct or ,lI1\ suhcontract thereunder. the Cn!ltnlctor h;IS credihle e\ickncc til;ll ,1 Ilrim·ill;Ii.
 employee, agent, or subcontractor of the Cot1lractor has committed--
     (A) A violation of Federal criminal law involving fraud, conflict of interest, bribery, or
 gratuity violations found in Title 18 of the United States Code: or
     (8) A violation of the civil False Claims Act (31 U.S.c. 3729-
 3733).
     (ii) The Government, to the extent permitted by lavv and regulation, \vill safeguard and treat
 information ohtained pursuant to the Contractor's disclosure as confidential 'vvhere the
 ini'ormdtinn In-; lx'en marked" conficknti,\I" ur ., propriewr)" by the comp'll1).
 To the extent permitted by Im,I; and regulation, such information will not be released by the
 Government to the public pursuant to a Freedom oflnformation /'\ct request. .-; l.'.S,C. Section
552, without prior notification to the Contractor. The Government may transfer documents
provided by the Contractor to any department or agency within the Executive Branch if the
 information relates to matters within the organi7ation's jurisdiction,
     (iii) I f the \iolation relates to an order against a Governmentvvide acquisition contract. a l11ulti-
agency contract. a multiple-award schedule contract such as the Federal Supply Schedule. or any
other procurement instrument intended for use by multiple agencies, the ContraclOr shall nutify
the OIG of the ordering agency and the IG of the agency responsible for the basic contract.
     (c) Business ethics awareness and compliance program and internal control system. This
paragraph (c) does not apply if the Contractor has represented itself as a small business concern
pursuant to the award of this contract or if this contract is for the acquisition of a commercial
item as defined at FAR 2.101. The Contractor shall establish the following within 90 days after
contract award, unless the Contracting Officer establishes a longer time period:
    (1) An ongoing business ethics awareness and compliance program.
    (i) This program shall include reasonable steps to communicate periodically and in a practical
manner the Contractor's standards and procedures and other aspects of the Contractor's business
ethics awareness and compliance program and internal control system, by conducting effective
training programs and otherwise disseminating information appropriate to an individual's
respective roles and responsibilities.
    (ii) The training conducted under this program shall be provided to the Contractor's principals
and employees, and as appropriate, the Contractor's agents and subcontractors.
    (2) An internal control system.
    (i) The Contractor's internal control system sha11--
    (A) Establish standards and procedures to facilitate timely discovery of improper conduct in
connection with Government contracts; and
    (8) Ensure corrective measures are promptly instituted and carried out.
    (ii) At a minimum, the Contractor's internal control system shall provide for the following:
    (A) Assignment of responsibility at a sufficiently high level and adequate resources to ensure
effectiveness of the business ethics awareness and compliance program and internal control
system.
    (B) Reasonable efforts not to include an individual as a principal, whom due diligence would
have exposed as having engaged in conduct that is in conflict with the Contractor's code of
business ethics and conduct.




                                              V-47                                            (FFS-2013)
   Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 112 of 136




   (e) Periodic reviews orcomp(lny businc.s" l'i"'lCticL's. pruccclures.l'olicics. and intern;:)l controls
 for compliance \\ith thc Cnntractnr's cnck ()'·hll"inc's-.; L,thics ,mel conduct ,md the special
 req uiremel1ls of Government contract i ng. i ncl Lid i ng--
    (1) Monitoring and auditing to detect criminal conduct;
    (2) Periodic evaluation of the effectiveness of the husiness ethics awareness and compliance
 program and internal control system, especially if criminal conduct has been detected; and
    (3) Periodic assessment olthe risk olcriminal cunducL. V,iLh apprupriate steps tu de~ign,
 implement, or modify the business ethics a\\arencss and compliance program and the internal
 control system as necessary to reduce the risk of criminal conduct identified through this process.
    CD) An internal reporting l1lech,misl1l. sllch :h ,I h()tlil1l'. \\hich :.dlems rur :'1I1()nymity or
 confidentiality, by which employees may report sllspected instances of improper conducL. and
 instructions that encourage employees tn make sllch reports.
    (£) Disciplinary action for improper conduct or for failing to take reasonable steps to prevent
 or detect improper conduct.
    (F) Tinwly disclosure. in \\Titing. to thL' agL'IK: OIC!. \\ith ,1 copy to the Contracting Officer.
 vyheneveL in connection with the award. pc::rformance. or closeout or any Government contract
performed by the Contractor or a SUbCOlllr<lClOr thereunder. the Contractor has credible evidence
 that a principal, employee, agent, or subcontractor of the Contractor has committed a violation of
Federal criminal law involving fraud, conflict of interest, hribery, or gratuity violations found in
Title 18 U.S.c. or a violation of the civil False Claims Act (31 U.S.c. 3729-3733).
    (1) If a violation relates to more than one Government contract, the Contractor may make the
disclosure to the agency OIG and Contracting Officer responsible for the largest dollar value
contract impacted by the violation.
   (2) If the violation relates to an order against a Governmentwide acquisition contract, a multi-
agency contract, a multiple-award schedule contract such as the Federal Supply Schedule, or any
other procurement instrument intended for use by multiple agencies_ the contractor shall notify
the OIG of the ordering agency and the IG of the agency responsible for the basic contract, and
the respective agencies' contracting officers.
   (3) The disclosure requirement for an individual contract continues until at least 3 years after
final payment on the contract.
   (4) The Government will safeguard such disclosures in accordance with paragraph (b )(3)(ii) of
this clause.
   (G) Full cooperation with any Government agencies responsible for audits, investigations, or
corrective actions.
   (d) Subcontracts. (1) The Contractor shall include the substance of this clause, including this
paragraph (d), in subcontracts that have a value in excess of$5,000,000 and a perforn1ance
period of more than 120 days.
   (2) In altering this clause to identify the appropriate parties, all disclosures of violation of the
civil False Claims Act or of Federal criminal law shall be directed to the agency Office of the
Inspector General, with a copy to the Contracting Officer.

SECTION 5.65
EMPLOYMENT ELIGIBILITY VERIFICATION (JAN 2009) (FAR 52.222-54).

  (a) Definitions. As used in this clause--Commercially available off-the-shelf (COTS) item--
  (1) Means any item of supply that is--



                                              V-48                                           (FFS-2013)
   Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19      Page 113 of 136




    (i) :\ c()l1ll11crcial item (as defined in par~lgr~lph (1) oi'thc cktlnitinn at :2.101 ):
    (ii) --;\)ld ill SlIh<;t,lIlti;llljllantities ill the c()ll1ll1crci,ll l1lilrketl'l;lcl': ,lIlel
    (iii) UtTered to the Government, \vithout modification, in thl:: same form in \\hich it is sold in
 the commercial marketplace; and
    (2) Does not include bulk cargo, as defined in section 3 of the Shipping Act of 1984 (46
 USc. App. 1702), such as agricultural products and petroleum products. Per 46 CFR
 525.l(c)(2),·bulk cargo" means cargo that i~ loaded and carried in bulk un board ~hip \\itllllUl
 mark or count, in a loose unpackaged form, having homogenous characteristics. Bulk cargo
 loaded into intermodal equipmenL except LASH or Seabee barges. is subject to mark and count
 ,mel. rhcrcCurt'. CC,hCS to be bulk cargo.
    Employee assigned to the contract means an empluyee 'vvho was hired after i\ovember 6. ]l)86.
 who is directly performing work. in the United States. under a contract that is required to include
 the clause prescribed at 22.1803. An employee is not considered to be directly performing work
 under a contract if the employee--
    ( I) \"ormally pcrf'orms SliPPOr1 \\ork. such as indircct or o\CrhC,lcl Cunctions: ,mel
    (2) Does not perform any substantial duties applicablc to the contract.
    Subcontract means any contract. as defined in 2.101. entered intu by a subcontraclUr to furnish
 supplies or services for performance of a prime contract or a subcontract. It includes bUl is not
 limited to purchase orders, and changes and modifications to purchase orders.
    Subcontractor means any supplier, distributor, vendor, or firm that furnishes supplies or
 services to or for a prime Contractor or another subcontractor.
    United States, as defined in 8 U .S.c. 1101 (a)(38), means the 50 States, the District of
 Columbia, Puerto Rico, Guam, and the U.S. Virgin Islands.
    (b) Enrollment and verification requirements. (1) If the Contractor is not enrolled as a Federal
Contractor in E-Verify at time of contract award, the Contractor shaJl--
    (i) Enroll. Enroll as a Federal Contractor in the E-Verify program within 30 calendar clays of
contract award;
   (ii) Verify all new employees. Within 90 calendar days of enrollment in the E-Verify program,
begin to use E-Verify to initiate verification of employment eligibility of all new hires of the
Contractor, who are working in the United States, whether or not assigned to the contract, within
3 business days after the date of hire (but see paragraph (b)(3) of this section); and
   (iii) Verify employees assigned to the contract. For each employee assigned to the contract,
initiate verification within 90 calendar days after date of enrollment or within 30 calendar days
of the employee's assignment to the contract, whichever date is later (but see paragraph (b )(4) of
this section).
   (2) If the Contractor is enrolled as a Federal Contractor in E- Verify at time of contract award,
the Contractor shall use E-Verify to initiate verification of employment eligibility of--
   (i) All new employees. (A) Enrolled 90 calendar days or more.
The Contractor shall initiate verification of all new hires of the Contractor, who are working in
the United States, whether or not assigned to the contract, within 3 business days after the date of
hire (but see paragraph (b )(3) of this section); or
   (B) Enrolled less than 90 calendar days. Within 90 calendar days after enrollment as a Federal
Contractor in E-Verify, the Contractor shall initiate verification of all new hires of the
Contractor, who are working in the United States, whether or not assigned to the contract, within
3 business days after the date of hire (but see paragraph (b)(3) of this section); or




                                            V-49                                         (FFS-2013)
     Case 2:19-cv-13497-SM-MBN                 Document 1-2          Filed 11/07/19        Page 114 of 136




      (ii) Employees assigned to the contract. For edch l'mploYl'C dssignccl to the contract. the
   COlllr:1ClClr sh,111 initiate \crificcllio!1 \\ithinl)() L':lkmb' li,I\C; alter d,nt' of contract ,1\\(lrc! or
   within 30 clays after assignment to the contract. whichcver datc is later (but see paragraph (b)('+)
   of this section).
      (3) Jfthe Contractor is an institution of higher education (as defined at 20 U.S.c. 1001(a); a
   State or local government or the government of a Federally recognized Jndian tribe: or a surety
   performing under a takeover agrecment entcred intu '\ith d lederal agency pursuant to a
   performance bond, the Contractor may choose to verify only employees assigned to the contract.
   whether existing employees or new hires. The Contractor shall follow the applicable verification
   requirements at (b)( 1) or (h)(:2). rl'c;peCli\l'I). l',\cept th(lt elllY rcquiremcnt for wrific(ltion of ne\\
   employees applies only to new emplo)ees assigned to the contract.
      (4) Option to verify employment eligibility orall employees.
   The Contractor may elect to verify all existing employees hired after November 6, 1986, rather
   than just those employees assigned to the cuntract. The Contractor shall initiate verification for
   each existing employee wurking in the C;nitcd St,Ill'S \\ho \\:15 hired after
   November 6. 1986. \\ithin 180 calendar da\~ of--
      (i) Enrollment in the I:-:-Verify program: or
      (ii) Notification to Eo. Verify Operations or the Cuntractor's decision to exercise this option,
   using the contact information provided in the E-Verify program Memorandum of Understanding
   (MOU).
      (5) The Contractor shall comply, for the period of performance of this contract, with the
  requirements of the E-Verify program MOU.
      (i) The Department of Homeland Security (DBS) or the Social Security Administration (SSA)
  may terminate the Contractor's MOU and deny access to the E-Verify system in accordance with
  the terms of the MOU. In such casco the Contractor \vilI be referred to a suspension or debarment
  oflicial.
     (ii) During the period between termination of the MOU and a decision by the suspension or
  debarment official whether to suspend or debar, the Contractor is excused from its obligations
  under paragraph (b) of this clause. If the suspension or debarment official determines not to
  suspend or debar the Contractor, then the Contractor must reenroll in E-Verify.
     (c) Web site. Information on registration for and use of the E-Verify program can be obtained
  via the Internet at the Department of Homeland Security Web site: http://www.dhs.gov/E-Verify.
     (d) Individuals previously verified. The Contractor is not required by this clause to perform
  additional employment verification using Eo. Verify for any employee--
     (1) Whose employment eligibility was previously verified by the Contractor through the E-
. Verify program;
     (2) Who has been granted and holds an active U.S. Government security clearance for access
  to confidential, secret, or top secret infonnation in accordance with the National Industrial
  Security Program Operating Manual; or
     (3) Who has undergone a completed background investigation and been issued credentials
  pursuant to Homeland Security Presidential Directive (HSPD)-12, Policy for a Common
  Identification Standard for Federal Employees and Contractors.
     (e) Subcontracts. The Contractor shall include the requirements of this clause, including this
  paragraph (e) (appropriately modified for identification of the parties), in each subcontract that-
     (1) Is for--(i) Commercial or noncommercial services (except for commercial services that are
  part of the purchase of a COTS item (or an item that would be a COTS item, but for minor



                                                  V-50                                              (FFS-2013)
   Case 2:19-cv-13497-SM-MBN              Document 1-2        Filed 11/07/19      Page 115 of 136




1110clificCltions). performed by the COTS pr<wicler. and (Ire normally pro\'idecl for th~ll COTS
i lL'111 ): or
      (ii) Construction;
     (2) Has a value of more than $3,000; and
      (3) Includes work performed in the United States.

SLC I lU;'\ 5.60
UPDATES OF PUBLICALL Y AVAILABLE INfORMJ\TION REGARDING
RESPONSIBILITY MATTERS (FEB 2012) (FAR 52.209-9)

         (a) The Contractor shall update the information in the J'ederal Awardee Performance and
integrity In rorm(l(ion System (FAPIIS) on a semi-annual basis. througllout the Iife of the
contract. by posting the required information in the Central Contractor Registration database via
https:!/\v\v\\.acquisition.S!.ov.
         (h) As required hy section JOIO ol'the Supplemental Approprimions Act. 2010 (Puh. I.
111-212). all information posted in FAPIIS on or after April 15.20 II. except past perfurmance
revie\vs. will be publicly available. FAPI1S consists oft'vvo segmenls-

          (1) The non-public segment, into which Government officials and the Contractor post
 information, which can only be viewed by-
         (i) Government personnel and authorized users performing business on behal f of the
 Government; or
         (ii) The Contractor, when viewing data on itself; and
         (2) The publicly-available segment, to which all data in the non-public segment of
F APIIS is automatically transferred after a waiting period of 14 calendar days. except for-
         (i) Past performance reviews required by subpart 42, J 5:
         (ii) Inforn1ation that was entered prior to April 15, 2011; or
         (iii) Information that is withdrawn during the 14-calendar-day waiting period by the
Government official who posted it in accordance with paragraph (c)( 1) of this clause.
         (c) The Contractor will receive notification when the Government posts new information
to the Contractor's record.
         (1) If the Contractor asserts in writing within 7 calendar days, to the Government official
who posted the information, that some of the information posted to the non-public segment of
F APIIS is covered by a disclosure exemption under the Freedom of Information Act, the
Government official who posted the information must within 7 calendar days remove the posting
from F APIIS and resolve the issue in accordance with agency Freedom of Infonnation
procedures, prior to reposting the releasable information. The contractor must cite 52.209-9 and
request removal within 7 calendar days of the posting to F APIIS.
         (2) The Contractor will also have an opportunity to post comments regarding information
that has been posted by the Government. The comments will be retained as long as the associated
information is retained, i.e.:-, for a total period of 6 years. Contractor comments will remain a part
of the record unless the Contractor revises them.
         (3) As required by section 3010 of Pub. L 111-212, all information posted in FAPIIS on
or after April 15,2011, except past performance reviews, will be publicly available.
        (d) Public requests for system information posted prior to April 15,2011, will be handled
under Freedom of Information Act procedures, including, where appropriate, procedures



                                            V-51                                         (FFS-2013)
   Case 2:19-cv-13497-SM-MBN               Document 1-2        Filed 11/07/19       Page 116 of 136




promulgated under E.O. 12600.

SECTIUN 5.67
PERSONAL IDENTITY VERIFICATION OF CONTRACTOR PERSONNEL (JAN 201 1)
(FAR 52.204-9)

   (a) The Contractor shall comply with agency personal identity veriJication procedures
identified in the contract that implement Homeland Security Presidential Directive- 12 (l-ISPD-
 12). Office of Management and Buclget (( )\18) guid,ll1ce 1\,,1-05-24 and Federal Information
Processing Standards Publicatioll (lIPS Ill'B) :-\ul11ber 201.
   (b) The Contractor shall account fl,r ,til fl)J'Jl1S orC;o\,ernment-provided identification issued to
the Contractor employees in connection with performance under this contract. The Contractor
shall return such identification to the issuing agency at the earl iest of any of the follc)\ving, unless
otherwise determined bv the (;O\erl1mellt:
   (1) When no longer needed for contract pcrilm11Cll1ce.
   (2) Upon completion of the Contractor employee' s employment.
   (3) Upon contract completion or termination.
   (c) The Contracting Officer may delay final payment under a contract if the Contractor fails to
comply with these requirements.
   (d) The Contractor shall insert the substance of this clause, including this paragraph (d), in all
subcontracts when the subcontractor's employees are required to have routine physical access to
a Federally-controlled facility and/or routine access to a Federally-controlled information
system. It shall be the responsibility of the prime Contractor to return such identification to the
issuing agency in accordance with the terms set forth in paragraph (b) of this section. unless
otherwise approved in writing by the Contracting OfTicer.

[Note: For purposes of this Contract, a Federally-controlled information system means the OPM
Letter of Credit System.]

SECTION 5.68
PRIVACY OR SECURITY SAFEGUARDS (AUG 1996) (FAR 52.239-1)

   (a) The Contractor shall not publish or disclose in any manner, without the Contracting
Officer's written consent, the details of any safeguards either designed or developed by the
Contractor under this contract or otherwise provided by the Government.
   (b) To the extent required to carry out a program of inspection to safeguard against threats and
hazards to the security, integrity, and confidentiality of Government data, the Contractor shall
afford the Government access to the Contractor's facilities, installations, technical capabilities,
operations, documentation, records, and databases.
   (c) If new or unanticipated threats or hazards are discovered by either the Government or the
Contractor, or if existing safeguards have ceased to function, the discoverer shall immediately
bring the situation to the attention of the other party.

[Note: For purposes of this Contract and this clause, privacy or security safeguards pertain to the
OPM Letter of Credit System.]



                                             V-52                                           (FFS-2013)
   Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19     Page 117 of 136




SU"II()N ~"()9
LNCOURAlil\:li CONTRACTOR POLICIES TO DAN TEXT MESSACjl1\Ci WIIILE
DRIVING (AUG 2011) (FAR 52.223-18)

 (a) Definitions. As used in this clause--
     "Uri\ing'"-
         (1) Means operating a motor vehicle on an acti\"e roadway \vith the motor running.
including while temporarily stationary because of traffic a traffic lighL stop sign. or otherwise.
         (:2) Docs not include operating d mutor \chicle \\ith or \\itlwut the l11utor running \\hcn
one has pulled over to the side of or off an active roadway and has halted in a location where
one can safely remain stationary.
     --Text messaging" means reading il'om or entering data into any handheld or other electronic
de\ice. including for the purpose or shon message service texting, e-mailing, instant messaging,
ohtdining n;l\igational information. or engaging in (In) other form ofeJectronic dat~l rctrie\al or
electronic data communication. The term does not include glancing at or listening to a
!1a\igational de\"ice that is secured in a commercially designed holder affixec1to thc \chicle.
provided that the destination and route are programmed into the device either before driving or
while stopped in a location off the roadway where it is safe and legal to park.
(b) This clause implements Executive Order 13513, Federal Leadership on Reducing Text
Messaging While Driving, dated October 1,2009.
(c) The Contractor is encouraged to-
         (1) Adopt and enforce policies that ban text messaging while driving-
                 (i) Company-owned or -rented vehicles or Government-owned vehicles; or
                 (ii) Privately-owned vehicles when on official Government business or when
performing any \"iork for or on behalf of the Government.
         (2) Conduct initiatives in a manner commensurate with the size of the business, such as-
                 (i) Establishment of new rules and programs or re-evaluation of existing
         programs to prohibit text messaging while driving; and
                 (ii) Education, awareness, and other outreach to employees about the safety risks
associated with texting while driving.
(d) Subcontracts. The Contractor shall insert the substance of this clause, including this
paragraph (d), in all subcontracts that exceed the micro-purchase threshold.




                                           V-53                                         (FFS-20 13)
Case 2:19-cv-13497-SM-MBN   Document 1-2   Filed 11/07/19   Page 118 of 136




                       APPENDIX A




                              2013




                      Brochure Text

   For a copy of the 2013 brochure, please go to www.fepblue.org.




                                                             (FFS-2013)
   Case 2:19-cv-13497-SM-MBN             Document 1-2       Filed 11/07/19     Page 119 of 136




                                          APPE~DIX B


         SUBSCRIPTION RATES, CHARGES, ALLOWANCES AND LIMITATIONS

                                     fec-For-Service Carrier

                            (Blue Cross aml Blue Shield Association)
                                   CONTRACT NO. CS 1039
                                    Effective January 1.2013


   (al Biweekly net-to-carrier rates. vvith appropriate adjustments for Enrollees paid on other
than a biweekly basis, are as follows:

Standard Option                                              Basic Option

Self Only           5266.11                                  Sell' Only            5227.21
Self and Family     £601.05                                  Self and Family       £532.02

    (b) The amount of administrative expenses and charges to be included in the Annual
Accounting Statement required by Section 3.2 shall be as set out in the schedule below:

                  Item                                              Amount

   (i) Administrative Expenses           ActuaL but not to exceed the Contractual Expense Limitation
                                         for 2013.* plus an amount sufficient to cover the costs
                                         needed to pay the Plan's Independent Public Accountant to
                                         undertake the audits and agreed upon procedures required in
                                         the "FEHBP Experienced-Rated Canier and Service
                                         Organization Audit Guide."




   (ii) Taxes                            Actual (except that premium taxes as defined are not
                                         allowable).

   (iii) Service Charge                    REDACTED


        *The Contractual Expense Limitation for 2013 is the Contractual Expense Limitation for
2012 (     REDACTED        ), plus or minus adjustments for inflation and enrollment changes.
Notwithstanding Section 3 .2(b) ofthis Contract, costs of "activities that improve health care
quality", as detennined in accordance with the medical loss ratio provision of the Affordable
Care Act (Section 2718 of the Public Health Service Act; 42 U.S.c. § 300gg-18, and its
implementing regulations), are accounted for as benefits and are not counted toward the



                                                 B                                     (FFS-2013)
  Case 2:19-cv-13497-SM-MBN               Document 1-2         Filed 11/07/19       Page 120 of 136




C ont ractual F:-;pense Li III it. The base shall be adj listed by percentage changes in enrollment
(frolll OP\1\ \!larch :?OJ:? to March :?()l] hcaclcolillt) ane! hy the percentage ch'lngc in the
an:rage monthly Consumer Price Index for All Lrban Consumers (published monthly by the
Bureau of Labor Statistics) from the 12 month period ending on June 30, 2012, to the 12 month
period ending on June 30. 2013.




                                                   B                                        (FFS-2013)
     Case 2:19-cv-13497-SM-MBN           Document 1-2        Filed 11/07/19      Page 121 of 136




                                       APPE;\DIX C
                            FEHB Supplemental Literature Guidelines
                                       (RY JAN 2(13)

       This is the primary guide a Carrier shuuld u~e lu a~se~s whether the Carrier's
supplemental marketing literature. including website material, complies 'vvith FEHBAR 1603.70,
Misleading, Deceptive or Unt~lir Advertising. (Use the NAIC Guidelines for additional guidance
when needed.)

a)   GENERAL
         1. Section 1.13 of the FEH8 COI1lract requires that the Carrier may not distribute or
display marketing materials or other supplemental literature (including provider directories) in a
Federal or Tribal Employer facility or arrangL' I~)I' the' distribution or such documents by Federal
agencies or Tribal Employers unless the doclll1lc11lS haw been prepared in accordance "vith
FEHBAR 1652.203-70. and the Carrier has certi llcd to OPM lhat is the case.
         2. Review supplemental marketing material for eumpliance each year, whether or not it
changed from the past year.
         3. Word the literature simply and concisely to get a readily understandable, attractive
marketing piece.
         4. Include sufficient detail to ensure accuracy.
         5. Under the FEHBP, the FEI--IB brochure is based on text approved by OPM and is a
complete statement of benefits, limitations, and exclusions. Include the following statement
(website material should include the statement as a preface) in all supplemental literature which
in any way discusses Plan benefits:
         "This is a summary [or brie/description} o/thejeatures o/the [insert Plan's name).
Before making ajinal decision, please read the Plan's Federal brochure ([insert brochure
number]). All benejits are subject to the dejinit ions, limitations, and exclusions set forth in the
Federal brochure. "
        6. You may include non-FEHBP benefits, i.e., benefits which are not FEHB benefits and
are not guaranteed under the Federal contract with the following disclaimer:
        "These benefits are neither offered nor guaranteed under contract with the FEHB
Program, but are made available to all Enrol1ees and family members who become members of
[insert Plan's name)."
        7. Supplemental literature must be clearly distinguishable from the Federal brochure.
        8. Do not use the FEHB logo in your supplemental literature.
        9. Do not use material which conflicts with the Federal brochure. If your material
conflicts, you must change the material or not distribute it.

b)      RATE PRESENTATIONS
        Under the FEHBP there are only two categories of enrollment, Self Only and Self and
Family. For most enrollments, the premium for each Enrollee's enrollment is shared between the
Enrollee and the Government or Tribal Employer. The Government or Tribal Employer
contribution is based on the formula provided in the FEHB law. Deductions for most Enrollees'
share, along with the Government's contribution or Tribal Employer's contribution, are made in
accordance with the schedule on which the employee, Tribal Employee, or annuitant's (retiree)


                                                C-l                                      (FFS 2(13)
     Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19       Page 122 of 136




s:tiary or annuitant check is issued hy the Enrollee's agency. Tribal Employer. or rl,ti!"l.'c\
ITtirt'ment s\slem. \jost empl():l'l'S :lrl' paid hiweekly. /\nnuitants arc issued nWllthh chc'cb.
          Employees. Tribal Employees, and annuitants do not have separate categories ur
enrollment. They pay the same rates, whether on a biweekly, semimonthly, or monthly basis,
and receive the same benefits when they are in the same FEHB Plan, except that active Postal
employees pay a lesser share. as their cost sharing formula with the Postal Service calls for a
greater (j0\erl1ment cuntribution.
          The Enrollee's share fur each FEI·lB Plan for each type of enrollment (Sell' Only. Self and
Family) is listed in the Guide to Federal Benefits. This Guide is prepared each Open Season and
is distributed dirl'l,tly to agencil's by OP\1: thty in turn distribute the CJuidc to cmplll: L'l'c,. lhl'
Guide will be mack available to Tribal Employers to distribute to Tribal Employees. Bi\\eekl)
and monthly rates are also shown on an insert you prepare for your brochure. Separate guides
are prepared for special groups of Enrollees, including those for which the agency or Tribal
Employer makes no premium contribution, such as former spouses and employees and I'amil)
membL'rs with temporarily continued cO\'erage.
          In making your rate presentations:
          1. With the exception of the Summary of Bencfits and Coverage rei'erencl'd at section
 J .J3(e), list your FEHB rates in each piece ofsupplememall11aterial which lists bene!its. Do not
list the rates of any competitor Plan.
          2. Immediately above the rates include the following statement:
          "These rates do not apply to all Enrollees. If you are in a special enrollment category,
please refer to your special Guide to Federal Benefits or contact the agency or Tribal Employer
which maintains your health benefits enrollment."
          3. If you wish to list Postal rates in addition to non-Postal rates, Postal and non-Postal
rates should be clearly identified and listed separately. (Please note there are no monthly Postal
rates: upon retircment. Postal employees receive the non-postal contribution.)

c)   BENEFIT PRESENTATIONS
         Please note the following:
         1. Do not compare your benefits or operations with that of any other Plan.
        2. Accurately describe your FEHB benefits offering.
        3. A void incomplete or overstated benefit descriptions, or those which conflict with the
Federal brochure.
        4. Show applicable coverage limitations, such as day or dollar limitations, coinsurance or
deductibles.
        5. Do not list exclusions and limitations not listed in the Federal brochure.
        6. Do not include general references not in the brochure.
        7. Do not reference coverage for which a Federal employee, Tribal Employee, or retiree
would have to drop FEHB coverage. Exception: 5 CFR 890.301 provides that an annuitant or
former spouse, as defined in 5 U.S.C. 8901 (1 0), who cancels FEHBP enrollment for the purpose
of enrolling in a prepaid health Plan under sections 1833 or 1876 of the Social Security Act may
register to re-enroll. Therefore, if yours is such a prepaid Plan contracting with Medicare you
must describe your Medicare supplemental program for Medicare-covered retirees.

d)  ENROLLMENT INSTRUCTIONS
       Enrollment under the FEHBP is governed solely by the Federal Employees Health
Benefits law and applicable regulations. The various Federal agencies and Tribal Employers
have responsibility for administering the law and regulations during the annual open enrollment

                                                   C-2                                        (FFS2013)
   Case 2:19-cv-13497-SM-MBN                Document 1-2        Filed 11/07/19        Page 123 of 136




 period (Open Season) and at all other timl's during thl' :l'~lr. /\gency and Tribal Employer
 personnel otTices perform the basic 11l'~tlth helle'lite; functions. slich as instrllcting l'ml,!nyet's
 about the conduct of the Open Season and other health benelits matters, answering employee
 questions, and processing elections and changes of enrollment including determinations of
 eligibility and assignment of effective dates of coverage. Agency and Tribal Employer payroll
 offices make the necessary salary deductions.
          The Federal instrument for electing tv enrvll in a Plan ur changing an existing enrullmel1l
 in a Plan from Self Only to Selfandl·'amily (or the rnerse) is the Standard Form (SF) 2809, or
 alternative electronic or telephonic method approved by OPM. Caniers must be able to accept
 electronic file transfers. The effeCli\e dill\: I()r Upen Sl>~lSlln t'l1rullmcnts is the first day of the
 first pay period which begins on or aller January I Cor 1'll1ployecs: the effective date generally is
 January 1 for annuitants and Tribal Employees, The specific eiTective date for an individual will
 be assigned by the individual's personnel oflice,
          Covered Family Members arc as delined in the FEI lB regulations, Basically, Family
 f\,1embers are immediate L1I11ily memhers. including Sl'(lUSC elml children under age 26. When
 Self and Family coverage is established Cor an individual. all l~lmily members as defined under
the regulations are automatically covered as 01' the ellcctiw elate assigned by the personnel
oLTice, whether or not they are listed on the SI n09, 011 other documents, or communicated by
electronic or telephonic transmittal. Family members (e,g., newborns) who are added under an
existing Self and Family enrollment are automatically covered from the date the individual
becomes a family member, e,g., from birth. Personnel offices do not issue any notification when
a new Family Member is added under an existing Self and Family enrollment and the Enrollee
does not submit a new SF 2809 or other election instrument.
         The agencies and Tribal Employers are the primary contact point for employees and
Tribal Employees on health benefits enrollment matters. OPM's Office of Retirement Programs
performs this function for annuitants (retirees). As highlighted belov,'. Carriers may not impose
their own enrollment requirements and procedures.
          1. Do not give specific instructions on enrollment. Statements regarding election of
coverage or change of enrollment procedures, requirements, or eligibility must be limited to
referring individuals to their personnel office for the appropriate instructions; your plan's Self
Only and Self and Family enrollment codes; and notice for retirees to contact their retirement
system for instructions,
         2. While the Carrier may ask Enrollees for information (see Section f) and may follow-
up with Enrollees and, when necessary, the employing office, the Carrier will not require a
member complete plan specific enrollment or application forms, (You may ask the Enrollee to
complete "information" forms.) You may ask the Enrollee to keep you advised of family
member changes and you may verify the change, but failure to complete a form does not render
an eligible Family Member ineligible.
         3. Personnel offices will not stock your Plan's forms. Do not indicate otherwise.
         4. If supplemental literature is directed to potential members rather than just-enrolled
members, do not include statements indicating otherwise.
         5. Again, the Federal brochure, rather than any other plan document, is the Member's
complete statement of benefits. Do not indicate otherwise.
e) PROVIDER DIRECTORIES
         The provider directory must conform to the requirements listed below. Carriers must
provide access to the provider directory on their website and send a provider directory to any
Enrollee who requests one,


                                                   C-3                                        (FFS 2013)
   Case 2:19-cv-13497-SM-MBN                Document 1-2         Filed 11/07/19       Page 124 of 136




           Please nolC' that ~l Fl'dcral employee. Trihal Employec. or ()nnllit~lJlt chu(lsing :ollr Plan
durin~ thl' Open Sl'~lslln is duing su \\ith the c\pectation that the Plan's pn)\ic\ct' dirl'ctol"\ is
accurate and that providers shovvn \\ill be ava'ilable starting January I.
           I. Show the Plan's hospitals, individual physicians, and group practice medical facilities.
State the addresses of the medical facilities and show the general location within the service area
for individual doctors and hospitals.
           2. In the directory. display prominently the following statement: "Il is important lu knov\
vvhen you enroll in this Plan. benefits are available as described in the Plan's Federal brochure.
but the continued participation of anyone doctor. hospital or other provider cannot be
gllar~lt1tcl'll. "
           3. Do not list enrollment or eligibility requirements on the provider directory.

f) INFORMATION FORMS
          You may distribute forms to obtain information from Enrollees about the Enrollee and
~1l1y F'C1J11ily :V1cmbers. For instance. to obtain the information regarding :-vJcclictre :()LI \\ill need
for rate-setting purposes under the Federal Program. you may ask who is enrollee! under
Medicare Part A. Medicare Part 8 or Medicare Parts A and 8. For anothcr e\Clmpk. Cmriet's
may ask that a primary care doctor be selected for a Point of Service product. Ifyoll wish to
distribute an information form, you may find such forms are more readily returned if they are
postage-paid. Do not indicate enrollment in the Plan is contingent upon completing and returning
the form.




                                                   C-4                                        (FFS 2013)
     Case 2:19-cv-13497-SM-MBN            Document 1-2       Filed 11/07/19     Page 125 of 136




                                         .\PPF\DIX D
                          RLLES FOR COORDL\.\TIO\' OF BE\'EFITS
                                Model Regulation Service--.Iuly 2005
                          National Association of Insurance Commissioners

When a person is covered by two (2) or more plans. the rules for determining the order of benefit
payments are as follows:

       A.     (1)    The primary plan shall payor provide its benefits as if the secondary plan or
                     plans did nOll'\ist.

              (2)    If the primary plan is ~l closed panel plan and the secondary plan is not a
                     closed panel plan, the secondary plan shall payor provide benefits as if it
                     were the primary plan vvhen a covered person uses a non-panel provider,
                     except fl!r emergency seniccs or ~luthorilCcl referrals that are paid or
                     provided by the primary plan.

              (3)    When multiple contracts providing coordinated coverage are treated as a
                     single plan under this regulation, this section applies only to the plan as a
                     whole, and coordination among the component contracts is governed by the
                     terms of the contracts. If more than one carrier pays or provides benefits
                     under the plan, the carrier designated as primary within the plan shall be
                     responsible for the plan's compliance w'ith this regulation,

              (4)    If a person is covered by more than one secondary plan, the order of benefit
                     determination rules or this regulation decide the order in which secondary
                     plans benefits are determined in relation to each other. Each secondary plan
                     shall take into consideration the benefits of the primary plan or plans and the
                     benefits of any other plan, which, under the rules of this regulation, has its
                     benefits detern1ined before those of that secondary plan.

      R       (1)    Except as provided in Paragraph (2), a plan that does not contain order of
                     benefit determination provisions that are consistent with this regulation is
                     always the primary plan unless the provisions of both plans, regardless of the
                     provisions of this paragraph, state that the complying plan is primary.

              (2)    Coverage that is obtained by virtue of membership in a group and designed to
                     supplement a part of a basic package of benefits may provide that the
                     supplementary coverage shall be excess to any other parts of the plan
                     provided by the contract holder. Examples of these types of situations are
                     major medical coverages that are superimposed over base plan hospital and
                     surgical benefits, and insurance type coverages that are written in connection
                     with a closed panel plan to provide out-of-network benefits.




                                          D-1                                     (FFS-2013)
      Case 2:19-cv-13497-SM-MBN                 Document 1-2        Filed 11/07/19        Page 126 of 136




        C.      ;\ pl~lIl 111:1: t~lke into c()nsider~1tion the benefits jX1icl or prmickd h: :lllllthcr pl'lIl
                onl: \\hCl1. L1ncler thc rules or this rcgulation. it is seconci:lr: ttl th,lt tHhl'I' :+tIl.

        D.      Order of Benefit Determination

                Each plan cletermines its order of benefits using the first of the follovving rules that
                appjie~:


                (1)     Non-Dependent or Dependent

                        (a)     Subject to Subparagraph (b) of this paragraph. the plan that covers the
                                person other than as a dependent. for e'\ample ,1S an cmploycc.
                                member, subscriber, policyholder or retiree. is the primary plan and
                                the plan that covers the person as a dependent is the secondary plan.

                        (b)     (i)      If the person is a Medicare beneficiary. and. as a rcsult the  or
                                         provisions of Title XVIII of thc Social Securit\ ;\ct ane!
                                         implementing regulations, Medicare is:

                                        (1)      Secondary to the plan covenng the person as a
                                                 dependent; and

                                        (II)     Primary to the plan covering the person as other than a
                                                 dependent (e.g. a retired employee),

                                Cii)    Then the order of benefits is reversed so that the plan covering
                                        the person as an employee, member, subscriber, policyholder
                                        or retiree is the secondary plan and the other plan covering the
                                        person as a dependent is the primary plan.

Drafting Note: The provisions of Subparagraph (b) address the situation where federal law requires
Medicare to be secondary with respect to group health plans in certain situations despite state law
order of benefit detennination provisions to the contrary. One example of this type of situation
arises when a person, who is a Medicare beneficiary, is also covered under his or her own group
health plan as a retiree and under a group health plan as a dependent of an active employee. In this
situation, each of the three plans is secondary to the other as the following illustrates: (1) Medicare
is secondary to the group health plan covering the person as a dependent of an active employee as
required pursuant to the Medicare secondary payer rules; (2) the group health plan covering the
person as a dependent of an active employee is secondary to the group health plan covering the
person as a retiree, as required under Subparagraph (a); and (3) the group health plan covering the
claimant as retiree is secondary to Medicare because the plan is designed to supplement Medicare
when Medicare is the primary plan. Subparagraph (b) resolves this problem by making the group
health plan covering. the person as a dependent of an active employee the primary plan. The
dependent coverage pays before the non-dependent coverage even though under state law order of.
benefit detennination provisions in the absence of Subparagraph (b), the non-dependent coverage
(e.g. retiree coverage) would be expected to pay before the dependent coverage. Therefore, in cases
that involve Medicare, generally, the dependent coverage pays first as the primary plan, Medicare


                                               D-2                                       (FFS-20 13)
              Case 2:19-cv-13497-SM-MBN             Document 1-2        Filed 11/07/19       Page 127 of 136




        pays second as the seconcian plilil. Clnd thl' non-dcpl'ndcnt l'tl\erilgc (e.g. rl,tirec cO\crage) pays
        third.

        The reason why Subparagraph (b) provides for this order of benefits making the plan covering the
        person as dependent of an active employee primary is because Medicare will not be primary in most
        situations to any coverage that a dependent has on the basis of active employment and, as such,
        Medicare will not provide any infurmatiul1 as tu \\!1at ;Vledicare \",oLlld have paid had it been
        primary. The plan covering the person as a retin:~e cannot determine its payment as a secondary plan
        unless it has information about what the primary plan paid. The plan covering the person as a
        dependent of an active emplo: ee cOlild hl' ~llhicCl tn I,ellitltil'~ under the \1cdicare secondary payer
        rules if it refuses to pay its benefits. The plan covering the person as a retiree is not subject to the
        same penalties because. in this particular situation. as descrihed above. which docs not imolve a
        person eligible for Medicare based on end-stage renal disease (ESRD), the plan can never be
        primary to Medicare. As such, out of the three plans providing coverage to the person, the plan
        covering the person as a dependent nCan ilcti\e employee c<tn determine its benefits most easily.

                       (2)     Dependent Child Cmnec! tnder Vlore Than One Plan

                               Unless there is a court decree stating otherwise, plans covering a dependent
                               child shall determine the order of benefits as follows:

                               (a)     For a dependent child whose parents are married or are living
                                       together, whether or not they have ever been malTied:

                                       (i)     The plan of the parent whose birthday falls earlier 111 the
                                               calendar year is the primary plan: or

                                       (ii)    If both parents have the same birthday, the plan that has
                                               covered the parent longest is the primary plan.

                               (b)     For a dependent child whose parents are divorced or separated or are
                                       not living together, whether or not they have ever been married:

                                       (i)    If a cOUJi decree states that one of the parents is responsible
                                              for the dependent child's health care expenses or health care
                                              coverage and the plan of that parent has actual knowledge of
                                              those terms, that plan is primary. If the parent with
                                              responsibility has no health care coverage for the dependent
                                              child's health care expenses, but that parent's spouse does,
                                              that parent's spouse's plan is the primary plan. This item shall
                                              not apply with respect to any plan year during which benefits
                                              are paid or provided before the entity has actual knowledge of
                                              the court decree provision;

                                              (ii)If a comi decree states that both parents are responsible
                                              for the dependent child's health care expenses or health
                                              care coverage, the provisions of Subparagraph (a) of this
                                              paragraph shall determine the order of benefits;
,,' .
                                                   D-3                                      (FFS-2013)
      Case 2:19-cv-13497-SM-MBN                 Document 1-2       Filed 11/07/19      Page 128 of 136




                               (iii)   II' (l court decree stzllcs that thc pZlrl'nh h~l\ci()illt CLlst()c\:
                                       without specifying that one parent has responsibility for the
                                       health care expenses or health care coverage of the dependent
                                       child, the provisions of SUbparagraph (a) of this paragraph
                                       shall determine the order of benefits: or

                               (iv)    If there is no court decree allocating responsibility for the
                                       child's health care expenses or health care covcrage. the order
                                       of bene filS for the chile! me as flllkl\\s:

                                       (1)       The plan covering the custodial parcllt:

                                       (II)      The plan covering the custodial parent's spouse:

                                       (1Jl)     The plan covering the non-cLlstodial p,lrl'nt: and then

                                       (l V)     The plan covering the non-custodial parem' s spouse.

                       (c)     F or a dependent child covered under more than one plan of
                               individuals who are not the parents of the child. the order of benefits
                               shall be detennined, as applicable, under Subparagraph (a) or (b) of
                               this paragraph as if those individuals were parents of the child.

Drafting Note: Subparagraph (e) addresses the situation where individuals other than the parents of
a child are responsible for the child's health care expenses or provide health care cmcrage for the
child under each of their plans. In this situation, for the purpose of determining the order of benefits
under this paragraph, Subparagraph (c) requires that these individuals be treated in the same manner
as parents of the child.

               (3)     Active Employee or Retired or Laid-Off Employee

                       (a)    The plan that covers a person as an active employee that is, an
                              employee who is neither laid off nor retired or as a dependent of an
                              active employee is the primary plan. The plan covering that same
                              person as a retired or laid-off employee or as a dependent of a retired
                              or laid-off employee is the secondary plan.

                       (b)    If the other plan does not have this rule, and as a result, the plans do
                              not agree on the order of benefits, this rule is ignored.

                       (c)    This rule does not apply if the rule in Paragraph (1) can detem1ine the
                              order of benefits.

Drafting Note: This rule applies only in the situation when the same person is covered under two
plans, one of which is provided on the basis of active employment and the other of which is
provided to retired or laid-off employees. The rule in Paragraph (1) does not apply because the
person is covered either as a non-dependent under both plans (i.e. the person is covered under one

                                               D-4                                    (FFS-2013)
      Case 2:19-cv-13497-SM-MBN                 Document 1-2          Filed 11/07/19        Page 129 of 136




plan as an active employee and ~It till' S~lnlL' tinll' is c()\erl'd ,IS ,1 retiree! or l~lie!-()jT emplo:cc under
the other pian) or as a dependent Linder h()th pLlI1~ (i.e. the persoll is cmerl'ci LlI1lk'r olle plan ,IS a
dependent of an active employee and at the same time is covered under the other plan as a
dependent of a retired or laid-off employee). This rule does not apply when a person is covered
under his or her own plan as an aetive employee or retired or laid-off employee and a dependent
under a spouse's plan provided to the spouse on the basis of active employment. In this situation,
the rule in Paragraph (I) applie~ becdLbe the per~un i:-, cuvcred as a nun-dependent under one plan
(i.e. the person is covered as an active employee or retired or laid-otT employee) and at the same
time is covered as a dependent under the other plan (i.e. the person is covered as a dependent under
a plan provided on the hasis      or
                                 Clcti\ (' l'I1l!,loYl11l'llt or Cl plan tkll is pnl\idl'd tu retired ur laid-otT
employees ).

                 (4)     COBRA or State Continualion Coverage

                         (a)     If ~l perSlln \\hUSl' CU\er~lge is prcnidecl pursuant to COBRA or under
                                 a right of continuation pursuant to state or other federal lav\ is covered
                                 under another plan. thl' plan covering the person as an employee.
                                 member, subscriber or retiree or covering the person as a dependent
                                 of an employee, member, subscriber or retiree is the primary plan and
                                 the plan covering that same person pursuant to COBRA or under a
                                 right of continuation pursuant to state or other federal law is the
                                 secondary plan.

                         (b)     If the other plan does not have this rule, and if, as a result, the plans
                                 do not agree on the order of benefits, this rule is ignored.

                         (c)     This rule does not apply if the rule in Paragraph (1) can determine the
                                 order of benefits

Drafting Note: COBRA originally provided that coverage under a new group health plan caused
the COBRA coverage to end. An amendment passed as part of P.L. 10 1-239, the Omnibus Budget
Reconciliation Act of 1989 (OBRA 89), allows the COBRA coverage to continue if the newly
acquired group health plan contains any preexisting condition exclusion or limitation. In this
instance two group health plans will cover the person, and the rule above will be used to determine
which of the plans determines its benefits first. In addition, some states have continuation
provisions comparable to COBRA.

Drafting Note: This rule applies only in the situation when a person has coverage pursuant to
COBRA or under a right of continuation pursuant to state or other federal law and has coverage
under another plan on the basis of employment. The rule under Paragraph (1) does not apply
because the person is covered either: (a) as a non-dependent under both plans (i.e. the person is
covered under a right of continuation as a qualified beneficiary who, on the day before a qualifying
event, was covered under the group health plan as an employee or as a retired employee and is
covered under his or her own plan as an employee, member, subscriber or retiree); or (b) as a
dependent under both plans (i.e. the person is covered under a right of continuation as a qualified
beneficiary who, on the day before a qualifying event, was covered under the group health plan as a
dependent of an employee, member or subscriber or retired employee and is covered under the other
plan as a dependent of an employee, member, subscriber or retiree). The rule under Paragraph (1)

                                               D-5                                          (FFS-2013)
      Case 2:19-cv-13497-SM-MBN                  Document 1-2           Filed 11/07/19        Page 130 of 136




~tpplil's \\hcn the person is Co\CI-Cc! pUrSlt(lllt to COBRA or under;1 right ul' c(liltinu:tti(\ll pursuant to
state or otlll'r ICder~11 b\\ ~tS ~1 non-ekpcndent zllld cO\'ered under the other i,Ll!1 ~h ~t lkl'L'lllknt (If ~\J1
cmployec. member. subscriber or retiree, The rule in this paragraph ducs not appl: because the
person is covered as a non-dependent under one of the plans and as a dcpendent under the other
plan.

                 (:5)     Lunger or ShoneI' Length of Coverage

                          (a)     If the preceding rules do not determine the order of benefits. the plan
                                  th~tt cO\ered the person 1'01' the longer peri(ld (lr timL' i" the pl'imar:
                                  plan and the plan that covered the person for lhe shoner period of
                                  time is the seconcktry plan.

                          (b)     To determine the length of time a person has been eo\ eree! under a
                                  plan. two sllccessive plans shall be:' trc~ttcd :IS unL' if lhe l'O\Crcc\
                                  person was eligible under the second plan \\ithin l\\('nt:-four (2.:1-)
                                  hours after coverage under the tirst pJan cnelt'd.

                         (c)      The start of a new plan does not include:

                                  (i)      A change in the amount or scope of a plan's benefits:

                                  (ii)     A change in the entity that pays. provides or administers the
                                           plan's benefits; or

                                  (iii)    A change from one type of plan to another. such as. from a
                                           single employer plan to a multiple employer plan.

                         (d)      The person's length of time covered under a plan is measured from
                                  the person's first date of coverage under that plan. If that date is not
                                  readily available for a group plan, the date the person first became a
                                  member of the group shall be used as the date from which to
                                  determine the length of time the person's coverage under the present
                                  plan has been in force.

                (6)      If none of the preceding rules determines the order of benef! ts, the allowable
                         expenses shall be shared equally between the plans.                        .




                                                D-6                                          (FFS-2013)
   Case 2:19-cv-13497-SM-MBN                 Document 1-2         Filed 11/07/19        Page 131 of 136




                                           APPENDIX E
                            Small Business Subcontracting Plan (JUL 2005)

          (a) This clause does not apply to small business concerns.
          (b) Definifiol1s. 1\" uscd in thi, CI~IU5C--
          "Commercial item" means a product or service that satisfies the definition of commercial
 item in section 2.101 of the federal Acquisition Regulation.
          "Commercial plan" means a suhcontracting plan (including goals) that covers the
 oiTeror's fiscal year and that applic:~ t\lthc L'l1lirc proLiuctiun ufcol11l11t.:'rcial items sold by either
 the entire company or a portion thereof (e).: .. division. plant. or product line).
          "Individual contract plan" mcans a subcontracting plan that covers the entirc contract
 period (including option periods). applies to a specific contract. and has goals that are based on
 the offeror's planned subcontracting in support of the specific contract. except that indirect costs
 incurred for common or joint purpuses may be allocated on a prorated basis to the contract.
          "Master plan" means a subcul11rm:ting plan that cuntains all the required clements of an
 individual contract plan. except goals. and may be incorporated into inc!iyidual contract plans.
 provided the master plan has been approved.
          "Subcontract" means any agreement (other than one involving an employer-employee
 relationship) entered into by a Federal Government prime Contractor or subcontractor calling for
 supplies or services required for performance of the contract or subcontract.
          (c) The offeror, upon request by the Contracting Officer, shall submit and negotiate a
 subcontracting plan, where applicable, that separately addresses subcontracting with small
 business, veteran-owned small business, service-disabled veteran-owned small business,
 HUBZone small business concerns. small disadvantaged business. and women-owned small
 business concerns. If the offeror is submitting an individual contract plan. the plan must
 separately address subcontracting with small business, veteran-owned small business, service-
 disabled veteran-owned small business, HUB Zone small business, small disadvantaged business,
 and women-owned small business concerns, with a separate part for the basic contract and
separate parts for each option (if any), The plan shall be included in and made a p~rt of the
resultant contract. The subcontracting plan shall be negotiated within the time specified by the
Contracting Officer. Failure to submit and negotiate the subcontracting plan shall make the
offeror ineligible for award of a contract.
         (d) The offeror's subcontracting plan shall include the following:
         (l) Goals, expressed in terms of percentages of total planned subcontracting dollars, for
the use of small business, veteran-owned small business, service-disabled veteran-owned small
business, HUBZone small business, small disadvantaged business, and women-owned small
business concerns as subcontractors. The offeror shall include all subcontracts that contribute to
contract performance, and may include a proportionate share of products and services that are
normally allocated as indirect costs.
         (2) A statement of-
         (i) Total dollars planned to be subcontracted for an individual contract plan; or the
offeror's total projected sales, expressed in dollars, and the total value of projected subcontracts
to support the sales for a commercial plan;
         (ii) Total dollars planned to be subcontracted to small business concerns;
         (iii) Total dollars planned to be subcontracted to veteran-owned small business concerns;

                                                    E-2
                                                                                                (FFS 2013)
    Case 2:19-cv-13497-SM-MBN                Document 1-2          Filed 11/07/19       Page 132 of 136




         (i\) 'r()I~t1 c1oll~lrs pl:mnecl to he subcontracted to sen'icl'-dis~lhlcd \l'll'r:IIl-()\\nec! small
 business:
         (v)l otal dollars planned to be subcontracted to HUBZone small business concerns;
         (vi) Total dollars planned to be subcontracted to small disadvantaged business concerns;
 and
         (vii) Total dollars planned to be subcontracted to women-owned small business concerns,
         (3) A description or the principal types or supplies and services tu bc subcontracted. and
 an identification of the types planned for subcontracting to--
         (i) Small business concerns:
         (i i) V cter:lI1-o\\ncc! small business concerns:
         (i i i) Service-disabled veteran-owned small business concerns:
         (i\) IHJBZone small business concerns:
         (v) Small disadvantaged business concerns; and
         (vi) Women-owned small business concerns.
         (el)'\ descriptinn oCthe method usee! to develop thl' subcllntracting gu;tis ill
 paragraph (d)( 1) of this clause,
         (5) /\ description oCthe method used to identify potential sources [()f' soliciwtion
 purposes (cg, existing company source lists, the Procurement Marketing and Access 0ietvvork
 (PRO-Net) of the Small Business Administration (SBA), veterans service organizations. the
National Minority Purchasing Council Vendor Information Service. the Research and
 Information Division of the Minority Business Development Agency in the Department of
 Commerce. or smalL. HUBZone, small disadvantaged, and women-owned small business trade
 associations). A firm may rely on the information contained in PRO-Net as an accurate
representation of a concern's size and ownership characteristics for the purposes of maintaining a
smalL veteran-owned smaiL service-disabled veteran-owned small. HUB Zone small. small
disadvantaged. and women-owned small business source list. Usc of PRO-Net as its source list
does not relieve a firm of its responsibilities (e.g., outreach, assistance, counseling, or publicizing
subcontracting opportunities) in this clause.
        (6) A statement as to whether or not the offeror included indirect costs in establishing
subcontracting goals, and a description of the method used to determine the proportionate share
of indirect costs to be incurred with-
        (i) Small business concerns;
        (ii) Veteran-owned small business concerns;
        (iii) Service-disabled veteran-owned small business concerns;
        (iv) HUBZone small business concerns;
        (v) Small disadvantaged business concerns; and
        (vi) Women-owned small business concerns.
        (7) The name of the individual employed by the offeror who will administer the offeror's
subcontracting program, and a description of the duties of the individual.
        (8) A description of the efforts the offeror will make to assure that small business,
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
business, small disadvantaged business, and women-owned small business concerns have an
equitable opportunity to compete for subcontracts.
        (9) Assurances that the offeror will include the clause of this contract entitled "Utilization
of Small Business Concerns" in all subcontracts that offer further subcontracting opportunities,
and that the offeror will require all subcontractors (except small business concerns) that receive


                                                     E-2
                                                                                                 (FFS2013)
   Case 2:19-cv-13497-SM-MBN                   Document 1-2           Filed 11/07/19         Page 133 of 136




 subcontracts in e'(cess o(S.'i()OJ)()() (S I.()()().()O() for construction ()J'~1l1: puhlic I~lcility) to aclopt Zl
 subcontracting plan th:lt c()mplil's \\ ith thL' 1"l'lIUiremcnlS nJ'this cl:lllsl'.
           (10) Assurances that the ofkror \\ill---
           (i) Cooperate in any studies or surveys as may be required;
           (ii) Submit periodic reports so that the Government can determine the extent of
 compliance by the offeror with the subcontracting plan:
           (iii) Submit Standard Form (Sj'j 2\) . -L Subcuntracting Repun ror Individual CUl1lracts,
 and/or SF 295, Summary Subcontract Report. in accordance vvith paragraph (j) or this clause.
 The reports shall provide information on subcontract avvards to small business concerns, veteran-
 o\·vnec! small busi ness CllnCtT!l~. SLT\ icl'-d i~dh k'd \ CllTd!l-O\ \ !led smd II husi ness concerns.
 HUBZone small business concerns. small disadvantaged business concerns, women-owned small
 business concerns. and I listorically Black Colleges and tiniversities and Minority Institutions.
Reporting shall be in accordance with the instructions on the forms or as provided in agency
regulations.
           (iv) Ensure that its sllbc()ntr~lct()rS agree to '-iubmit sr· 294 and SF 295.
           (11) A description oJ'the types of records thm \vill be maintained concerning procedures
that have been adopted to comply \\ith the requirements and goals in the plan. including
establishing source lists; and a description or the olleror' s efforts to locate small business,
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
business, small disadvantaged business. and women-owned small business concerns and award
subcontracts to them. The records shall include at least the following (on a plant-wide or
company-wide basis, unless otherwise indicated):
           (i) Source lists (e.g, PRO-Net). guides_ and other data that identify small business,
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
business, small disadvantaged business. and women-owned small business concerns.
          (ii) Organizations contacted in an attempt to locate sources that are small business.
veteran-owned small business, service-disabled veteran-owned small business, HUBZone small
business, small disadvantaged business, or women-owned small business concerns.
          (iii) Records on each subcontract solicitation resulting in an award of more than
$100,000, indicating-
              (A) Whether small business concerns were solicited and, if not, why not;
              (B) Whether veteran-owned small business concerns were solicited and, if not, why
not;
              (C) Whether service-disabled veteran-owned small business concerns were solicited
and, if not, why not;
              (D) Whether HUBZone small business concerns were solicited and, ifnot, why not;
              (E) Whether small disadvantaged business concerns were solicited and, if not, why not;
              (F) Whether women-owned small business concerns were solicited and, if not, why
not; and
              (0) If applicable, the reason award was not made to a small business concern.
          (iv) Records of any outreach efforts to contact-
              (A) Trade associations;
              (B) Business development organizations;
              (C) Conferences and trade fairs to locate small, HUBZone small, small disadvantaged,
and women-owned small business sources; and
              (D) Veterans service organizations.
          (v) Records of internal guidance and encouragement provided to buyers through-

                                                       E-3
                                                                                                      (FFS 2013)
    Case 2:19-cv-13497-SM-MBN                 Document 1-2           Filed 11/07/19        Page 134 of 136




               (/\) \\"orkshops. seminars. training. etc.: and
               (B) Vlonitoring pcrrorl1l~mee to e\aluatc cOJll)lli:mcc with the pr()gr:ll1l'\ rCljllir('l11enl<:.
            (vi) On a contract-by-contract basis, records to support a\\ard data submitted by the
 offeror to the Government, including the name, address, and business size of each subcontractor.
 Contractors having commercial plans need not comply with this requirement.
         (e) In order to effectively implement this plan to the extent consistent with efficient contract
 performance, the Contractor :-,hall perform the following functions:
         (I) Assist small business, veteran-owned small business. servicc-disabled \eteran-ovvnecl
 small husiness. HUBZone small business, small disadvantaged husiness. and vvoJllen-owned
 s111(111 business cunccrn\ by arranging solicitations. time for the prepclrdli()ll \l!"hid:-,. l[lunlities.
 specifications. and deliwry schedules so as to facilitate the participation by slich concerns.
 \]./here the Contractor's lists of potential small business. veteran-owned small business. sen icc-
 disabled veteran-owned small business, HUB Zone small business, small disadvantaged business,
 and women-ov,ned small business subcontractors are excessively long. reasonable enon shall be
 111(lde to gi\c ,til such small business concerns an opportunity to C()lllj1<..'lC ()\t.:'J" ~I j!l'riod oftimc.
         (2) Provide adequate and timely consideration of the potentialities ofsllli.111 business.
 \ctcran-ovvnccl small business. service-disabled veteran-owned small business. III Blune small
 business, small disadvantaged business, and women-owned small busines:-, cuncerns in all
 "make-or-buy" decisions.
         (3) Counsel and discuss subcontracting opportunities with representatives of small business,
 veteran-owned small business, service-disabled veteran-owned small business, HUB/one small
 business, small disadvantaged business, and women-owned small business firms.
         (4) Confirm that a subcontractor representing itself as a HUBZone small business concern is
 identified as a certified HUBZone small business concern by accessing the Central Contractor
 Registration (CCR) database or by contacting SBA.
         (5) Provide notice to subcontractors concerning penalties and remedies for
misrepresentations of business status as small, veteran-owned small business, HUBZone small,
small disadvantaged, or women-owned small business for the purpose of obtaining a subcontract
that is to be included as part or all of a goal contained in the Contractor's subcontracting plan.
        (£) A master plan on a plant or division-wide basis that contains all the elements required by
paragraph (d) of this clause, except goals, may be incorporated by reference as a part of the
subcontracting plan required of the offeror by this clause; provided-
        (1 ) The master plan has been approved;
        (2) The offeror ensures that the master plan is updated as necessary and provides copies of
the approved master plan, including evidence of its approval, to the Contracting Officer; and
        (3) Goals and any deviations from the master plan deemed necessary by the Contracting
Officer to satisfy the requirements of this contract are set forth in the individual subcontracting
plan.
        (g) A commercial plan is the preferred type of subcontracting plan for contractors
furnishing commercial items. The commercial plan shall relate to the offeror's planned
subcontracting generally, for both commercial and Government business, rather than solely to
the Government contract. Commercial plans are also preferred for subcontractors that provide
commercial items under a prime contract, whether or not the prime contractor is supplying a
commercial item.
        (h) Prior compliance of the offeror with other such subcontracting plans under previous
contracts will be considered by the Contracting Officer in determining the responsibility of the
offeror for award of the contract.

                                                      E-4
                                                                                                    (FFS2013)
   Case 2:19-cv-13497-SM-MBN              Document 1-2         Filed 11/07/19      Page 135 of 136




     (i) The j~lilure of the C()ntr~lct()r or suhC()ntr~lct\lr to c(Jmpl: in goocllilith \\ith---
     (I) The cltluse of this c()ntr~lctl'ntitkd "\tili7(ltion ()!'<';mdll Bu"incss Concerns:" or
     (2) An approved plan required by this clausc, shall be a material breach of the contract.
     U) The Contractor shall submit the following reports:
     (1) Standard Form 29-1. SlIhcol1frctc!ing Report/hI' Individual ControC/s. This report shall
be submitted to the Contracting Officer semiannually and at contract completion, The report
covers subcontract alAard data related tu thi:-, cul1lracl. lhi:-, repun is nut required for commercial
plans,
     (2) Standard Form 295. SUI11l11ory ,\'uhcontract Report. This report encompasses all of the
contracts with the a\\,mling ctgl·IK). It Imht he submitkd semi-annually 1'01' contrdcts \\ith the
Department of Defense and annually 1'01' contracts vvith civilian agencies. Jf the reporting activity
is covered by a commercial pbn, the reporting acti\ity must report annually all subcontract
awards under that plan. All reports submittcd at the close of each fiscal year (both individual and
commercial plans) shall includc a breakout, in the Contractor's formal, of subcontract aVvards, in
whole dollars, to small ciisacl\',muged husiness cnnC,Tns hy ,\orth American Industry
Classification System (NAICS) Inclus1r: SlibsectoL For a commercial plan. the Contractor may
obtain from each of its subcontractors a plw\ominant l\/'\ICS Industry Subscctor and report all
awards to that subcontractor Llnder its predomilldl1l \AICS Industry SLlbsector.

                                           (End of clause)

  Alternate J (Oct 2001). When contracting by sealed bidding rather than by negotiation,
substitute the following paragraph (c) for paragraph (c) of the basic clause:

     (c) The apparent 10\\1 bidder. upon request by the Contracting Officer, shall submit a
  subcontracting plan. \vhere applicable, that separately addresses subcontracting with small
  business, veteran-owned small business. service-disabled veteran-owned small business,
  HUBZone small business, small disadvantaged business, and women-owned small business
  concerns. If the bidder is submitting an individual contract plan, the plan must separately
  address subcontracting with small business, veteran-owned small business, service-disabled
  veteran-owned small business, HUB Zone small business, small disadvantaged business, and
  women-owned small business concerns, with a separate part for the basic contract and
  separate parts for each option (if any). The plan shall be included in and made a part of the
  resultant contract The subcontracting plan shall be submitted within the time specified by
  the Contracting Officer. Failure to submit the subcontracting plan shall make the bidder
  ineligible for the award of a contract

  Alternate II (Oct 2001). As prescribed in 19.708(b)(1), substitute the following paragraph (c)
for paragraph (c) of the basic clause:

     (c) Proposals submitted in response to this solicitation shall include a subcontracting plan
  that separately addresses subcontracting with small business, veteran-owned small business,
  service-disabled veteran-owned small business, HUBZone small business, small
  disadvantaged business, and women-owned small business concerns. If the offeror is
  submitting an individual contract plan, the plan must separately address subcontracting with
  small business, veteran-owned small business, service-disabled veteran-owned small
  business, HUBZone small business, small disadvantaged business, and women-owned small
  business concerns, with a separate part for the basic contract and separate parts for each
                                                 E-5
                                                                                           (FFS2013)
Case 2:19-cv-13497-SM-MBN                  Document 1-2          Filed 11/07/19         Page 136 of 136




option (ircll1.'). The pl~ll1 sh:111 be included in ilnd milde a part ol'the re:-;1IIt:ll1t contract. The
sLlhcnntr:ll'tiJl!,' lil:lIl sh,lIl he negotiated vvithin the time specified




                                                   E-6
                                                                                                (FFS2013)
